Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51         Desc:
                          Exhibit A Page 1 of 765



                                    EXHIBIT A

    Schedule of Claims Subject to the Three Hundred Fifty-First Omnibus Objection
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 2 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
1 ABREU GOMEZ,                   05/11/18    17 BK 03283-LTS /              14636              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
  TOMASA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
  PMB 76                                     Rico                                                            PLANTIFFS)                                   System of the Government
  PO BOX 1283                                                                                                (COLLECTIVELY THE                            of the Commonwealth of
  SAN LORENZO, PR 00754                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                             PLANTIFF GROUP");
                                                                                                             CASP CASE NUM. 2016-
                                                                                                             05-1340
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 1 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
2 ACEVEDO ACEVEDO,               05/24/18    17 BK 03283-LTS /              29563              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
  MARIE A                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
  PO BOX 552                                 Rico                                                            PLANTIFFS)                                   System of the Government
  SAN GERMAN, PR 00683                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                             "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                             PLANTIFF GROUP");
                                                                                                             CASP CASE NUM. 2016-
                                                                                                             05-1340
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 2 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 4 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
3 ACEVEDO CARRERO,              05/23/18    17 BK 03283-LTS /             26103              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  LAURA V                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
  PO BOX 887                                Rico                                                           PLAINTIFFS)                                 Rico
  RINCON, PR 00677-0887                                                                                    COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 3 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 5 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
4 ACEVEDO CORTES,               03/26/18    17 BK 03283-LTS /             4648^                $ 15,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  VIRGINIA                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
  REPTO VILLA SOTO                          Rico                                                            PLAINTIFFS)                                Rico
  15 CALLE HIGINIO                                                                                          COLLECTIVELY (THE
  LOPEZ                                                                                                     BELTRAN CINTRON
  MOCA, PR 00676                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #4648 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
  Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 4 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
5 ACEVEDO RIVERA,               05/22/18    17 BK 03283-LTS /             17965                 $ 71,777.10 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  AIDA                                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
  IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
  MORALES                                                                                                   COLLECTIVELY (THE
  P.O. BOX 9021828                                                                                          BELTRAN CINTRON
  SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 5 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
6 ACEVEDO SUAREZ ,               05/23/18    17 BK 03283-LTS /              18154                     $ 801.69 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
  GLADYS                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
  IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
  MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
  P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
  SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 6 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 8 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
7 ACOSTA RODRIGUEZ,             07/09/18    17 BK 03283-LTS /             123915             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  BENITA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
  HC 5 BOX 7901                             Rico                                                           PLAINTIFFS)                                 Rico
  YAUCO, PR 00698                                                                                          COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 7 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 9 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
8 ADDARICH RIVERA,              05/23/18    17 BK 03283-LTS /             15069              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  MYRNA R                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
  53 CALLE DONCELLA                         Rico                                                           PLAINTIFFS)                                 Rico
  PARQUE DE                                                                                                COLLECTIVELY (THE
  CANDELERO                                                                                                BELTRAN CINTRON
  HUMACAO, PR 00791                                                                                        PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 8 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 10 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
9 ADDARICH RIVERA,              05/23/18    17 BK 03283-LTS /             18852              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
  MYRNA R                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
  PO BOX 702                                Rico                                                           PLAINTIFFS)                                 Rico
  MAUNABO, PR 00707                                                                                        COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 9 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 11 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
10 ADORNO NAVEDO,                05/04/18    17 BK 03283-LTS /              9440                 $ 35,595.13 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ZAIDA P.                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
   MORALES                                                                                                   COLLECTIVELY (THE
   P.O. BOX 9021828                                                                                          BELTRAN CINTRON
   SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 10 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 12 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
11 ADORNO OCASIO,                05/30/18    17 BK 03283-LTS /             18741              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
   MARITZA                                   Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
   HC 01 BOX 7072                            Rico                                                           COLLECTIVELY (THE                           System of the Government
   GURABO, PR 00778                                                                                         LOPEZ-ROSARIO                               of the Commonwealth of
                                                                                                            PLAINTIFF GROUP);                           Puerto Rico
                                                                                                            IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 11 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 13 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
12 ADSEF / LUIS A COSME           05/23/18    17 BK 03283-LTS /              19011              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   RIVERA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   968 CALLE LABRADOR                         Rico                                                            PLANTIFFS)                                   System of the Government
   SAN JUAN, PR 00924                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 12 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 14 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
13 AFANADOR ROMERO,             05/25/18    17 BK 03283-LTS /             20622              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   NANCY                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   19 BDA. NUEVA                            Rico                                                           PLAINTIFFS)                                 Rico
   UTUADO, PR 00641                                                                                        COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 13 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
14 AFANADOR ROMERO,             05/25/18    17 BK 03283-LTS /             21228              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   NANCY                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   19 BDA. NUEVA                            Rico                                                           PLAINTIFFS)                                 Rico
   UTUADO, PR 00641                                                                                        COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 14 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
15 ALAMO ALGOSTO,                05/25/18    17 BK 03283-LTS /             31974              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
   CARMEN M                                  Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
   RR-10 BOX 10305                           Rico                                                           PLAINTIFFS)                                System of the Government
   SAN JUAN, PR 00926                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 15 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
16 ALBIZU MERCED,                05/23/18    17 BK 03566-LTS /             23186              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ANTONIA M                                 Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
   URB COVADONGA                             System of the Government                                       PLAINTIFFS)                                 Rico
   2 E 4 CALLE                               of the Commonwealth of                                         COLLECTIVELY (THE
   ARRIONDAS                                 Puerto Rico                                                    BELTRAN CINTRON
   TOA BAJA, PR 00949                                                                                       PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 16 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 18 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
17 ALGARIN FEBO, ADA             05/29/18    17 BK 03283-LTS /             30798              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   NELLY                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   HC-04, BUZON 11804                        Rico                                                           PLAINTIFFS)                                 Rico
   RIO GRANDE, PR 00745                                                                                     COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 17 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 19 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
18 ALICEA COSME, ELSIE            05/24/18    17 BK 03283-LTS /              31677                  $ 50,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   P.O. BOX 22397                             Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
   SAN JUAN, PR 00931-2397                    Rico                                                              PLANTIFFS)                                 System of the Government
                                                                                                                (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 18 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 20 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
19 ALICEA FERRERIS,              05/16/18    17 BK 03283-LTS /             19312                 $ 17,400.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   CARLOS M                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   PO BOX 2311                               Rico                                                            PLAINTIFFS)                                Rico
   MAYAGUEZ, PR 00681-                                                                                       COLLECTIVELY (THE
   2311                                                                                                      BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
20 ALICEA GOMEZ, FELIX           10/15/19    17 BK 03283-LTS /             171756               $ 21,518.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /            152372             $ 17,590,927.76
   UR. B. VIVES CALLE A                      Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
   #14                                       Rico                                                            LCDO. GILBERTO                             Rico
   GUAYAMA, PR 00784                                                                                         RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 19 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 21 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
21 ALICEA MENDEZ,                05/30/18    17 BK 03283-LTS /             34855              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ISABEL                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   HC 2 BOX 6592                             Rico                                                           PLAINTIFFS)                                 Rico
   UTUADO, PR 00641                                                                                         COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 20 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 22 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
22 ALICEA MENDEZ,                05/30/18    17 BK 03283-LTS /             38956               $ 111,180.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ISABEL                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   HC-02                                     Rico                                                            PLAINTIFFS)                                Rico
   BOX 6592                                                                                                  COLLECTIVELY (THE
   BO. SABANA GRANDE                                                                                         BELTRAN CINTRON
   UTUADO, PR 00641                                                                                          PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
23 ALICEA RIVERA,                06/25/18    17 BK 03283-LTS /             82806              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /            152372             $ 17,590,927.76
   HERIBERTO                                 Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
   PO BOX 800708                             Rico                                                           LCDO. GILBERTO                              Rico
   COTO LAUREL, PR 00780                                                                                    RODRIGUEZ ZAYAS;
   -0708                                                                                                    HC 2 BOX 6519
                                                                                                            GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 21 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 23 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
24 ALMA ALMA, EFRAIN             05/03/18    17 BK 03283-LTS /              9647                 $ 64,592.43 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   IVONNE GONZÁLEZ                           Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   MORALES                                   Rico                                                            PLAINTIFFS)                                Rico
   P.O. BOX 9021828                                                                                          COLLECTIVELY (THE
   SAN JUAN, PR 00902-1828                                                                                   BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 22 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
25 ALMA ALMA, EFRAIN             06/07/18    17 BK 03283-LTS /             72024              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   500 ROBERTO H.TODD                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   P.O.BOX 8000                              Rico                                                           PLAINTIFFS)                                 Rico
   SANTURCE, PR 00910                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 23 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
26 ALOMAR SANCHEZ,                06/26/18    17 BK 03283-LTS /              98050              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   JOSEFINA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   PO BOX 800242                              Rico                                                            PLANTIFFS)                                   System of the Government
   COTO LAUREL, PR 00780                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
   -0242                                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 24 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 26 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
27 ALVARADO CORALES,            10/04/19    17 BK 03283-LTS /             171197              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
   YOLANDA                                  Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
   EXT COQUI                                Rico                                                            PLAINTIFFS)                                 System of the Government
   365 CALLE PITIRRE                                                                                        COLLECTIVELY (THE                           of the Commonwealth of
   AGUIRRE, PR 00704                                                                                        "ACEVEDO AROCHO                             Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K AC
                                                                                                            2005-5022
                                                                                                            LCDA. IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                             AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                                Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ACEVEDO-AROCHO
                                                                                                             PLAINTIFF
                                                                                                             GROUP")CIVIL CASE
                                                                                                             NUM. K AC 2005-5022
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
  KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
  alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
  asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
  the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
  ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 25 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 27 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
28 ALVARADO HOYOS,              06/29/18    17 BK 03283-LTS /             133504             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   MARIA C.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   P.O. BOX 1136                            Rico                                                           PLAINTIFFS)                                 Rico
   COAMO, PR 00769                                                                                         COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 26 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 28 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
29 ALVARADO RIVERA,               06/14/18    17 BK 03283-LTS /              62621              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   JOSE G.                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   HC 1 BOX 5955                              Rico                                                            PLANTIFFS)                                   System of the Government
   OROCOVIS, PR 00720                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 27 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 29 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
30 ALVARADO                      06/29/18    17 BK 03566-LTS /            144492^               $ 49,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   SOTOMAYOR, ROSALIE                        Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
   URB. EL EDEN CALLE B                      System of the Government                                        PLAINTIFFS)                                Rico
   #52                                       of the Commonwealth of                                          COLLECTIVELY (THE
   COAMO, PR 00769                           Puerto Rico                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #144492 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 28 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 30 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
31 ALVAREZ ALGARIN,               06/27/18    17 BK 03283-LTS /             141423              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   MONICA M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   HC-67 BOX 23597                            Rico                                                            PLANTIFFS)                                   System of the Government
   FAJARDO, PR 00738                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
32 ALVAREZ APONTE,                06/07/18    17 BK 03283-LTS /              49438              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
   MIGUEL A.                                  Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
   JARDINES DE                                Rico                                                            PO BOX 8700                                  Rico
   BORINQUE                                                                                                   PMB120
   M-23 AZUCENA                                                                                               CAROLINA, PR 00988
   CAROLINA, PR 00985

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 29 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 31 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
33 ALVAREZ CINTRON,               05/04/18    17 BK 03283-LTS /              10651              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   HIGINIO                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
   2DA EXT EL VALLE                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
   530 CALLE GIRASOL                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
   LAJAS, PR 00667                                                                                            PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 30 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 32 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
34 ALVAREZ TORRES,               05/21/18    17 BK 03283-LTS /             18487              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   CATHERINE                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   BO OBRERO                                 Rico                                                           PLAINTIFFS)                                 Rico
   710 CALLE WEBB                                                                                           COLLECTIVELY (THE
   SAN JUAN, PR 00915                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 31 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 33 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
35 AMARANTE ANDUJAR,             06/29/18    17 BK 03283-LTS /             79760              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   SANDRA DEL CARMEN                         Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   COND LOS                                  Rico                                                           PLAINTIFFS)                                 Rico
   NARANJALES EDF C 64                                                                                      COLLECTIVELY (THE
   APT 330                                                                                                  BELTRAN CINTRON
   CAROLINA, PR 00985                                                                                       PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 32 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 34 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
36 AMARO CRUZ, IVELISSE           05/30/18    17 BK 03283-LTS /              25439              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   URB ESTS DE LA CEIBA                       Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   141 CALLE CAOBA                            Rico                                                            PLANTIFFS)                                   System of the Government
   HATILLO, PR 00659-2862                                                                                     (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
37 AMARO MORALES,                 11/14/19    17 BK 03283-LTS /             172446              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
   CESAREO                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
   PO BOX 947                                 Rico                                                            LCDO. GILBERTO                               Rico
   PATILLAS, PR 00723                                                                                         RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 33 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 35 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
38 ANDINO LAGO,                  05/30/18    17 BK 03283-LTS /             42114              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ANGELES DE L                              Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   RES. LUIS LLORENS                         Rico                                                           PLAINTIFFS)                                 Rico
   TORRES                                                                                                   COLLECTIVELY (THE
   EDIF. 22 APT. 448                                                                                        BELTRAN CINTRON
   SANTURCE, PR 00913                                                                                       PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 34 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 36 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
39 ANDINO RIVERA,                05/21/18    17 BK 03283-LTS /             18436              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   RAMON L.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   RR 1 BOX 11652                            Rico                                                           PLAINTIFFS)                                 Rico
   TOA ALTA, PR 00953                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 35 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 37 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
40 ANDINO, EDWIN COLON          05/29/18    17 BK 03283-LTS /             36838              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   URB PARQUE ECUESTRE                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   AA 5 CALLE CAMARERO                      Rico                                                           PLAINTIFFS)                                 Rico
   CAROLINA, PR 00987-                                                                                     COLLECTIVELY (THE
   8502                                                                                                    BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 36 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 38 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
41 ANDUJAR MORALES,              06/28/18    17 BK 03283-LTS /             118039                $ 18,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
   ANGEL                                     Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
   URB CUPEY GDNS                            Rico                                                             PLAINTIFFS)                                System of the Government
   M3 CALLE 15                                                                                                COLLECTIVELY (THE                          of the Commonwealth of
   SAN JUAN, PR 00926-7327                                                                                    "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
42 ANTONIO, BAEZ                 05/29/18    17 BK 03566-LTS /              58457              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
   RODRIGUEZ                                 Employees Retirement                                            ALFREDO A, ET ALS                           Commonwealth of Puerto
   URB BLIND CELLA F19                       System of the Government                                        LCDO. GILBERTO                              Rico
   ARROYO, PR 00714                          of the Commonwealth of                                          RODRIGUEZ ZAYAS;
                                             Puerto Rico                                                     HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 37 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 39 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
43 AQUINO CANALES,               06/11/18    17 BK 03283-LTS /             71117              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   REGINO                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   RR 6 BOX 9482                             Rico                                                           PLAINTIFFS)                                 Rico
   SAN JUAN, PR 00926                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 38 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 40 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
44 ARCE NEGRON, IVONNE          06/27/18    17 BK 03283-LTS /             55317              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   BDA OBRERA                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   16 CALLE GONZALEZ                        Rico                                                           PLAINTIFFS)                                 Rico
   HUMACAO, PR 00791                                                                                       COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 39 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 41 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
45 ARCELAY LORENZO,              06/04/18    17 BK 03283-LTS /             98649                 $ 80,000.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
   ALFREDO                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
   BO. CUBA BOX 2189                         Rico                                                             COLLECTIVELY (THE                         System of the Government
   MAYAQUEZ, PR 00680                                                                                         LOPEZ-ROSARIO                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP);                         Puerto Rico
                                                                                                              IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 40 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 42 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
46 AROCHO RAMIREZ,                05/24/18    17 BK 03283-LTS /              25280              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   MIGDALIA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   URB. ISABEL LA                             Rico                                                            PLANTIFFS)                                   System of the Government
   CATOLICA CALLE 3 E-25                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
   AGUADA, PR 00602                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 41 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 43 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
47 AROCHO REYES, EMILIO          07/09/19    17 BK 03283-LTS /            169608              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
   PO BOX 801461                             Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
   COTO LAUREL, PR 00780                     Rico                                                           PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 42 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 44 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
48 AROCHO VERA, AUREA           06/01/18    17 BK 03283-LTS /             45596              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   VILLA PRADES                             Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   834 CALLE ARTURO                         Rico                                                           PLAINTIFFS)                                 Rico
   PASARELL                                                                                                COLLECTIVELY (THE
   SAN JUAN, PR 00924                                                                                      BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 43 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 45 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
49 ARROYO FERNANDEZ,             05/27/18    17 BK 03283-LTS /              22388                 $ 50,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   MARIA A                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
   HC 1 BOX 2673                             Rico                                                              PLANTIFFS)                                 System of the Government
   LOIZA, PR 00772                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 44 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
50 AVILES CORTES, ROSA            06/26/18    17 BK 03566-LTS /              85326              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   66 CALLE HUCAR                             Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
   BO. SABANETAS                              System of the Government                                        PLANTIFFS)                                   System of the Government
   PONCE, PR 00716-4405                       of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                              Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 45 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 47 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
51 AYALA JUSINO,                 05/16/18    17 BK 03566-LTS /             13298              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ZULEIKA M                                 Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
   HC-3 BOX 10904                            System of the Government                                       PLAINTIFFS)                                 Rico
   SAN GERMAN, PR 00683                      of the Commonwealth of                                         COLLECTIVELY (THE
                                             Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 46 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
52 AYALA JUSINO,                 05/21/18    17 BK 03566-LTS /             18308              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ZULEIKA M                                 Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
   HC 3 BOX 10904                            System of the Government                                       PLAINTIFFS)                                 Rico
   SAN GERMAN, PR 00683                      of the Commonwealth of                                         COLLECTIVELY (THE
                                             Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 47 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
53 AYALA ORTIZ,                  05/03/18    17 BK 03567-LTS / Puerto       10202              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   MARILYN                                   Rico Highways and                                               AL (1,046 PLAINTIFFS)                        Employees Retirement
   PO BOX 289                                Transportation Authority                                        COLLECTIVELLY (THE                           System of the Government
   HORMIGUEROS, PR                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
   00660-0289                                                                                                PLAINTIFF GROUP");                           Puerto Rico
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2013-1019 / TSPR AC
                                                                                                             2016-0120, JORGE
                                                                                                             ABRAHA M G IMÉ NEZ
                                                                                                             PL AI N TIFF GR O UP
                                                                                                             (1,046 PLAINTIFFS)
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                               GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ABRAHAM GIMENEZ
                                                                                                               PLAINTIFF GROUP")
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

  Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
  of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
  employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
  wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
  litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
  litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
  Master Claims.
  ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 48 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
54 AYALA RODRIGUEZ,              05/22/18    17 BK 03283-LTS /             32491              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   JESSICA E                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   HC 67 BOX 21603                           Rico                                                           PLAINTIFFS)                                 Rico
   FAJARDO, PR 00738                                                                                        COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 49 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 51 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
55 BAEZ LOPEZ, JANET             05/25/18    17 BK 03283-LTS /             34130              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   201 URB LAS                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   CAROLINAS                                 Rico                                                           PLAINTIFFS)                                 Rico
   CAJUAS, PR 00727                                                                                         COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 50 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 52 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
56 BAEZ MENDEZ, JOSE L           05/22/18    17 BK 03283-LTS /             23046              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   HC-2 BOX 10488                            Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   LAS MARIAS, PR 00670                      Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                            COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 51 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 53 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
57 BAEZ MENDEZ, JOSE L           05/22/18    17 BK 03283-LTS /              29302              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140           $ 105,000,000.00*
   HC2 BOX 10488                             Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
   LAS MARIAS, PR 00670                      Rico                                                            PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /             93199^            $ 15,283,000.00*
                                                                                                               ET AL (4,593                              Employees Retirement
                                                                                                               PLAINTIFFS)                               System of the Government
                                                                                                               COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                          Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
58 BAEZ RODRIGUEZ,               06/28/18    17 BK 03283-LTS /             119659              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /             161091           $ 280,000,000.00*
   SAMUEL                                    Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
   URB. RIVER EDGE HILLS                     Rico                                                            PO BOX 8700                                 Rico
   CALLE RIO SABANA                                                                                          PMB120
   A-6                                                                                                       CAROLINA, PR 00988
   LUQUILLO, PR 00773

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 52 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 54 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
59 BAEZ ROMAN, ENRIQUE          09/16/19    17 BK 03567-LTS / Puerto     170909              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
   PO BOX 1863                              Rico Highways and                                              DIAZ ET AL (1084                           Employees Retirement
   MAYAGUEZ, PR 00680                       Transportation Authority                                       PLAINTIFFS)                                System of the Government
                                                                                                           COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                           "ABRAMS-DIAZ                               Puerto Rico
                                                                                                           PLAINTIFF GROUP")
                                                                                                           CIVIL CASE NUM. K
                                                                                                           AC2005-5021
                                                                                                           ABRAMS-DIAZ
                                                                                                           PLAINTIFF GROUP (1,084
                                                                                                            PLAINTIFFS) LCDA
                                                                                                           IVONNE GONZALEZ-
                                                                                                           MORALES
                                                                                                           P.O. BOX 9021828
                                                                                                           SAN JUAN, PR 00902-1828

                                                                                                            JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                            DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                            PLAINTIFFS)                               Rico
                                                                                                            COLLECTIVELY (THE
                                                                                                            "ABRAHAM DIAZ
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
  Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
  “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
  retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
  ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 53 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 55 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
60 BARBOSA RIOS, IRMA E.         06/22/18    17 BK 03283-LTS /             98711^              $ 360,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   URB PRECIOSA                              Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   2 CALLE VERDE LUZ                         Rico                                                            PLAINTIFFS)                                Rico
   GURABO, PR 00778-5163                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #98711 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 54 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 56 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
61 BARBOSO AYALA,                 05/09/18    17 BK 03283-LTS /              12567              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   MARILYN N                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
   HC 3 BOX 10368                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
   SAN GERMAN, PR 00683                                                                                       "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 55 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 57 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
62 BARRETO DIAZ, JOSE A          05/25/18    17 BK 03566-LTS /              30189              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
   345 CALLE BARTOLOME                       Employees Retirement                                            AROCHO ET AL (1,601                         Employees Retirement
   DE LAS CASAS                              System of the Government                                        PLAINTIFFS)                                 System of the Government
   VILLA PALMERAS                            of the Commonwealth of                                          COLLECTIVELY (THE                           of the Commonwealth of
   SAN JUAN, PR 00915                        Puerto Rico                                                     "ACEVEDO AROCHO                             Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K AC
                                                                                                             2005-5022
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 56 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 58 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
63 BARRIENTOS FLORES,             06/20/18    17 BK 03283-LTS /              42192                 $ 30,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   ROSA B.                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
   VILLA CAROLINA                             Rico                                                              PLANTIFFS)                                 System of the Government
   240-3 CALLE 616                                                                                              (COLLECTIVELY THE                          of the Commonwealth of
   CAROLINA, PR 00985                                                                                           "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
64 BEAUCHAMP                      05/06/18    17 BK 03283-LTS /              10225                  $ 15,000.00 MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
   RODRIGUEZ,                                 Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
   ADALBERTO                                  Rico                                                              LCDO. GILBERTO                             Rico
   HC 01 BOX 8189                                                                                               RODRIGUEZ ZAYAS;
   MARICAO, PR 00606                                                                                            HC 2 BOX 6519
                                                                                                                GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 57 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 59 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
65 BELLO CANCEL,                  05/22/18    17 BK 03283-LTS /              15550                     $ 995.16 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   CARMEN L.                                  Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
   IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
   MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
   P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
   SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 58 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 60 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
66 BERMUDEZ CORREA,              06/29/18    17 BK 03283-LTS /             87439              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   JOSE A.                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   P.O BOX 236                               Rico                                                           PLAINTIFFS)                                 Rico
   OROCOVIS, PR 00720                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 59 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 61 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
67 BERRIOS SANTIAGO,             05/23/18    17 BK 03283-LTS /             19236              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   ISANDRA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   URB. VISTAS DEL RIO                       Rico                                                           PLAINTIFFS)                                 Rico
   CALLE RIO HUMACAO                                                                                        COLLECTIVELY (THE
   #11                                                                                                      BELTRAN CINTRON
   LAS PIEDRAS, PR 00771                                                                                    PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 60 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 62 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
68 BERRIOS VEGA,                  06/28/18    17 BK 03283-LTS /              72084              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   CARMELO                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   23410 CALLE LOS PINO                       Rico                                                            PLANTIFFS)                                   System of the Government
   CAYEY, PR 00736-9435                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 61 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 63 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
69 BIGIO BENITEZ,                06/27/18    17 BK 03566-LTS /              39677                 $ 44,034.63 PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
   GLENDA Y.                                 Employees Retirement                                             AROCHO ET AL (1,601                        Employees Retirement
   PUERTA DE LA BAHIA                        System of the Government                                         PLAINTIFFS)                                System of the Government
   1050 AVE LAS PALMAS                       of the Commonwealth of                                           COLLECTIVELY (THE                          of the Commonwealth of
   APT 513                                   Puerto Rico                                                      "ACEVEDO AROCHO                            Puerto Rico
   SAN JUAN, PR 00907                                                                                         PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 62 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 64 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
70 BITTMAN DIEZ, CARL X          05/18/18    17 BK 03283-LTS /             27217^               $ 302,400.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   HC 5 BOX 54591                            Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   AGUADILLA, PR 00603                       Rico                                                            PLAINTIFFS)                                Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #27217 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 63 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 65 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
71 BLANCO VARGAS, JOSE           05/10/18    17 BK 03283-LTS /              13390              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   A                                         Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
   HC 02 BOX 11949                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
   LAJAS, PR 00667                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                             PLAINTIFF GROUP");                           Puerto Rico
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2013-1019 / TSPR AC
                                                                                                             2016-0120, JORGE
                                                                                                             ABRAHA M G IMÉ NEZ
                                                                                                             PL AI N TIFF GR O UP
                                                                                                             (1,046 PLAINTIFFS)
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                               GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ABRAHAM GIMENEZ
                                                                                                               PLAINTIFF GROUP")
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

  Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
  of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
  employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
  wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
  litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
  litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
  Master Claims.
  ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 64 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 66 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
72 BLANCO VARGAS, JOSE           05/10/18    17 BK 03283-LTS /              14217              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   A.                                        Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
   HC-02 BOX 11949                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
   LAJAS, PR 00667                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                             PLAINTIFF GROUP");                           Puerto Rico
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2013-1019 / TSPR AC
                                                                                                             2016-0120, JORGE
                                                                                                             ABRAHA M G IMÉ NEZ
                                                                                                             PL AI N TIFF GR O UP
                                                                                                             (1,046 PLAINTIFFS)
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                               GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ABRAHAM GIMENEZ
                                                                                                               PLAINTIFF GROUP")
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

  Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
  of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
  employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
  wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
  litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
  litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
  Master Claims.
  ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 65 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 67 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
73 BONET GUERRA, SONIA            05/24/18    17 BK 03566-LTS /             28549^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   I                                          Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
   URB. JARDINES DE                           System of the Government                                        PLANTIFFS)                                   System of the Government
   RINCON                                     of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
   CALLE 2 D2                                 Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
   RINCON, PR 00677-2616                                                                                      PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #28549 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 66 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 68 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
74 BONET MENDEZ, ELVA           05/30/18    17 BK 03283-LTS /             44487              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   PO BOX 1039                              Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   RINCON, PR 00677                         Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                           COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 67 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 69 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
75 BONILLA ORTIZ, JANINE         06/26/18    17 BK 03283-LTS /             48938              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   URB. VISTA DEL SOL                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   CALLE E # 60                              Rico                                                           PLAINTIFFS)                                 Rico
   COAMO, PR 00769                                                                                          COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
76 BONILLA ORTIZ, JORGE          06/28/18    17 BK 03566-LTS /             125652             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /            152372             $ 17,590,927.76
   L.                                        Employees Retirement                                           ALFREDO A, ET ALS                           Commonwealth of Puerto
   HC 3 BOX 13046                            System of the Government                                       LCDO. GILBERTO                              Rico
   YAUCO, PR 00698                           of the Commonwealth of                                         RODRIGUEZ ZAYAS;
                                             Puerto Rico                                                    HC 2 BOX 6519
                                                                                                            GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 68 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 70 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
77 BORRERO                       05/24/18    17 BK 03283-LTS /             28522^               $ 417,600.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   MALDONADO, IDALIZ                         Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   URBANIZACION LA                           Rico                                                            PLAINTIFFS)                                Rico
   MARINA                                                                                                    COLLECTIVELY (THE
   2 CALLE ERIDANO                                                                                           BELTRAN CINTRON
   CAROLINA, PR 00979-                                                                                       PLAINTIFF GROUP")...
   4009                                                                                                      ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #28522 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 69 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 71 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
78 BOSQUES MEDINA,               05/16/18    17 BK 03566-LTS /             20311              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
   GLORIA                                    Employees Retirement                                           DIAZ ET AL (1084                           Employees Retirement
   HC 2 BOX 12465                            System of the Government                                       PLAINTIFFS)                                System of the Government
   MOCA, PR 00676-8264                       of the Commonwealth of                                         COLLECTIVELY (THE                          of the Commonwealth of
                                             Puerto Rico                                                    "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 70 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 72 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
79 BOSQUES, ADELAIDA            05/21/18    17 BK 03283-LTS /             17649                $ 37,834.84* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   SOTO                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   HC 2 BOX 12263                           Rico                                                            PLAINTIFFS)                                Rico
   MOCA, PR 00676                                                                                           COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 71 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
80 BRENES GONZALEZ,              05/24/18    17 BK 03283-LTS /              20329              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   JOSE M                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   110 MARGINAL NORTE                        Rico                                                            PLANTIFFS)                                   System of the Government
   BZN 24                                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
   BAYAMON, PR 00959                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                             PLANTIFF GROUP");
                                                                                                             CASP CASE NUM. 2016-
                                                                                                             05-1340
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 72 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 74 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
81 BURGOS DIAZ, LEYLA             06/27/18    17 BK 03283-LTS /             112945              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   VERONICA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   RIVER EDGE HILLS A38                       Rico                                                            PLANTIFFS)                                   System of the Government
   CALLE RIO MAMEYES                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
   LUQUILLO, PR 00773                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
82 BURGOS PABON,                  06/27/18    17 BK 03283-LTS /              98826              Undetermined* EDUCADORES                       06/29/18    17 BK 03283-LTS /              67462             $ 35,000,000.00*
   CARMEN D.                                  Commonwealth of Puerto                                          PUERTORRIQUEÑOS EN                           Commonwealth of Puerto
   9 A VILLA JAUCO                            Rico                                                            ACCIÓN, INC                                  Rico
   SANTA ISABEL, PR 00757                                                                                     BUFETE FRANCISCO R.
                                                                                                              GONZÁLEZ
                                                                                                              1519 PONCE DE LEÓN
                                                                                                              AVE.
                                                                                                              SUITE 805
                                                                                                              SAN JUAN, PR 00909

   Reason: This claim is duplicative, in part, of Master Claim no. 67462, which was filed on behalf of all plaintiffs in the litigation captioned Educadores Puertorriqueños En Acción, Inc., et al. v. Rafael Ramón,
   et al., Case No. 2013-05-1716 (the “EPA Master Claim”). The plaintiffs in the litigation are employees of the Department of Education (“DOE”) who contend they were discriminated against by being
   unjustly excluded from certain salary increases. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis.
   Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the EPA Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 73 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 75 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
83 BURGOS RIVERA,                 05/23/18    17 BK 03283-LTS /              19165              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   MAGALY                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   URB. VISTAMAR                              Rico                                                            PLANTIFFS)                                   System of the Government
   Q-906 AVE GALICIA                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
   CAROLINA, PR 00983                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 74 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 76 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
84 BURGOS RIVERA,                 05/23/18    17 BK 03566-LTS /             19159^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   MAGALY                                     Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
   URB EL CORTIJO                             System of the Government                                        PLANTIFFS)                                   System of the Government
   0028 CALLE 3                               of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
   BAYAMON, PR 00956                          Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #19159 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
85 CAMACHO DAVILA,                09/23/19    17 BK 03283-LTS /             170880              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
   ANDRES                                     Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
   HC 1 BOX 2329                              Rico                                                            LCDO. GILBERTO                               Rico
   MAUNABO, PR 00707                                                                                          RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 75 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
86 CANCEL GAUD,                   05/25/18    17 BK 03283-LTS /              27873              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
   ANNETTE                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
   HC03 BOX 30759                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
   MAYAGUEZ, PR 00680                                                                                         "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 76 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
87 CANINO ARROYO,                05/18/18    17 BK 03283-LTS /             16491                 $ 62,329.54 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   MANUEL                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   URB MIRADOR DE                            Rico                                                            PLAINTIFFS)                                Rico
   BAIROA                                                                                                    COLLECTIVELY (THE
   2S 10 CALLE 24                                                                                            BELTRAN CINTRON
   CAGUAS, PR 00727                                                                                          PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 77 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
88 CARDONA COLL, MARIA          06/29/18    17 BK 03283-LTS /             68629              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   PO BOX 492                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
   SAN SEBASTIAN, PR                        Rico                                                           PLAINTIFFS)                                 Rico
   00685                                                                                                   COLLECTIVELY (THE
                                                                                                           BELTRAN CINTRON
                                                                                                           PLAINTIFF GROUP")...
                                                                                                           ATTN: IVONNE
                                                                                                           GONZALEZ-MORALES
                                                                                                           PO BOX 9021828
                                                                                                           SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 78 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 80 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                             CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
89 CARDONA COLL, MARIA          06/29/18    17 BK 03283-LTS /             68653                $ 40,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   PO BOX 492                               Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   SAN SEBASTIAN, PR                        Rico                                                            PLAINTIFFS)                                Rico
   00685                                                                                                    COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                            FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                            ET AL (4,593                               Employees Retirement
                                                                                                            PLAINTIFFS)                                System of the Government
                                                                                                            COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                            "BELTRAN CINTRON                           Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2009-0805/TSPR AC
                                                                                                            2016-0120
                                                                                                            C/O IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            ATTORNEY FOR
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
  Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
  plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
  asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
  ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 79 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
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                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
90 CARMONA GARCIA,              06/28/18    17 BK 03566-LTS /              59609                $ 33,367.81* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
   CARLOS R                                 Employees Retirement                                             AROCHO ET AL (1,601                        Employees Retirement
   110 COND ANDALUCIA                       System of the Government                                         PLAINTIFFS)                                System of the Government
   APT 5302                                 of the Commonwealth of                                           COLLECTIVELY (THE                          of the Commonwealth of
   CAROLINA, PR 00987                       Puerto Rico                                                      "ACEVEDO AROCHO                            Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K AC
                                                                                                             2005-5022
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                             PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                             AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                                Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ACEVEDO-AROCHO
                                                                                                             PLAINTIFF
                                                                                                             GROUP")CIVIL CASE
                                                                                                             NUM. K AC 2005-5022
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
  KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
  alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
  asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
  the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
  ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 80 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 82 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
91 CARRASQUILLO                  06/06/18    17 BK 03283-LTS /             162755              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140           $ 105,000,000.00*
   LABOY, MARIA I.                           Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
   URB. VILLA HUMACAO                        Rico                                                            PLAINTIFFS)                                 Rico
   CALLE 5 H-13                                                                                              COLLECTIVELY (THE
   HUMACAO, PR 00791                                                                                         BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /             93199^            $ 15,283,000.00*
                                                                                                               ET AL (4,593                              Employees Retirement
                                                                                                               PLAINTIFFS)                               System of the Government
                                                                                                               COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                          Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
92 CARRASQUILLO ORTA,            06/28/18    17 BK 03283-LTS /              64057              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /             161091           $ 280,000,000.00*
   ANGEL                                     Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
   URB RUSSE LOS LIRIOS                      Rico                                                            PO BOX 8700                                 Rico
   13                                                                                                        PMB120
   MOROVIS, PR 00687                                                                                         CAROLINA, PR 00988

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 81 of 764
                                    Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 83 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
93 CARRASQUILLO ORTA,           06/04/18    17 BK 03283-LTS /              65795              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /             161091           $ 280,000,000.00*
   ANGEL G.                                 Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
   JANE A. BECKER                           Rico                                                            PO BOX 8700                                 Rico
   WHITAKER                                                                                                 PMB120
   PO BOX 9023914                                                                                           CAROLINA, PR 00988
   SAN JUAN, PR 00902

  Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
  Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
  the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
  asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
  the above-referenced litigation or subsumed within the FUPO Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 82 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
94 CARRERO CARRERO,              05/24/18    17 BK 03283-LTS /              28691              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   ISMENIA I.                                Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   PO BOX 1316                               Rico                                                            PLANTIFFS)                                   System of the Government
   RINCON, PR 00677                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                             "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                             PLANTIFF GROUP");
                                                                                                             CASP CASE NUM. 2016-
                                                                                                             05-1340
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 83 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 85 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
95 CARRERO LOPEZ,                04/27/18    17 BK 03283-LTS /              9210                 $ 86,811.93 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
   DAVID                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
   IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
   MORALES                                                                                                   COLLECTIVELY (THE
   P.O. BOX 9021828                                                                                          BELTRAN CINTRON
   SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 84 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 86 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
           NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
96 CARRERO MARTINEZ,             05/21/18    17 BK 03283-LTS /              17815              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
   FELICITA                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
   URB. JARDINEZ DE                          Rico                                                            PLANTIFFS)                                   System of the Government
   CEIBA                                                                                                     (COLLECTIVELY THE                            of the Commonwealth of
   B-35 CALLE 3                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
   CEIBA, PR 00735                                                                                           PLANTIFF GROUP");
                                                                                                             CASP CASE NUM. 2016-
                                                                                                             05-1340
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                               CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                               (2818 PLAINTIFFS)                          Rico
                                                                                                               (COLLECTIVELY THE
                                                                                                               "ACEVEDO CAMACHO
                                                                                                               PLAINTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

  Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
  Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
  Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
  Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
  Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
  ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
97 CARTAGENA ORTIZ,              05/21/18    17 BK 03566-LTS /              36591                  $ 52,119.96 CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
   NITZA G                                   Employees Retirement                                              DE POLICIAS INC                            Commonwealth of Puerto
   J-3 C/8                                   System of the Government                                          PO BOX 8700                                Rico
   URB PASEO COSTA DEL                       of the Commonwealth of                                            PMB120
   SUR                                       Puerto Rico                                                       CAROLINA, PR 00988
   AGUIRRE, PR 00704

  Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
  Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
  the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
  asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
  the above-referenced litigation or subsumed within the FUPO Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 85 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                                Exhibit A Page 87 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT
98 CARTAGENA, JOSE W.             06/21/18    17 BK 03283-LTS /              45125                $ 50,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
   701 AVE PONCE DE                           Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
   LEON SUITE 401                             Rico                                                             (805), TPI SAN JUAN                        Rico
   SAN JUAN, PR 00907-3248                                                                                     GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.
99 CASIANO COLON,                 05/10/18    17 BK 03283-LTS /              13693              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
   RAMON                                      Commonwealth of Puerto                                          ALFREDO A, ET ALS                           Commonwealth of Puerto
   BRISAS DEL MAR                             Rico                                                            LCDO. GILBERTO                              Rico
   1788 AVE LAS BRISAS                                                                                        RODRIGUEZ ZAYAS;
   PONCE, PR 00728                                                                                            HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
100 CASIANO COLON,                05/10/18    17 BK 03566-LTS /              13697              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
    RAMON                                     Employees Retirement                                            ALFREDO A, ET ALS                           Commonwealth of Puerto
    BRISAS DEL MAR                            System of the Government                                        LCDO. GILBERTO                              Rico
    1788 AVE LAS BRISAS                       of the Commonwealth of                                          RODRIGUEZ ZAYAS;
    PONCE, PR 00728                           Puerto Rico                                                     HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 86 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                                Exhibit A Page 88 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
101 CASILLAS PAGAN,               06/28/18    17 BK 03283-LTS /             138440              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /             161091           $ 280,000,000.00*
    LESLIE                                    Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    Q9 CALLE 18                               Rico                                                            PO BOX 8700                                 Rico
    ALTURAS DE                                                                                                PMB120
    INTERAMERICANA                                                                                            CAROLINA, PR 00988
    TRUJILLO ALTO, PR
    00976

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.
102 CASTA BELLIDO,                05/30/18    17 BK 03283-LTS /              24234               $ 150,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /              29477                $ 150,000.00
    BEVERLY                                   Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    PO BOX 2169                               Rico                                                             (805), TPI SAN JUAN                        Rico
    ANASCO, PR 00610                                                                                           GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 87 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
103 CASTILLO PIZZINI, IRIS         05/23/18    17 BK 03283-LTS /              17033                     $ 832.74 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 88 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 90 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
104 CASTILLO SANTONI,            05/02/18    17 BK 03283-LTS /             10063              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ALEXANDRA                                Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    URB BUENA VENTURA                        Rico                                                           PLAINTIFFS)                                System of the Government
    3016 CALLE LIRIO                                                                                        COLLECTIVELY (THE                          of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                      "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 89 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 91 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                 CLAIM #       CLAIM AMOUNT
105 CASTRO FIGUEROA,              05/25/18    17 BK 03283-LTS /              32675              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    DAVID                                     Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 1 BOX 3422                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
    REPARTO LA MERCED                                                                                         "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    LAJAS, PR 00667                                                                                           PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 90 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                                Exhibit A Page 92 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
106 CASUL SANCHEZ,                06/27/18    17 BK 03566-LTS /             44035              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    JEANNETE                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC 02-BUZON 5715                          System of the Government                                       PLAINTIFFS)                                 Rico
    LARES, PR 00669                           of the Commonwealth of                                         COLLECTIVELY (THE
                                              Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 91 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                                Exhibit A Page 93 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
107 CASUL SANCHEZ,                06/27/18    17 BK 03566-LTS /             54146              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    JEANNETE                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC 02 BUZON 5715                          System of the Government                                       PLAINTIFFS)                                 Rico
    LARES, PR 00669-9708                      of the Commonwealth of                                         COLLECTIVELY (THE
                                              Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 92 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                                Exhibit A Page 94 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
108 CAY PENA, LUZ V.              10/17/19    17 BK 03283-LTS /             171364             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    EXT. JARDINES DE                          Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BARCELONA                                 Rico                                                           PLAINTIFFS)                                 Rico
    CALLE 9-A, CASA 10                                                                                       COLLECTIVELY (THE
    JUNCOS, PR 00777                                                                                         BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 93 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 95 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
109 CEDENO CARABALLO,            06/07/18    17 BK 03283-LTS /             53014              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    ILIA M                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    VEVE CALZADO 3                           Rico                                                           PLAINTIFFS)                                 Rico
    L 57 CALLE 19                                                                                           COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 94 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 96 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
110 CEDENO CARABALLO,            06/07/18    17 BK 03283-LTS /             49450              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    ILIA M                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    VEVE CALZADA 3                           Rico                                                           PLAINTIFFS)                                 Rico
    CALLE 19 L57                                                                                            COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 95 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 97 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
111 CEDENO CARABALLO,            06/07/18    17 BK 03283-LTS /             52859              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    ILIA M.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    VEVE CALZADA 3                           Rico                                                           PLAINTIFFS)                                 Rico
    L57 CALLE 19                                                                                            COLLECTIVELY (THE
    FAJARDO, PR 00738                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 96 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                 Exhibit A Page 98 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                CLAIM #       CLAIM AMOUNT
112 CEDENO HERNANDEZ,              05/25/18    17 BK 03283-LTS /              21419              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JAZMAYRA A                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB MONTE GRANDE                           Rico                                                            PLANTIFFS)                                   System of the Government
    136 CALLE DIAMANTE                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
    CABO ROJO, PR 00623                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 97 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 99 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                 CLAIM #      CLAIM AMOUNT
113 CEPEDA RODRIGUEZ,            06/29/18    17 BK 03283-LTS /            163463                 $ 10,981.50 JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    CARMEN R.                                Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    OBRAS PUBLICAS                           Rico                                                            PLAINTIFFS)                               System of the Government
    PO BOX 41269                                                                                             COLLECTIVELY (THE                         of the Commonwealth of
    SAN JUAN, PR 00940                                                                                       "ABRAMS-DIAZ                              Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 98 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 100 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT
114 CINTRON CINTRON,              06/20/18    17 BK 03283-LTS /             75640              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /            179140           $ 105,000,000.00*
    ARNALDO L.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    P.O. BOX 1201                             Rico                                                           PLAINTIFFS)                                 Rico
    SALINAS, PR 00751                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /            93199^            $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 99 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 101 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
115 CINTRON SANTOS,               06/28/18    17 BK 03283-LTS /            167842^               $ 259,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDWIN A.                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC-2 BOX 8597                             Rico                                                            PLAINTIFFS)                                Rico
    YABUCOA, PR 00767                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #167842 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 100 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 102 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
116 CINTRON, GISELA              06/25/18    17 BK 03566-LTS /             50531                $ 150,000.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    RIVERA                                   Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    APARTADO 10061                           System of the Government                                        PLAINTIFFS)                                Rico
    HUMACAO, PR 00792                        of the Commonwealth of                                          COLLECTIVELY (THE
                                             Puerto Rico                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 101 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 103 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
117 CLARKE VIVES, EGBERT          05/17/18    17 BK 03283-LTS /              13378              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    2136 CALLE ESPERANZA                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PONCE, PR 00717                           Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                              (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 102 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 104 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
118 CLAUDIO ROSADO,               04/27/18    17 BK 03283-LTS /              9322                 $ 27,589.94 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDUARDO                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 103 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 105 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
119 CLEMENTE ORTIZ,               06/26/18    17 BK 03566-LTS /             99164^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    REINALDO A                                Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    C/FERNANDEZ GARCIA                        System of the Government                                        PLANTIFFS)                                   System of the Government
    318                                       of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    LUQUILLO, PR 00773                        Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #99164 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 104 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 106 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
120 COLON ALMENA,                 05/24/18    17 BK 03283-LTS /              46672              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    WANDA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    JARDINES DE CAGUAS                        Rico                                                            PLANTIFFS)                                   System of the Government
    E3 CALLE F                                                                                                (COLLECTIVELY THE                            of the Commonwealth of
    CAGUAS, PR 00727                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 105 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 107 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
121 COLON ANDINO, EDWIN          05/29/18    17 BK 03283-LTS /             42889              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    URB PARQUE ECUESTRE                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    AA 5 CALLE CAMARERO                      Rico                                                           PLAINTIFFS)                                 Rico
    CAROLINA, PR 00987                                                                                      COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 106 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 108 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
122 COLON APONTE,                06/26/18    17 BK 03283-LTS /             51376              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    FLAVIA M.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. LAS AGUILAS                         Rico                                                           PLAINTIFFS)                                 Rico
    CALLE 5 B-1                                                                                             COLLECTIVELY (THE
    COAMO, PR 00769                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 107 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 109 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
123 COLON BONILLA, ROSA           06/28/18    17 BK 03283-LTS /             130666             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    M.                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 325                                Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 108 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 110 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
124 COLON DELGADO,               05/21/18    17 BK 03566-LTS /             18266              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    ELIZABETH                                Employees Retirement                                           ROSARIO ET AL                               Employees Retirement
    4 LOMAS DE CAMPO                         System of the Government                                       COLLECTIVELY (THE                           System of the Government
    ALEGRE                                   of the Commonwealth of                                         LOPEZ-ROSARIO                               of the Commonwealth of
    HUMACAO, PR 00791                        Puerto Rico                                                    PLAINTIFF GROUP);                           Puerto Rico
                                                                                                            IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 109 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 111 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
125 COLON DELGADO,               05/21/18    17 BK 03566-LTS /             28432              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    ELIZABETH                                Employees Retirement                                           ROSARIO ET AL                               Employees Retirement
    4 LOMAS DE CAMPO                         System of the Government                                       COLLECTIVELY (THE                           System of the Government
    ALEGRE                                   of the Commonwealth of                                         LOPEZ-ROSARIO                               of the Commonwealth of
    HUMACAO, PR 00791                        Puerto Rico                                                    PLAINTIFF GROUP);                           Puerto Rico
                                                                                                            IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 110 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 112 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
126 COLON MULERO, LYDIA           12/14/18    17 BK 03283-LTS /             168021                 $ 50,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    R                                         Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    PO BOX 12099                              Rico                                                              PLANTIFFS)                                 System of the Government
    SAN JUAN, PR 00914                                                                                          (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
127 COLON ORTEGA ,                05/23/18    17 BK 03283-LTS /              19111               $ 100,000.00* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    MATILDE                                   Commonwealth of Puerto                                           OTROS KPE 1980-1738                         Commonwealth of Puerto
    BO. GUADIANA CORREO                       Rico                                                             (805), TPI SAN JUAN                         Rico
    GENERAL                                                                                                    GEORGETTI 78
    NARANJITO, PR 00719                                                                                        SAN JUAN, PR 00925

   Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
   KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
   Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
   claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
   out of the above-referenced litigation or subsumed within the Velez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 111 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 113 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
128 COLON PEREZ, NORMA I          05/25/18    17 BK 03283-LTS /              30217                 $ 73,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB CONTRY CLUB                           Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MQ 29 CALLE 428                           Rico                                                              PLANTIFFS)                                 System of the Government
    CAROLINA, PR 00982                                                                                          (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 112 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 114 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
129 COLON SANTIAGO,              06/29/18    17 BK 03566-LTS /             87320^                 $ 68,960.00 PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /             103035^            $ 5,034,400.00*
    JESSICA                                  Employees Retirement                                             AROCHO ET AL (1,601                        Employees Retirement
    CALLE GUAMANI # 41                       System of the Government                                         PLAINTIFFS)                                System of the Government
    CIUDAD CENTRO PR                         of the Commonwealth of                                           COLLECTIVELY (THE                          of the Commonwealth of
    CAROLINA, PR 00987                       Puerto Rico                                                      "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO             06/22/18    17 BK 03283-LTS /              51013            $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                       Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                               Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #87320 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
130 COLON SANTIAGO, LUIS         06/12/18    17 BK 03283-LTS /              38901              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    A.                                       Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    HC 01 BOX 7207                           Rico                                                            PO BOX 8700                                 Rico
    VILLALBA, PR 00766                                                                                       PMB120
                                                                                                             CAROLINA, PR 00988

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 113 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 115 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
131 CONCEPCION                    06/05/18    17 BK 03283-LTS /             47278              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    QUINONES, JOSEFINA                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 91 BOX 9488                            Rico                                                           PLAINTIFFS)                                 Rico
    VEGA ALTA, PR 00692-                                                                                     COLLECTIVELY (THE
    9365                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 114 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 116 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
132 CONCHITA E COX               03/05/18    17 BK 03566-LTS /             1845^            $ 91,000,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SCHUCK                                   Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    URB UNIVERSITY                           System of the Government                                        PLAINTIFFS)                                Rico
    GARDENS                                  of the Commonwealth of                                          COLLECTIVELY (THE
    322A CALLE CLEMSON                       Puerto Rico                                                     BELTRAN CINTRON
    SAN JUAN, PR 00927                                                                                       PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #1845 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #1845 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 115 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 117 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
133 CORA MARQUEZ,                  06/28/18    17 BK 03283-LTS /              87974              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MANUEL                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 9702                                Rico                                                            PLANTIFFS)                                   System of the Government
    CAGUAS, PR 00726                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 116 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 118 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
134 CORALES RAMOS,                 06/07/18    17 BK 03283-LTS /             104473              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    EVELYN A                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 798                                 Rico                                                            COLLECTIVELLY (THE                           System of the Government
    CABO ROJO, PR 00623                                                                                        "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 117 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 119 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
135 CORDERO GARCIA,               06/01/18    17 BK 03567-LTS / Puerto      45592              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ANGELA                                    Rico Highways and                                              DIAZ ET AL (1084                           Employees Retirement
    PO BOX 1546                               Transportation Authority                                       PLAINTIFFS)                                System of the Government
    RIO GRANDE, PR 00745-                                                                                    COLLECTIVELY (THE                          of the Commonwealth of
    1546                                                                                                     "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 118 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 120 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
136 CORDERO VELEZ,               05/30/18    17 BK 03283-LTS /             41573              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CLARA M                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 9281                              Rico                                                           PLAINTIFFS)                                 Rico
    HUMACAO, PR 00791                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 119 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 121 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
137 CORDERO VELEZ,               05/30/18    17 BK 03283-LTS /             29148              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CLARA M.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 9281                              Rico                                                           PLAINTIFFS)                                 Rico
    HUMACAO, PR 00792                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 120 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 122 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
138 CORDOVA ESCALERA,            06/28/18    17 BK 03283-LTS /             144605             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN A.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. HDA LA MATILDE                      Rico                                                           PLAINTIFFS)                                 Rico
    5687 MORELL CAMPOS                                                                                      COLLECTIVELY (THE
    PONCE, PR 00728                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 121 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 123 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
139 CORDOVA, JUANITA              05/25/18    17 BK 03283-LTS /             33515              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NUNEZ                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 4173                               Rico                                                           PLAINTIFFS)                                 Rico
    VEGA BAJA, PR 00694                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 122 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 124 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
140 CORREA DELGADO,                05/30/18    17 BK 03283-LTS /              58444                 $ 20,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MAYRA                                      Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    P.O. BOX 107                               Rico                                                              PLANTIFFS)                                 System of the Government
    JUANA DIAZ, PR 00795                                                                                         (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 123 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 125 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
141 CORREA MORALES,               05/30/18    17 BK 03283-LTS /              28985                 $ 33,747.45* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    WILBERTO                                  Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    TORRES DE ANDALUCIA                       Rico                                                              PLANTIFFS)                                 System of the Government
    TORRE II APTO 1110                                                                                          (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00926                                                                                          "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 124 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 126 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
142 CORREA VILLEGAS,               06/22/18    17 BK 03283-LTS /              85610               $ 201,600.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M                                   Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    HC 02 BOX 14377                            Rico                                                             PLANTIFFS)                                  System of the Government
    CAROLINA, PR 00987                                                                                          (COLLECTIVELY THE                           of the Commonwealth of
                                                                                                                "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 125 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 127 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
143 CORREA VILLEGAS,               06/22/18    17 BK 03566-LTS /              84983                 $ 47,675.94* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M.                                  Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    HC 02 BOX 14377                            System of the Government                                          PLANTIFFS)                                 System of the Government
    CAROLINA, PR 00987                         of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
                                               Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 126 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 128 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
144 CORTIJO SANCHEZ,               05/25/18    17 BK 03283-LTS /              43457              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    EDITH                                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB COUNTRY CLUB                           Rico                                                            PLANTIFFS)                                   System of the Government
    QM5 CALLE 246                                                                                              (COLLECTIVELY THE                            of the Commonwealth of
    CAROLINA, PR 00982-                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
    1895                                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
145 COSME VAZQUEZ,                 05/23/18    17 BK 03283-LTS /              19212               $ 150,000.00* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    MARIA                                      Commonwealth of Puerto                                           OTROS KPE 1980-1738                         Commonwealth of Puerto
    BO. CEDRO ARRIBA                           Rico                                                             (805), TPI SAN JUAN                         Rico
    APARTADO 755                                                                                                GEORGETTI 78
    NARANJITO, PR 00719                                                                                         SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 127 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 129 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
146 COTTO CAMARA,                 07/05/18    17 BK 03283-LTS /             131315             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DAIMARY                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    NB 52 CALLE QUINA                         Rico                                                           PLAINTIFFS)                                 Rico
    URB. SANTA JUANITA                                                                                       COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                        BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
147 COTTO CINTRON,                02/28/20    17 BK 03283-LTS /             173378             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    PEDRO                                     Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    URB. JARDINES DEL                         Rico                                                           LCDO. GILBERTO                              Rico
    MAMEY                                                                                                    RODRIGUEZ ZAYAS;
    CALLE 6 J11                                                                                              HC 2 BOX 6519
    PATILLAS, PR 00723                                                                                       GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 128 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 130 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
148 COTTO MALDONADO,              06/29/18    17 BK 03566-LTS /             140262              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    JESSICA                                   Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    URB. PARQUE                               System of the Government                                        PO BOX 8700                                 Rico
    GABRIELA D-6 CALLE 4                      of the Commonwealth of                                          PMB120
    SALINAS, PR 00751                         Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 129 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 131 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
149 CRUZ CABRERA, MARIA           05/24/18    17 BK 03283-LTS /              28425                 $ 14,400.00* ABRAHAM GIMÉNEZ ET             06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    DE LOURDES                                Commonwealth of Puerto                                            AL (1,046 PLAINTIFFS)                      Employees Retirement
    PO BOX 6680                               Rico                                                              COLLECTIVELLY (THE                         System of the Government
    BAYAMON, PR 00960                                                                                           "ABRAHAM GIMÉNEZ                           of the Commonwealth of
                                                                                                                PLAINTIFF GROUP");                         Puerto Rico
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2013-1019 / TSPR AC
                                                                                                                2016-0120, JORGE
                                                                                                                ABRAHA M G IMÉ NEZ
                                                                                                                PL AI N TIFF GR O UP
                                                                                                                (1,046 PLAINTIFFS)
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 130 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 132 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
150 CRUZ CARLO, JOSE M           05/24/18    17 BK 03283-LTS /             28527^              $ 381,600.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC 66 BOX 10317                          Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    FAJARDO, PR 00738                        Rico                                                            PLAINTIFFS)                                Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #28527 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 131 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 133 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
151 CRUZ CARLO, JOSE M.           05/24/18    17 BK 03566-LTS /             31462^               $ 160,014.96 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC 66 BOX 10317                           Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    FAJARDO, PR 00738                         System of the Government                                        PLAINTIFFS)                                Rico
                                              of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #31462 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #31462 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 132 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 134 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
152 CRUZ CRUZ, NITZA             07/09/18   17 BK 03566-LTS /             154374                $ 12,960.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    URB VISTAS DE CAMUY                     Employees Retirement                                             ALFREDO A, ET ALS                         Commonwealth of Puerto
    H19 CALLE 3                             System of the Government                                         LCDO. GILBERTO                            Rico
    CAMUY, PR 00627                         of the Commonwealth of                                           RODRIGUEZ ZAYAS;
                                            Puerto Rico                                                      HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 133 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 135 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
153 CRUZ GONZALEZ,                04/27/18    17 BK 03283-LTS /              9127                 $ 19,988.09 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN L                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 134 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 136 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
154 CRUZ GONZALEZ,                06/07/18    17 BK 03283-LTS /             71197                 $ 21,156.24 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN L.                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 454                                Rico                                                            PLAINTIFFS)                                Rico
    DORADO, PR 00646-0454                                                                                     COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 135 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 137 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
155 CRUZ IRIZARRY,                06/27/18    17 BK 03283-LTS /             102255                $ 105,600.00 DELFINA LÓPEZ                  06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    ZULMA I.                                  Commonwealth of Puerto                                           ROSARIO ET AL                              Employees Retirement
    PO BOX. 800598                            Rico                                                             COLLECTIVELY (THE                          System of the Government
    COTO LAUREL, PR 00780                                                                                      LOPEZ-ROSARIO                              of the Commonwealth of
                                                                                                               PLAINTIFF GROUP);                          Puerto Rico
                                                                                                               IVONNE GONZALEZ
                                                                                                               MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                                ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                                COLLECTIVELY (THE                         Rico
                                                                                                                LOPEZ-ROSARIO
                                                                                                                PLAINTIFF GROUP)
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
156 CRUZ IZQUIERDO,               05/30/18    17 BK 03283-LTS /              23803                 $ 7,430.20* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    GABRIEL                                   Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    LIRIO DEL MAR                             Rico                                                             PO BOX 8700                                Rico
    TORRES, ESQ.                                                                                               PMB120
    PO BOX 3552                                                                                                CAROLINA, PR 00988
    MAYAGUEZ, PR 00681

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 136 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 138 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
157 CRUZ IZQUIERDO,               05/30/18    17 BK 03283-LTS /              42540                $ 95,000.00* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    GABRIEL                                   Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    JARDIN DEL ESTE                           Rico                                                             PO BOX 8700                                Rico
    67 CALLE LAUREL                                                                                            PMB120
    NAGUABO, PR 00718                                                                                          CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 137 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 139 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
158 CRUZ OLMO, ROTCIV            05/29/18    17 BK 03283-LTS /             31857              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    URB CIUDAD DEL LAGO                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    13                                       Rico                                                           PLAINTIFFS)                                 Rico
    TRUJILLO ALTO, PR                                                                                       COLLECTIVELY (THE
    00976                                                                                                   BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 138 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 140 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
159 CRUZ ORTIZ, NORMA E.          07/06/18    17 BK 03283-LTS /             160733               $ 45,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CORALES DE HATILLO                        Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    B-28 CALLE 7                              Rico                                                            PLAINTIFFS)                                Rico
    HATILLO, PR 00659                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
160 CRUZ PEREZ, JORGE             06/29/18    17 BK 03283-LTS /             164917             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    P.O. BOX 148                              Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    SANTA ISABEL, PR 00757                    Rico                                                           LCDO. GILBERTO                              Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 139 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 141 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
161 CRUZ REYES, IVELISSE          05/23/18    17 BK 03283-LTS /             19432              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC 12 BOX 7302                            Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HUMACAO, PR 00791                         Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 140 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 142 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
162 CRUZ RIVERA , RAFAEL          06/26/18    17 BK 03283-LTS /              99284              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NO. 158 CALLE 16 VRB                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    LA ARBDE DA                               Rico                                                            PLANTIFFS)                                   System of the Government
    SALINAS, PR 00751                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 141 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 143 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
163 CRUZ RIVERA, RAFAEL            06/29/18    17 BK 03283-LTS /             139810              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NO. 158 CALLE 16 URB.                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    LA ARBOLEDA                                Rico                                                            PLANTIFFS)                                   System of the Government
    SALINAS, PR 00751                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
164 CRUZ RODRIGUEZ,                06/29/18    17 BK 03566-LTS /             120596                 $ 67,000.00* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    KAMIR J.                                   Employees Retirement                                              DE POLICIAS INC                            Commonwealth of Puerto
    HC-1 BOX 7421                              System of the Government                                          PO BOX 8700                                Rico
    LUQUILLO, PR 00773                         of the Commonwealth of                                            PMB120
                                               Puerto Rico                                                       CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 142 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 144 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
165 CRUZ SERRANO, MARY            05/07/18    17 BK 03283-LTS /             10825                 $ 77,921.37 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BELL                                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 143 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 145 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
166 CRUZ TROCHE, JOSE E.           06/28/18    17 BK 03283-LTS /             129511                 $ 50,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    1575 AVE. MUNOZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    RIVERA                                     Rico                                                              PLANTIFFS)                                 System of the Government
    PMB 393                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    PONCE, PR 00717-0211                                                                                         "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 144 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 146 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
167 CRUZ VALENTIN,                06/06/18    17 BK 03566-LTS /             65702                $ 47,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MADELYN                                   Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 1890                               System of the Government                                        PLAINTIFFS)                                Rico
    ISABELA, PR 00662                         of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
168 CRUZ VEGA, SAMUEL             06/29/18    17 BK 03283-LTS /             140156             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HC 01 BOX 4516                            Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    JUANA DIAZ, PR 00795                      Rico                                                           LCDO. GILBERTO                              Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 145 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 147 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
169 CRUZ ZAYAS, IDA              06/21/18    17 BK 03283-LTS /              73709              Undetermined* EDUCADORES                      06/29/18    17 BK 03283-LTS /             67462             $ 35,000,000.00*
    R-7-4 TOWN HOUSE                         Commonwealth of Puerto                                          PUERTORRIQUEÑOS EN                          Commonwealth of Puerto
    COAMO, PR 00769                          Rico                                                            ACCIÓN, INC                                 Rico
                                                                                                             BUFETE FRANCISCO R.
                                                                                                             GONZÁLEZ
                                                                                                             1519 PONCE DE LEÓN
                                                                                                             AVE.
                                                                                                             SUITE 805
                                                                                                             SAN JUAN, PR 00909

   Reason: This claim is duplicative, in part, of Master Claim no. 67462, which was filed on behalf of all plaintiffs in the litigation captioned Educadores Puertorriqueños En Acción, Inc., et al. v. Rafael Ramón,
   et al., Case No. 2013-05-1716 (the “EPA Master Claim”). The plaintiffs in the litigation are employees of the Department of Education (“DOE”) who contend they were discriminated against by being
   unjustly excluded from certain salary increases. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis.
   Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the EPA Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 146 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 148 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
170 CRUZ, EDNA DAVILA              05/25/18    17 BK 03283-LTS /              30198              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    13-11 CALLE 28                             Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CAROLINA, PR 00983                         Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 147 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 149 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
171 CUADRADO FLORES ,             06/29/18    17 BK 03283-LTS /             150714              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LUZ M.                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 1082                               Rico                                                            PLANTIFFS)                                   System of the Government
    CAGUAS, PR 00726                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 148 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 150 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
172 CUADRADO MATOS,                06/27/18    17 BK 03566-LTS /             113845^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN                                     Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    URB. ALT. SAN PEDRO                        System of the Government                                        PLANTIFFS)                                   System of the Government
    T-15 CALLE SAN                             of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    MARCOS                                     Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    FAJARDO, PR 00738                                                                                          PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #113845 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 149 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 151 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
173 CUADRADO ROSARIO,            05/23/18    17 BK 03283-LTS /             16603              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GISELLE                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 8802                              Rico                                                           PLAINTIFFS)                                 Rico
    BO.TEJAS                                                                                                COLLECTIVELY (THE
    HUMACAO, PR 00792                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 150 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 152 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
174 CUADRADO ROSARIO,            05/23/18    17 BK 03283-LTS /             19253              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GISELLE E                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 8802                              Rico                                                           PLAINTIFFS)                                 Rico
    BO TEJAS                                                                                                COLLECTIVELY (THE
    HUMACAO, PR 00792                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 151 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 153 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
175 CUEVAS SOTO,                  06/19/18    17 BK 03283-LTS /             79269              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    WILLIAM                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-02 BOX 6598                            Rico                                                           PLAINTIFFS)                                 Rico
    LARES, PR 00669                                                                                          COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 152 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 154 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
176 CURBELO JARAMILLO,           06/07/18    17 BK 03283-LTS /             61313              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DAISY                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    COOP DE VIVIENDA                         Rico                                                           PLAINTIFFS)                                 Rico
    JARD DE SAN IGNACIO                                                                                     COLLECTIVELY (THE
    APTO 1002 B                                                                                             BELTRAN CINTRON
    SAN JUAN, PR 00927                                                                                      PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 153 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 155 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
177 DACOSTA MARTELL,              04/30/18    17 BK 03283-LTS /              9744              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GILDA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    EXT LA ALAMEDA                            Rico                                                           PLAINTIFFS)                                 Rico
    C 38 CALLE A                                                                                             COLLECTIVELY (THE
    SAN JUAN, PR 00926                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 154 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 156 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
178 DACOSTA MARTELL,              04/30/18    17 BK 03566-LTS /              9749              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GILDA                                     Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    EXT LA ALAMEDA                            System of the Government                                       PLAINTIFFS)                                 Rico
    C 38 CALLE A                              of the Commonwealth of                                         COLLECTIVELY (THE
    SAN JUAN, PR 00926                        Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 155 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 157 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
179 DAVID RUIZ, WIDALYS          06/28/18    17 BK 03283-LTS /             163996             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    A                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    INTERAMERICANA                           Rico                                                           PLAINTIFFS)                                 Rico
    APTS A-2 CALLE 20                                                                                       COLLECTIVELY (THE
    APT 346                                                                                                 BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                       PLAINTIFF GROUP")...
    00976                                                                                                   ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 156 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 158 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
180 DAVID RUIZ, WIDALYS           06/28/18    17 BK 03283-LTS /             130238             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    A.                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    INTERAMERICANA                            Rico                                                           PLAINTIFFS)                                 Rico
    APTS.CALLE 20 A2 APT                                                                                     COLLECTIVELY (THE
    346                                                                                                      BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                        PLAINTIFF GROUP")...
    00976                                                                                                    ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 157 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 159 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
181 DAVID RUIZ, WIDALYS           06/28/18    17 BK 03283-LTS /             154816             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    A.                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    INTERAMERICANA                            Rico                                                           PLAINTIFFS)                                 Rico
    APTS. A2 CALLE 20 APT                                                                                    COLLECTIVELY (THE
    346                                                                                                      BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                        PLAINTIFF GROUP")...
    00976                                                                                                    ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 158 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 160 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
182 DAVID RUIZ, WIDALYS          06/28/18    17 BK 03283-LTS /             164949             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    A.                                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    INTERAMERICANO APT                       Rico                                                           PLAINTIFFS)                                 Rico
    A2 CALLE 20                                                                                             COLLECTIVELY (THE
    APT 346                                                                                                 BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                       PLAINTIFF GROUP")...
    00976                                                                                                   ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 159 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 161 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
183 DAVILA BAEZ, SYLVIA          05/25/18    17 BK 03283-LTS /             38055              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    Y.                                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 1204                              Rico                                                           PLAINTIFFS)                                 Rico
    NAGUABO, PR 00718                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 160 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 162 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
184 DAVILA CORTES,                06/29/18    17 BK 03283-LTS /             163453                 $ 30,000.00 DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    MELBA I.                                  Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    20 C URB. SANTIAGO                        Rico                                                             COLLECTIVELY (THE                         System of the Government
    LOIZA, PR 00772                                                                                            LOPEZ-ROSARIO                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP);                         Puerto Rico
                                                                                                               IVONNE GONZALEZ
                                                                                                               MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 161 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 163 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
185 DAVILA CRUZ, EDNA              05/25/18    17 BK 03283-LTS /              27105              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    13-11 CALLE 28                             Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CAROLINA, PR 00983                         Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 162 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 164 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
186 DAVILA CRUZ, EDNA              05/25/18    17 BK 03566-LTS /             43614^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB SABANA GDNS                            Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    1311 CALLE 28                              System of the Government                                        PLANTIFFS)                                   System of the Government
    CAROLINA, PR 00983-                        of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    2910                                       Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #43614 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
187 DAVILA GONZALEZ,               05/21/18    17 BK 03283-LTS /              32641              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    JOSE A.                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    HC-01 BOX 2933                             Rico                                                            LCDO. GILBERTO                               Rico
    COABEY                                                                                                     RODRIGUEZ ZAYAS;
    JAYUYA, PR 00664                                                                                           HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 163 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 165 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
188 DAVILA JIMENEZ,               06/29/18    17 BK 03283-LTS /              84910                 $ 85,000.00 VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    JANICE                                    Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    PO BOX 764                                Rico                                                             (805), TPI SAN JUAN                        Rico
    GURABO, PR 00778                                                                                           GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 164 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 166 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
189 DAVILA MEDINA,                05/29/18    17 BK 03283-LTS /             39666              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ADELA E                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 298                                Rico                                                           PLAINTIFFS)                                 Rico
    RIO GRANDE, PR 00745                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 165 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 167 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
190 DE JESUS ALMEDINA,            06/29/18    17 BK 03283-LTS /             133474              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIA P.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    P.O. BOX 856                              Rico                                                            PLANTIFFS)                                   System of the Government
    SALINAS, PR 00751                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 166 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 168 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
191 DE JESUS ALMEDINA,            06/29/18    17 BK 03283-LTS /             142584              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIA P.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 856                                Rico                                                            PLANTIFFS)                                   System of the Government
    SALINAS, PR 00751                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 167 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 169 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
192 DE JESUS ALMEDIRA,            06/29/18    17 BK 03283-LTS /             145026              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIA P.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 856                                Rico                                                            PLANTIFFS)                                   System of the Government
    SALINAS, PR 00751                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 168 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 170 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
193 DE JESUS GONZALEZ,           06/07/18    17 BK 03283-LTS /             82743^               $ 324,000.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BETSY                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC 06 BOX 70057                          Rico                                                            PLAINTIFFS)                                Rico
    CAGUAS, PR 00727                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #82743 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 169 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 171 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
194 DE JESUS RIVERA, IRIS         06/26/18    17 BK 03566-LTS /             38229^                $ 25,000.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 1542                               Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    CAROLINA, PR 00984-                       System of the Government                                        PLAINTIFFS)                                Rico
    1542                                      of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #38229 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 170 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 172 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
195 DE JESÚS RIVERA,              06/29/18    17 BK 03283-LTS /             144321              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARILUZ                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    635 CALLE EUCALIPTO                       Rico                                                            PLANTIFFS)                                   System of the Government
    URB. FAJARDO                                                                                              (COLLECTIVELY THE                            of the Commonwealth of
    GARDENS                                                                                                   "ACEVEDO CAMACHO                             Puerto Rico
    FAJARDO, PR 00738                                                                                         PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 171 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 173 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
196 DE JESUS ROSADO,              06/29/18    17 BK 03283-LTS /             141526             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDUVINA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 856                                Rico                                                           PLAINTIFFS)                                 Rico
    SALINAS, PR 00751                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 172 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 174 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
197 DE JESUS ROSADO,              06/29/18    17 BK 03283-LTS /             143153             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDUVINA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 856                                   Rico                                                           PLAINTIFFS)                                 Rico
    SALINAS, PR 00751                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 173 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 175 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
198 DE JESUS SALAZAR,             04/10/18    17 BK 03283-LTS /              6846               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    WILLIAM                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 04 BOX 40552                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MAYAGUEZ, PR 00680                                                                                        "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 174 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 176 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
199 DE LOS A CINTRON,             05/15/18    17 BK 03283-LTS /             15445              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 171                                Rico                                                           PLAINTIFFS)                                 Rico
    BARRANQUITAS, PR                                                                                         COLLECTIVELY (THE
    00794                                                                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 175 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 177 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
200 DE LOS A. MUJICA               05/25/18    17 BK 03283-LTS /              23567                     $ 609.03 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MUJICA, ROSA                               Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 176 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 178 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
201 DEJESUS ROSADO,               06/29/18    17 BK 03283-LTS /             149442             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDUVINA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 856                                   Rico                                                           PLAINTIFFS)                                 Rico
    SALINAS, PR 00751                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 177 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 179 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
202 DELGADO PEREZ, ALMA            06/27/18    17 BK 03283-LTS /             107770              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    R.                                         Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    P.O. BOX 800023                            Rico                                                            PLANTIFFS)                                   System of the Government
    COTO LAUREL, PR 00780                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 178 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 180 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
203 DIAZ CRUZ, LILLIAN L.         05/25/18    17 BK 03283-LTS /             46597               $ 150,900.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JARDINES DE BALENCIA                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    APTO 1412                                 Rico                                                            PLAINTIFFS)                                Rico
    C/ PERERA LEAL 621                                                                                        COLLECTIVELY (THE
    RIO PIEDRAS, PR 00923                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 179 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 181 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
204 DIAZ CRUZ, LILLIAN L.         05/25/18    17 BK 03566-LTS /             33790^               $ 69,611.74* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JARDINES DE                               Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    VALENCIA 1413                             System of the Government                                        PLAINTIFFS)                                Rico
    C/PEREIRA LEAL 631                        of the Commonwealth of                                          COLLECTIVELY (THE
    RIO PIEDRAS, PR 00923                     Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #33790 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 180 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 182 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
205 DIAZ DE JESUS, HECTOR          05/14/18    17 BK 03283-LTS /              11050              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CALLE AGUEYBANA                            Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CC-16                                      Rico                                                            PLANTIFFS)                                   System of the Government
    PARQUE DEL MONTE                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    CAGUAS, PR 00725                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 181 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 183 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
206 DIAZ DIAZ, IRVIN              05/10/18    17 BK 03283-LTS /              14262              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC-01 BOX 4668                            Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    NAGUABO, PR 00718                         Rico                                                            PLAINTIFFS)                                 Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
207 DIAZ FIGUEROA,                07/30/18    17 BK 03283-LTS /             109600                 $ 13,964.41 VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MILAGROS                                  Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    PO BOX 7444                               Rico                                                             (805), TPI SAN JUAN                        Rico
    SAN JUAN, PR 00916                                                                                         GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 182 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 184 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
208 DIAZ FIGUEROA,                07/30/18    17 BK 03283-LTS /             150389                $ 13,964.41* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MILAGROS                                  Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    BO OBRERO                                 Rico                                                             (805), TPI SAN JUAN                        Rico
    629 CALLE NIN                                                                                              GEORGETTI 78
    SAN JUAN, PR 00912                                                                                         SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.
209 DIAZ FIGUEROA,                07/30/18    17 BK 03283-LTS /            161886^                 $ 13,964.41 VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MILAGROS                                  Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    CALLE NIN #629                            Rico                                                             (805), TPI SAN JUAN                        Rico
    SAN JUAN, PR 00915                                                                                         GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.
    ^ Claim #161886 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 183 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 185 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
210 DIAZ FLOUES, GLENDA            05/07/18    17 BK 03283-LTS /              12083              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LIZ                                        Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 50 BOX 20913                            Rico                                                            PLANTIFFS)                                   System of the Government
    SAN LORENZO, PR 00754                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 184 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 186 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
211 DIAZ GARCIA, MIGUEL            05/25/18    17 BK 03283-LTS /              22296                     $ 502.88 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    A                                          Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
212 DIAZ MERCED, HECTOR            08/14/19    17 BK 03283-LTS /             170314              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    P O BOX 2287                               Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    SALINAS, PR 00751                          Rico                                                            LCDO. GILBERTO                               Rico
                                                                                                               RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 185 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 187 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
213 DIAZ MORALES, AZLIN          06/14/18    17 BK 03283-LTS /             64729^               $ 367,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    QUINTAS BALDWIN                          Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    50 AVE A APT 1206                        Rico                                                            PLAINTIFFS)                                Rico
    BAYAMON, PR 00959                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #64729 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 186 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 188 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
214 DIAZ MORALES, AZLIN          06/14/18    17 BK 03566-LTS /             78765                $ 39,604.74* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    QUINTAS BALWIN #50                       Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    AVE. A APT. 1206                         System of the Government                                        PLAINTIFFS)                                Rico
    BAYAMON, PR 00959                        of the Commonwealth of                                          COLLECTIVELY (THE
                                             Puerto Rico                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 187 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 189 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
215 DIAZ NIEVES, AIDA             05/17/18    17 BK 03566-LTS /             16670              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    URB RAMEY                                 Employees Retirement                                           DIAZ ET AL (1084                           Employees Retirement
    128 CALLE A                               System of the Government                                       PLAINTIFFS)                                System of the Government
    AGUADILLA, PR 00603-                      of the Commonwealth of                                         COLLECTIVELY (THE                          of the Commonwealth of
    1102                                      Puerto Rico                                                    "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 188 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 190 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
216 DIAZ ORTIZ, ANGEL L            05/23/18    17 BK 03283-LTS /              30132              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    COUNTRY CLUB 4TH                           Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    EXT. 885                                   Rico                                                            PLANTIFFS)                                   System of the Government
    CALLE/GALAPAGOS                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00924                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 189 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 191 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
217 DIAZ RODRIGUEZ,               06/29/18    17 BK 03283-LTS /             114301                $ 18,031.01 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARITZA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 372177                             Rico                                                            PLAINTIFFS)                                Rico
    CAYEY, PR 00737-2177                                                                                      COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
218 DIAZ RUIZ, MIQUEL A           09/11/19    17 BK 03283-LTS /             170725             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    B MULA HC 63                              Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    BOX 3591                                  Rico                                                           LCDO. GILBERTO                              Rico
    PATILLAS, PR 00723                                                                                       RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 190 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 192 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
219 DIAZ VEGA, AMELIA              05/02/18    17 BK 03283-LTS /              11675              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    5878 CALLE JACINTO                         Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    GUTIERREZ                                  Rico                                                            PLANTIFFS)                                   System of the Government
    BARRIADA BELGICA                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    PONCE, PR 00717                                                                                            "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 191 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 193 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
220 DOMINGUEZ ESTRADA,             04/04/18    17 BK 03283-LTS /               6490              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CRUZ S                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB LOS DOMINICOS                          Rico                                                            PLANTIFFS)                                   System of the Government
    D89 CALLE SANTO                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    TOMAS DE AQUINO                                                                                            "ACEVEDO CAMACHO                             Puerto Rico
    BAYAMON, PR 00957                                                                                          PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
221 DONES DE LEON,                 06/29/18    17 BK 03283-LTS /             143358              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    ROBERTO                                    Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    P.O. BOX 1235                              Rico                                                            PO BOX 8700                                  Rico
    LAS PIEDRAS, PR 00771                                                                                      PMB120
                                                                                                               CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 192 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 194 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
222 DONES MORALES,                06/28/18    17 BK 03283-LTS /             70396              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NAYDA L.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    P.O. BOX 801                              Rico                                                           PLAINTIFFS)                                 Rico
    URB. VALLES DE                                                                                           COLLECTIVELY (THE
    ARROYO #24                                                                                               BELTRAN CINTRON
    ARROYO, PR 00714                                                                                         PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 193 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 195 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
223 DONES MORALES,                06/28/18    17 BK 03566-LTS /             51423              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NAYDA L.                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    P.O. BOX 801                              System of the Government                                       PLAINTIFFS)                                 Rico
    ARROYO, PR 00714                          of the Commonwealth of                                         COLLECTIVELY (THE
                                              Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 194 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 196 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
224 DONES RODRIGUEZ,             06/11/18    17 BK 03283-LTS /             84179                $ 50,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 7963                              Rico                                                            PLAINTIFFS)                                Rico
    CAGUAS, PR 00726                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 195 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 197 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
225 DONES RODRIGUEZ,             06/11/18    17 BK 03283-LTS /             88628              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    P.O. BOX 7963                            Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS, PR 00726                                                                                        COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 196 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 198 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
226 DYPERON RODRIGUEZ,            06/27/18    17 BK 03283-LTS /              98158              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    BARBARA ENID                              Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    4121 CALLE NUCLEAR                        Rico                                                            PLAINTIFFS)                                 System of the Government
    URB. BELLA VISTA                                                                                          COLLECTIVELY (THE                           of the Commonwealth of
    PONCE, PR 00716-4148                                                                                      "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 197 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 199 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
227 ECHEVARRIA                    07/06/18    17 BK 03283-LTS /             147525             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ACEVEDO, DAVID                            Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-4 BOX 42530                            Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 198 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 200 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
228 ECHEVARRIA LASSUS,            05/24/18    17 BK 03566-LTS /              35103              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    AMPARO                                    Employees Retirement                                            AROCHO ET AL (1,601                         Employees Retirement
    HC 2 BOX 14361                            System of the Government                                        PLAINTIFFS)                                 System of the Government
    CAROLINA, PR 00987-                       of the Commonwealth of                                          COLLECTIVELY (THE                           of the Commonwealth of
    9812                                      Puerto Rico                                                     "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 199 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 201 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
229 ECHEVARRIA                     04/20/18    17 BK 03283-LTS /              7850               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MARTINEZ, RAMON                            Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    RR03 BOX 10150                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ANASCO, PR 00610-9160                                                                                      "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 200 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 202 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
230 ENCARNACION                  06/08/18    17 BK 03283-LTS /             72473              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VASQUEZ, BELKIS                          Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    COND. LOS                                Rico                                                           PLAINTIFFS)                                 Rico
    ALEMANDIOS PLAZA I                                                                                      COLLECTIVELY (THE
    APT 703                                                                                                 BELTRAN CINTRON
    SAN JUAN, PR 00924                                                                                      PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 201 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 203 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
231 ESPADA DAVID,                 09/12/19    17 BK 03283-LTS /             170639             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EVELYN M.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 1086                               Rico                                                           PLAINTIFFS)                                 Rico
    COAMO, PR 00769                                                                                          COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 202 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 204 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
232 ESPINOZA MARTINEZ,           05/29/18    17 BK 03283-LTS /             32405              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JAVIER                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 8981                              Rico                                                           PLAINTIFFS)                                 Rico
    HUMACAO, PR 00792                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 203 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 205 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
233 ESQUILIN CINTRON,            04/20/18    17 BK 03566-LTS /             7830^              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ROSA                                     Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    BC5 CALLE YAGRUMO                        System of the Government                                       PLAINTIFFS)                                 Rico
    VALLE ARRIBA                             of the Commonwealth of                                         COLLECTIVELY (THE
    HEIGHTS                                  Puerto Rico                                                    BELTRAN CINTRON
    CAROLINA, PR 00983                                                                                      PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #7830 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 204 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 206 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
234 ESTEVES ESTEVES,              03/22/18    17 BK 03283-LTS /             4023^                $ 15,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OLGA                                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC 6 BOX 12134                            Rico                                                            PLAINTIFFS)                                Rico
    SAN SEBASTIAN, PR                                                                                         COLLECTIVELY (THE
    00685                                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #4023 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 205 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 207 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
235 ESTRADA VEGA,                  06/20/18    17 BK 03283-LTS /              42194              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN B.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE 81 BLQ 95 CASA 3                     Rico                                                            PLANTIFFS)                                   System of the Government
    SIERRA BAYAMON                                                                                             (COLLECTIVELY THE                            of the Commonwealth of
    BAYAMON, PR 00961                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 206 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 208 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
236 ESTRADA VEGA,                  06/20/18    17 BK 03566-LTS /             37785^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN B.                                  Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE 81 BLQ 95 CASA 3                     System of the Government                                        PLANTIFFS)                                   System of the Government
    SIERRA BAYAMON                             of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    BAYAMON, PR 00961                          Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #37785 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 207 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 209 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
237 FALCON MALAVE,                06/29/18    17 BK 03283-LTS /             114299                  $ 400.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MERLYN L.                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PMB 485 HC 1 BOX 29030                    Rico                                                            PLAINTIFFS)                                Rico
    CAGUAS, PR 00725-8900                                                                                     COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 208 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 210 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
238 FALTO LARACUENTE,             07/16/18    17 BK 03283-LTS /             130146              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    LINNETTE                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 1462                               Rico                                                            COLLECTIVELLY (THE                           System of the Government
    HORMIGUEROS, PR                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    00660                                                                                                     PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 209 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 211 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
239 FELICIANO MARTINEZ,            06/26/18    17 BK 03283-LTS /              91282              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MYLDA A.                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    613 CALLE TABONUCO                         Rico                                                            PLANTIFFS)                                   System of the Government
    FAJARDO, PR 00738-3076                                                                                     (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 210 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 212 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
240 FELICIANO MEDINA,             06/26/18    17 BK 03283-LTS /             113392             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MIGUEL                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-01                                     Rico                                                           PLAINTIFFS)                                 Rico
    BOX 9097                                                                                                 COLLECTIVELY (THE
    PENUELAS, PR 00624                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 211 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 213 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
241 FELICIANO RODRIGUEZ,         03/29/18    17 BK 03283-LTS /              5645                 $ 45,000.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    IRVING                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    CARR. NUEVA HC-01                        Rico                                                             COLLECTIVELY (THE                         System of the Government
    BOX 8380                                                                                                  LOPEZ-ROSARIO                             of the Commonwealth of
    HORMIGUEROS, PR                                                                                           PLAINTIFF GROUP);                         Puerto Rico
    00660                                                                                                     IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 212 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 214 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
242 FELICIANO RODRIGUEZ,         04/27/18    17 BK 03283-LTS /              9143                     $ 60.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    IRVING                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    HC 01 BOX 8380                           Rico                                                             COLLECTIVELY (THE                         System of the Government
    HORMIGUEROS, PR                                                                                           LOPEZ-ROSARIO                             of the Commonwealth of
    00660                                                                                                     PLAINTIFF GROUP);                         Puerto Rico
                                                                                                              IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 213 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 215 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
243 FELICIANO ROSADO,            05/23/18    17 BK 03566-LTS /             26099              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JARITZA                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC-3 BOX 6395                            System of the Government                                       PLAINTIFFS)                                 Rico
    RINCON, PR 00677                         of the Commonwealth of                                         COLLECTIVELY (THE
                                             Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 214 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 216 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
244 FELIX PENA, MARISOL           05/07/18    17 BK 03283-LTS /              10823              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HC 55 BOX 8817                            Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CEIBA, PR 00735                           Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                              (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 215 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 217 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
245 FERNANDEZ                      05/23/18    17 BK 03283-LTS /              18293                      $ 42.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    GONZALEZ, EMILIO                           Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 216 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 218 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
246 FERNANDEZ                      05/24/18    17 BK 03283-LTS /              25661                     $ 811.44 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HERNANDEZ, JESUS                           Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 217 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 219 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
247 FERNANDEZ OTERO,              05/02/18    17 BK 03283-LTS /              9346                 $ 50,864.55 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NILSA                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 218 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 220 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
248 FERNANDEZ                     06/28/18    17 BK 03283-LTS /             125472                $ 75,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    RODRIGUEZ, JORGE L                        Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    HC 01 BOX 60021                           Rico                                                             PLAINTIFFS)                                System of the Government
    LAS PIEDRAS, PR 00771                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                               "ACEVEDO AROCHO                            Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 219 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 221 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
249 FERNANDEZ TORRES,             06/29/18    17 BK 03566-LTS /             117101              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    NANCY                                     Employees Retirement                                            AROCHO ET AL (1,601                         Employees Retirement
    H.C. 01 BOX 5296                          System of the Government                                        PLAINTIFFS)                                 System of the Government
    SANTA ISABEL, PR 00757                    of the Commonwealth of                                          COLLECTIVELY (THE                           of the Commonwealth of
                                              Puerto Rico                                                     "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 220 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 222 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
250 FERRAO AYALA,                  07/05/18    17 BK 03283-LTS /             155181                  $ 10,582.01 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIELI                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    P.O. BOX 387                               Rico                                                              PLANTIFFS)                                 System of the Government
    TOA ALTA, PR 00954                                                                                           (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 221 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 223 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
251 FIGUEROA ALAMO,                05/23/18    17 BK 03283-LTS /              30135                 $ 302,400.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ANGEL M.                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    P.O. BOX 6333                              Rico                                                              PLANTIFFS)                                 System of the Government
    SAN JUAN, PR 00914-6333                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 222 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 224 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
252 FIGUEROA DIAZ,                06/29/18    17 BK 03283-LTS /             43188                   $ 7,200.00 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LINELLY                                   Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    11302 ISLE OF                             Rico                                                             PLAINTIFFS)                               Rico
    WATERBRIDGE                                                                                                COLLECTIVELY (THE
    APTO 107                                                                                                   BELTRAN CINTRON
    ORLANDO, FL 32837                                                                                          PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 223 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 225 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
253 FIGUEROA DIAZ,               06/28/18    17 BK 03283-LTS /             58357                   $ 7,200.00 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LINELLY                                  Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    11302 ISLE OF                            Rico                                                             PLAINTIFFS)                               Rico
    WATERBRIDGE APT.107                                                                                       COLLECTIVELY (THE
    ORLANDO, FL 32837                                                                                         BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 224 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 226 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
254 FIGUEROA DIAZ,                06/28/18    17 BK 03283-LTS /             58953                   $ 7,200.00 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LINELLY                                   Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    11302 ISLE OF                             Rico                                                             PLAINTIFFS)                               Rico
    WATERBRIDGE                                                                                                COLLECTIVELY (THE
    APT 107                                                                                                    BELTRAN CINTRON
    ORLANDO, FL 32837                                                                                          PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 225 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 227 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
255 FIGUEROA MUNIZ, IRIS           07/05/18    17 BK 03283-LTS /             157252              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    M                                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    9202 NW 9TH CT                             Rico                                                            PLANTIFFS)                                   System of the Government
    PLANTATION, FL 33324                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 226 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 228 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
256 FIGUEROA NIEVES,              04/12/18    17 BK 03283-LTS /              7264              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    ELSA M.                                   Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
    URB LA MARINA                             Rico                                                           COLLECTIVELY (THE                           System of the Government
    19 CALLE ERIDANA                                                                                         LOPEZ-ROSARIO                               of the Commonwealth of
    CAROLINA, PR 00979                                                                                       PLAINTIFF GROUP);                           Puerto Rico
                                                                                                             IVONNE GONZALEZ
                                                                                                             MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 227 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 229 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
257 FIGUEROA PENA, EDNA          06/28/18    17 BK 03283-LTS /             139353             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CALLE DEL MONTE 144                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BO. CAMPANILLA                           Rico                                                           PLAINTIFFS)                                 Rico
    TOA BAJA, PR 00949                                                                                      COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 228 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 230 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
258 FLORES RODRIGUEZ,            05/21/18    17 BK 03283-LTS /             30776                $ 60,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ERIC X.                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    VILLA MARIA G15                          Rico                                                            PLAINTIFFS)                                Rico
    CALLE 2                                                                                                  COLLECTIVELY (THE
    CAQUAS, PR 00725                                                                                         BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 229 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 231 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
259 FLORES ZAYES,                 06/14/18    17 BK 03283-LTS /              50202              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    ZOBEIDA                                   Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    PO BOX 3502 SUITE 25                      Rico                                                            PLAINTIFFS)                                 System of the Government
    JUANA DIAZ, PR 00795                                                                                      COLLECTIVELY (THE                           of the Commonwealth of
                                                                                                              "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 230 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 232 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
260 FONTANEZ MELENDEZ,             06/29/18    17 BK 03566-LTS /             134072              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    WILFREDO                                   Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    URB. LOMAS VERDES                          System of the Government                                        PLANTIFFS)                                   System of the Government
    3V-10                                      of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    CALLE MIRTO                                Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    BAYAMON, PR 00956-                                                                                         PLANTIFF GROUP");
    3320                                                                                                       CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
261 FORGAS TORRUELLAS ,            05/21/18    17 BK 03566-LTS /              35399              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    JULIO                                      Employees Retirement                                            ALFREDO A, ET ALS                            Commonwealth of Puerto
    BDA BELGICA                                System of the Government                                        LCDO. GILBERTO                               Rico
    5974 CALLE BOLIVIA                         of the Commonwealth of                                          RODRIGUEZ ZAYAS;
    PONCE, PR 00717-1724                       Puerto Rico                                                     HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 231 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 233 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
262 FRANCIS ALVARADO,             05/29/18    17 BK 03283-LTS /              40959              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JOSEPHINE                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. COUNTRY CLUB                         Rico                                                            PLANTIFFS)                                   System of the Government
    2DA. EXT.                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    CARLOS BESTERO #1140                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
    SAN JUAN, PR 00924                                                                                        PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 232 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 234 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
263 FUENTES ECHEVARRIA,           06/06/18    17 BK 03283-LTS /             61458                   $ 2,000.00 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ENID                                      Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    HC 3 BOX 33827                            Rico                                                             PLAINTIFFS)                               Rico
    HATILLO, PR 00659-9611                                                                                     COLLECTIVELY (THE
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 233 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 235 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
264 FUENTES ECHEVARRIA,          06/06/18    17 BK 03283-LTS /             62931                   $ 3,000.00 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ENID                                     Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    HC 3 BOX 33811                           Rico                                                             PLAINTIFFS)                               Rico
    HATILLO, PR 00659                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 234 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 236 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
265 GALINDEZ SIERRA,              06/04/18    17 BK 03283-LTS /              38765              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN S.                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    BOX 1550                                  Rico                                                            PLANTIFFS)                                   System of the Government
    MANATI, PR 00674                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 235 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 237 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
266 GALLARDO DE LEON,            06/29/18    17 BK 03283-LTS /             138137             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALEXANDRA                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. VILLA CAROLINA                      Rico                                                           PLAINTIFFS)                                 Rico
    11930 CALLE 67                                                                                          COLLECTIVELY (THE
    CAROLINA, PR 00985                                                                                      BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 236 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 238 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
267 GARCIA CORTES,                05/24/18    17 BK 03283-LTS /             23887              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARGARITA                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 59 BOX 6902                            Rico                                                           PLAINTIFFS)                                 Rico
    AGUADA, PR 00602                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 237 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 239 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
268 GARCIA CORTES,                05/24/18    17 BK 03283-LTS /             27808              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARGARITA                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 59 BOX 6902                            Rico                                                           PLAINTIFFS)                                 Rico
    AGUADA, PR 00602                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 238 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 240 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
269 GARCIA HERNANDEZ,             05/24/18    17 BK 03283-LTS /             24367^                 $ 712,800.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NEFTALI                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    URB. MONTE VERDE                          Rico                                                              PLANTIFFS)                                 System of the Government
    CALLE MONTE SANTO                                                                                           (COLLECTIVELY THE                          of the Commonwealth of
    #3317                                                                                                       "ACEVEDO CAMACHO                           Puerto Rico
    MANATI, PR 00674                                                                                            PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #24367 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 239 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 241 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
270 GARCIA RIVERA,               05/30/18    17 BK 03283-LTS /             27778              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LISANDRA                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 523                               Rico                                                           PLAINTIFFS)                                 Rico
    MAUNABO, PR 00707                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 240 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 242 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
271 GARCIA TORRES,                06/28/18    17 BK 03283-LTS /            123230              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    CARMEN M                                  Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC 9 BOX 1737                             Rico                                                           PLAINTIFFS)                                System of the Government
    PONCE, PR 00731                                                                                          COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                             "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 241 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 243 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
272 GARCIA VAZQUEZ,               06/25/18    17 BK 03283-LTS /              90794              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    SONIA I                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    225 CALLE REINA                           Rico                                                            PLAINTIFFS)                                 Rico
    PONCE, PR 00730-3525                                                                                      COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
273 GARCIA, LUIS R.               06/06/18    17 BK 03283-LTS /              48906                $ 18,480.00* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    URB VIRGINIA VALLEY                       Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    615 VALLE VERDE                           Rico                                                             PO BOX 8700                                Rico
    JUNCOS, PR 00777                                                                                           PMB120
                                                                                                               CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 242 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 244 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
274 GERENA LOZADA,                10/09/19    17 BK 03283-LTS /             171319               $ 210,000.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    AUDRY                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    P O BOX 9728                              Rico                                                            PLAINTIFFS)                                Rico
    PLAZA CAROLINA ST                                                                                         COLLECTIVELY (THE
    CAROLINA, PR 00988                                                                                        BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 243 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 245 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
275 GERENA MARCANO,                06/28/18    17 BK 03283-LTS /             96234^                 $ 604,800.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RICARDO                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    22 CALLE                                   Rico                                                              PLANTIFFS)                                 System of the Government
    15 HILL BROTHERS                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00924                                                                                           "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #96234 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 244 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 246 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
276 GERMAIN                       06/12/18    17 BK 03283-LTS /              88187              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    OPPENHEIMER,                              Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    CARMEN E.                                 Rico                                                            PLAINTIFFS)                                 Rico
    URB. EL MADRIGAL                                                                                          COLLECTIVELY (THE
    CALLE 2 B10                                                                                               BELTRAN CINTRON
    PONCE, PR 00730                                                                                           PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
277 GOGLAS LOPEZ,                 05/30/18    17 BK 03283-LTS /              37989                 $ 55,767.12 CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    KATHERINE M                               Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    HC 4 BOX 22008                            Rico                                                             PO BOX 8700                                Rico
    JUANA DIAZ, PR 00795                                                                                       PMB120
                                                                                                               CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 245 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 247 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
278 GONZALEZ                      04/17/18    17 BK 03566-LTS /              7924              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CANDELARIO, MARIA L                       Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    VILLA CAROLINA                            System of the Government                                       PLAINTIFFS)                                 Rico
    CALLE 64 BLOQ 120 15                      of the Commonwealth of                                         COLLECTIVELY (THE
    CAROLINA, PR 00985                        Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 246 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 248 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
279 GONZALEZ                      05/30/18    17 BK 03283-LTS /              38419              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    CARTAGENA, ELBA IDA                       Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    HC 2 BOX 7221                             Rico                                                            PLAINTIFFS)                                 Rico
    SALINAS, PR 00751                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
280 GONZALEZ CIRINO,              06/28/18    17 BK 03283-LTS /             125021              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    RICARDO                                   Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    PO BOX 11664                              Rico                                                            PO BOX 8700                                 Rico
    SAN JUAN, PR 00910                                                                                        PMB120
                                                                                                              CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 247 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
281 GONZALEZ COLON,              05/01/18    17 BK 03283-LTS /             11177              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NOEMI                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB JARDINES DE                          Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS C/B #B-9                                                                                         COLLECTIVELY (THE
    CAGUAS, PR 00727                                                                                        BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 248 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 250 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
282 GONZALEZ COTTO, ADA          06/29/18    17 BK 03566-LTS /             155032             Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    L.                                       Employees Retirement                                           ROSARIO ET AL                               Employees Retirement
    URB REXVILLE                             System of the Government                                       COLLECTIVELY (THE                           System of the Government
    BF9 CALLE 34                             of the Commonwealth of                                         LOPEZ-ROSARIO                               of the Commonwealth of
    BAYAMON, PR 00957-                       Puerto Rico                                                    PLAINTIFF GROUP);                           Puerto Rico
    4138                                                                                                    IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 249 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
283 GONZALEZ COTTO,               06/29/18    17 BK 03283-LTS /             166165                $ 50,000.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    NILDA A                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    1484 AVE ROOSEVELT,                       Rico                                                             COLLECTIVELY (THE                         System of the Government
    APTO. 1213                                                                                                 LOPEZ-ROSARIO                             of the Commonwealth of
    SAN JUAN, PR 00920-2723                                                                                    PLAINTIFF GROUP);                         Puerto Rico
                                                                                                               IVONNE GONZALEZ
                                                                                                               MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 250 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 252 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
284 GONZALEZ CRUZ,                 06/26/18    17 BK 03283-LTS /             106560              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JUDITH M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. VISTAS DE                             Rico                                                            PLANTIFFS)                                   System of the Government
    LUQUILLO II                                                                                                (COLLECTIVELY THE                            of the Commonwealth of
    717 CALLE CUARZO                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
    LUQUILLO, PR 00773                                                                                         PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 251 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 253 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
285 GONZALEZ CRUZ,                 05/24/18    17 BK 03283-LTS /              33632                     $ 628.98 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MANUEL                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 252 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 254 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
286 GONZALEZ DE JESUS,            06/06/18    17 BK 03283-LTS /             65979                   $ 500.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ENID                                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC 1 BOX 2625                             Rico                                                            PLAINTIFFS)                                Rico
    ARECIBO, PR 00616                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
287 GONZALEZ FIGUEROA,            05/10/18    17 BK 03283-LTS /             14197              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    FERNANDO                                  Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    HC 1 BOX 6168                             Rico                                                           LCDO. GILBERTO                              Rico
    GUAYANILLA, PR 00656-                                                                                    RODRIGUEZ ZAYAS;
    9445                                                                                                     HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 253 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 255 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
288 GONZALEZ FIGUEROA,            05/10/18    17 BK 03566-LTS /              14267              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
    FERNANDO                                  Employees Retirement                                            ALFREDO A, ET ALS                           Commonwealth of Puerto
    HC 1 BOX 6168                             System of the Government                                        LCDO. GILBERTO                              Rico
    GUAYANILLA, PR 00656                      of the Commonwealth of                                          RODRIGUEZ ZAYAS;
                                              Puerto Rico                                                     HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
289 GONZALEZ FONTANEZ,            06/12/18    17 BK 03283-LTS /              63201                 $ 35,000.00 VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MARIBEL                                   Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    JOSEFINA PANTOJA                          Rico                                                             (805), TPI SAN JUAN                        Rico
    OQUENDO, ABOG.                                                                                             GEORGETTI 78
    PO BOX 21370                                                                                               SAN JUAN, PR 00925
    SAN JUAN, PR 00928-1370

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.
290 GONZALEZ FONTANEZ,            06/12/18    17 BK 03283-LTS /              63724                $ 45,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MARIBEL                                   Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    PANTOJA OQUENDO,                          Rico                                                             (805), TPI SAN JUAN                        Rico
    JOSEFINA                                                                                                   GEORGETTI 78
    PO BOX 21370                                                                                               SAN JUAN, PR 00925
    SAN JUAN, PR 00928

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 254 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 256 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
291 GONZALEZ GARCIA,             06/29/18    17 BK 03283-LTS /             147046             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUCRECIA                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. JARDINES DE                         Rico                                                           PLAINTIFFS)                                 Rico
    ARROYO                                                                                                  COLLECTIVELY (THE
    A 6 CALLE X                                                                                             BELTRAN CINTRON
    ARROYO, PR 00714                                                                                        PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 255 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 257 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
292 GONZALEZ GONZALEZ,            06/29/18    17 BK 03566-LTS /             163454              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DIGNORA                                   Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    RR#1 BUZON 35CC                           System of the Government                                        PLANTIFFS)                                   System of the Government
    CAROLINA, PR 00979                        of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                              Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 256 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 258 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
293 GONZALEZ                       06/07/18    17 BK 03566-LTS /              52589              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MALDONADO,                                 Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    MIGDALIA                                   System of the Government                                        PLANTIFFS)                                   System of the Government
    BO RIO CANAS ARRIBA                        of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    CALLE 1 # 119                              Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    JUANA DIAZ, PR 00795                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 257 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 259 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
294 GONZALEZ MERCADO,            06/26/18    17 BK 03283-LTS /             71688              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OMAR                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB ROLLING HILLS                        Rico                                                           PLAINTIFFS)                                 Rico
    S 368 CALLE                                                                                             COLLECTIVELY (THE
    TEGUCIGALPA                                                                                             BELTRAN CINTRON
    CAROLINA, PR 00987                                                                                      PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 258 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 260 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
295 GONZALEZ MERCADO,            06/26/18    17 BK 03283-LTS /             98315              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OMAYRA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB COUNTRY CLUB                         Rico                                                           PLAINTIFFS)                                 Rico
    JC 20 C 230                                                                                             COLLECTIVELY (THE
    CAROLINA, PR 00982                                                                                      BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 259 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 261 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
296 GONZALEZ ORTIZ,              04/09/18    17 BK 03283-LTS /              5389                  $ 1,224.00 JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ANGEL M                                  Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    BO HELECHAL                              Rico                                                            PLAINTIFFS)                               System of the Government
    HC 03 BOX 8911                                                                                           COLLECTIVELY (THE                         of the Commonwealth of
    BARRANQUITAS, PR                                                                                         "ABRAMS-DIAZ                              Puerto Rico
    00794                                                                                                    PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 260 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 262 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
297 GONZALEZ PIZARRO,              05/25/18    17 BK 03283-LTS /              23816                  $ 15,517.20 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIA M.                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 261 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 263 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
298 GONZALEZ RAMOS,                06/29/18    17 BK 03283-LTS /              56373              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    GUILLERMO                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 2758                                Rico                                                            COLLECTIVELLY (THE                           System of the Government
    RIO GRANDE, PR 00745-                                                                                      "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    2758                                                                                                       PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 262 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 264 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
299 GONZALEZ RAMOS,                05/24/18    17 BK 03283-LTS /              17014                     $ 832.05 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LEYNE                                      Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 263 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 265 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
300 GONZALEZ REYES,                06/29/18    17 BK 03283-LTS /              90510                  $ 5,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IRMA I.                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    URB. LOMA ALTA                             Rico                                                              PLANTIFFS)                                 System of the Government
    CALLE 1 E-Z                                                                                                  (COLLECTIVELY THE                          of the Commonwealth of
    CAROLINA, PR 00987                                                                                           "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 264 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 266 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
301 GONZALEZ RIOS,                06/28/18    17 BK 03283-LTS /             75583                    $ 110.62 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    RAMON A.                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
302 GONZALEZ RIOS,                11/04/19    17 BK 03283-LTS /             172132               $ 15,000.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    WILFREDO                                  Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    BOX 651                                   Rico                                                            LCDO. GILBERTO                             Rico
    VEGA ALTA, PR 00692                                                                                       RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 265 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 267 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
303 GONZÁLEZ RIVERA,               06/28/18    17 BK 03283-LTS /              57704              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NESTOR J.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB VILLA ROSALES                          Rico                                                            PLANTIFFS)                                   System of the Government
    CALLE 1 # C20                                                                                              (COLLECTIVELY THE                            of the Commonwealth of
    AIBONITO, PR 00705                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 266 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 268 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
304 GONZALEZ RODRIGUEZ,           07/05/18    17 BK 03566-LTS /             156607               $ 25,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN D                                  Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    COND CAGUAS TOWER                         System of the Government                                        PLAINTIFFS)                                Rico
    40 COND CAGUAS                            of the Commonwealth of                                          COLLECTIVELY (THE
    TOWER APT 406                             Puerto Rico                                                     BELTRAN CINTRON
    CAGUAS, PR 00725-5601                                                                                     PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 267 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 269 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
305 GONZALEZ TORRES,              06/28/18    17 BK 03566-LTS /             122696               $ 75,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LISSETTE                                  Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 8230                               System of the Government                                        PLAINTIFFS)                                Rico
    PONCE, PR 00732-8230                      of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 268 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 270 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
306 GORDIAN, YOLANDA              06/22/18    17 BK 03567-LTS / Puerto       87996                $ 30,000.00* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /            104127^             $ 6,829,644.40*
    GUZMAN                                    Rico Highways and                                                DIAZ ET AL (1084                           Employees Retirement
    71 EXT MARIO BRASCHI                      Transportation Authority                                         PLAINTIFFS)                                System of the Government
    JUANA DIAZ, PR 00795                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                               "ABRAMS-DIAZ                               Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2005-5021
                                                                                                               ABRAMS-DIAZ
                                                                                                               PLAINTIFF GROUP (1,084
                                                                                                                PLAINTIFFS) LCDA
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               JEANETTE ABRAHAM               06/14/18    17 BK 03283-LTS /             50221            $ 43,400,081.58*
                                                                                                               DIAZ ET AL (1,084                          Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ABRAHAM DIAZ
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2005-5021
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
307 GUELEN, KEYLA M.              05/30/18    17 BK 03283-LTS /              42528                 $ 8,175.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    LCDA. AMELIA M.                           Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    CINTRON VELAZQUEZ                         Rico                                                             (805), TPI SAN JUAN                        Rico
    URB. SAN ANTONIO 1939                                                                                      GEORGETTI 78
    AVE. LAS AMÉRICAS                                                                                          SAN JUAN, PR 00925
    PONCE, PR 00728-1815

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 269 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 271 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
308 GUILLAMA ORAMA,                06/05/18    17 BK 03283-LTS /              46964              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN I                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 543                                 Rico                                                            PLANTIFFS)                                   System of the Government
    HATILLO, PR 00659                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 270 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 272 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
309 GUTIÉRREZ MATOS,               05/25/18    17 BK 03283-LTS /              18098              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    YASMIN                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE MORALES                              Rico                                                            PLANTIFFS)                                   System of the Government
    #85 - A PDA. 20                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    SANTURCE, PR 00909                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 271 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 273 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
310 GUTIERREZ                     06/18/18    17 BK 03283-LTS /             88105              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MONTALVO,                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    MARGARITA                                 Rico                                                           PLAINTIFFS)                                 Rico
    3330 ANTONIA SAEZ                                                                                        COLLECTIVELY (THE
    URB. LAS DELICIAS                                                                                        BELTRAN CINTRON
    PONCE, PR 00728                                                                                          PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 272 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 274 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
311 GUZMAN LOPEZ, JORGE          06/29/18    17 BK 03283-LTS /             148277                $ 48,799.73* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    L                                        Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    HC 1 BOX 13153                           Rico                                                             PLAINTIFFS)                                System of the Government
    COMERIO, PR 00782                                                                                         COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                              "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 273 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 275 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
312 HERNANDEZ CABAN,              06/06/18    17 BK 03566-LTS /             60868              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LETICIA                                   Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 725                                System of the Government                                       PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00605                       of the Commonwealth of                                         COLLECTIVELY (THE
                                              Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
313 HERNANDEZ COSME,              09/27/19    17 BK 03283-LTS /             171186             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    JOSE A.                                   Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    HC 2 BOX 9056                             Rico                                                           LCDO. GILBERTO                              Rico
    GUAYANILLA, PR 00656                                                                                     RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 274 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 276 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
314 HERNANDEZ DE JESUS,           06/21/18    17 BK 03283-LTS /              76344                  $ 46,080.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARISOL                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    502 VALLE DE ENSUENO                      Rico                                                              PLANTIFFS)                                 System of the Government
    VALLE VERDE                                                                                                 (COLLECTIVELY THE                          of the Commonwealth of
    GURABO, PR 00778                                                                                            "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 275 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 277 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
315 HERNANDEZ DE JESUS,           06/21/18    17 BK 03283-LTS /              76345              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARISOL                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URBANIZACION VALLE                        Rico                                                            PLANTIFFS)                                   System of the Government
    DE ENSUENO                                                                                                (COLLECTIVELY THE                            of the Commonwealth of
    502 VALLE VERDE                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
    GURABO, PR 00778                                                                                          PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 276 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 278 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
316 HERNANDEZ DE JESUS,           06/21/18    17 BK 03566-LTS /              63395              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARISOL                                   Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    URB VALLE DE                              System of the Government                                        PLANTIFFS)                                   System of the Government
    ENSUENO                                   of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    502 VALLE VERDE                           Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    GURABO, PR 00778                                                                                          PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 277 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 279 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
317 HERNANDEZ                     05/24/18    17 BK 03566-LTS /             31067^                  $ 26,824.75 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    GONZALEZ , ZAIDA                          Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    505 CALLE BALEARES                        System of the Government                                          PLANTIFFS)                                 System of the Government
    PUERTO NUEVO                              of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00920                        Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #31067 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 278 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 280 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
318 HERNANDEZ HERRERA,            08/11/20    17 BK 03283-LTS /             174846                 $ 100,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ANTONIA                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    513 CALLE L NUEVA                         Rico                                                              PLANTIFFS)                                 System of the Government
    VIDA EL TUQUE                                                                                               (COLLECTIVELY THE                          of the Commonwealth of
    PONCE, PR 00728                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 279 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 281 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
319 HERNANDEZ ORTIZ,              05/07/18    17 BK 03283-LTS /             10368                    $ 200.07 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ELBA N                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
320 HERNANDEZ PERALES,            05/22/18    17 BK 03283-LTS /             28109               $ 141,697.97* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    ANGEL                                     Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    URB LA HACFENDA                           Rico                                                            LCDO. GILBERTO                             Rico
    CALLE 42 AJ - 14                                                                                          RODRIGUEZ ZAYAS;
    GUAYAMA, PR 00784                                                                                         HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 280 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 282 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
321 HERNANDEZ RESTO,              06/20/18    17 BK 03283-LTS /              45001                 $ 18,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HIRAM                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    HC-61 BOX 4438                            Rico                                                              PLANTIFFS)                                 System of the Government
    TRUJILLO ALTO, PR                                                                                           (COLLECTIVELY THE                          of the Commonwealth of
    00976                                                                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 281 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 283 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
322 HERNANDEZ RIVERA,            06/29/18    17 BK 03283-LTS /              78555                $ 75,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    MARCELINO                                Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    URB. BELLA VISTA                         Rico                                                             PLAINTIFFS)                                System of the Government
    G-46 CALLE 10A                                                                                            COLLECTIVELY (THE                          of the Commonwealth of
    BAYAMON, PR 00957                                                                                         "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 282 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 284 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
323 HERNANDEZ ROSADO,             05/14/18    17 BK 03283-LTS /              14843              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    SECUNDINO                                 Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    2 CALLE BRISAS DEL                        Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MAR                                                                                                       "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    AGUADA, PR 00602                                                                                          PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 283 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 285 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
324 HERNANDEZ TORRES,             06/28/18    17 BK 03283-LTS /              59741              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ISABEL                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. LIRIOS                               Rico                                                            PLANTIFFS)                                   System of the Government
    108 CALLE ALELI                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    JUNCOS, PR 00777                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
325 HERNANDEZ VELEZ,              07/05/18    17 BK 03566-LTS /             155410              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    ALEJANDRO                                 Employees Retirement                                            ALFREDO A, ET ALS                            Commonwealth of Puerto
    HC 4 BOX 11619                            System of the Government                                        LCDO. GILBERTO                               Rico
    YAUCO, PR 00698                           of the Commonwealth of                                          RODRIGUEZ ZAYAS;
                                              Puerto Rico                                                     HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 284 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 286 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
326 HERNANDEZ, RUBEN              06/30/18   17 BK 03283-LTS /              68711              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    P.O BOX 3637                             Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    AGUADILLA, PR 00605-                     Rico                                                            LCDO. GILBERTO                             Rico
    3854                                                                                                     RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 285 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 287 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
327 HERNANDEZ-NIEVES,            06/15/18    17 BK 03283-LTS /             83038              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SOLIMAR                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    3 RAFAEL MAYMI                           Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS, PR 00725                                                                                        COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 286 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 288 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
328 HIDALGO SOTO,                07/13/18    17 BK 03283-LTS /             150984               $ 10,560.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JUANITO                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    CARR 441 BO NARANJO                      Rico                                                            PLAINTIFFS)                                Rico
    SECTOR SEGUI                                                                                             COLLECTIVELY (THE
    HC-01 BOX 6530-1                                                                                         BELTRAN CINTRON
    MOCA, PR 00676                                                                                           PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 287 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 289 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
329 HILERIO HERNANDEZ,            06/13/18    17 BK 03283-LTS /             64302^               $ 15,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUZ                                       Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC 6 BOX 66106                            Rico                                                            PLAINTIFFS)                                Rico
    AGUADILLA, PR 00603                                                                                       COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #64302 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 288 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 290 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
330 HILERIO HERNANDEZ,            06/13/18    17 BK 03566-LTS /             64064^               $ 45,520.67* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUZ                                       Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    HC 6 BOX 66106                            System of the Government                                        PLAINTIFFS)                                Rico
    AGUADILLA, PR 00603                       of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #64064 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 289 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 291 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
331 HILERIO HERNANDEZ,            06/13/18    17 BK 03283-LTS /              64284              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    LUZ I.                                    Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    HC 06 BOX 66106                           Rico                                                            PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                       COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
332 HORTA NIEVES, DANIEL          06/29/18    17 BK 03566-LTS /             135681              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    CARR 172 RAMAL 7775                       Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    PO BOX 9721                               System of the Government                                        PO BOX 8700                                 Rico
    CIDRA, PR 00739                           of the Commonwealth of                                          PMB120
                                              Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 290 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 292 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
333 HUERTAS MOJICA,                05/26/18    17 BK 03283-LTS /              23810              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    SAMUEL                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    RR 7 BOX 16667                             Rico                                                            PLANTIFFS)                                   System of the Government
    TOA ALTA, PR 00953                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
334 HUERTAS RIOS, LINDA I          05/21/18    17 BK 03283-LTS /              17746              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    CALLE 21 V-1125                            Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    ALTURAS DE RIO                             Rico                                                            PO BOX 8700                                  Rico
    GRANDE                                                                                                     PMB120
    RIO GRANDE, PR 00745                                                                                       CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 291 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 293 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
335 IGLESIAS DE JESUS,            06/05/18    17 BK 03283-LTS /              46577                $ 180,000.00 JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ELIZABETH                                 Commonwealth of Puerto                                           DIAZ ET AL (1084                           Employees Retirement
    URB VILLAS DE LOIZA                       Rico                                                             PLAINTIFFS)                                System of the Government
    R 31 CALLE 19                                                                                              COLLECTIVELY (THE                          of the Commonwealth of
    CANOVANAS, PR 00729                                                                                        "ABRAMS-DIAZ                               Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2005-5021
                                                                                                               ABRAMS-DIAZ
                                                                                                               PLAINTIFF GROUP (1,084
                                                                                                                PLAINTIFFS) LCDA
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                                DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                               Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM DIAZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2005-5021
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
336 ILARRAZA CRUZ,                06/15/18    17 BK 03566-LTS /              87888              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    WANDA I.                                  Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    BOX 6071                                  System of the Government                                        PO BOX 8700                                 Rico
    CAGUAS, PR 00725                          of the Commonwealth of                                          PMB120
                                              Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.



               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 292 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 294 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
337 INOSTROZA ARROYO,            05/29/18    17 BK 03283-LTS /             32244              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA P                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB VISTA HERMOSA J                      Rico                                                           PLAINTIFFS)                                 Rico
    17 CALLE 8                                                                                              COLLECTIVELY (THE
    HUMACAO, PR 00791                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 293 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 295 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
338 IRIZARRY CACERES,              04/17/18    17 BK 03566-LTS /              7660^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    SONIA M                                    Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE YAUREL 3025                          System of the Government                                        PLANTIFFS)                                   System of the Government
    EXT MONTE SOL                              of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    CABO ROJO, PR 00623                        Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #7660 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 294 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 296 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
339 IRIZARRY CACERES,              05/22/18    17 BK 03283-LTS /              23658              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    SONIA N                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    EXT MONTE SOL                              Rico                                                            PLANTIFFS)                                   System of the Government
    3025 CALLE YAUREL                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    CABO ROJO, PR 00623                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 295 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 297 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
340 IRIZARRY PEREZ,               07/02/18    17 BK 03283-LTS /             109995              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    GERARDO                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 7 BOX 21346                            Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MAYAGUEZ, PR 00680                                                                                        "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 296 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 298 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
341 IRIZARRY SOTO, EVA           06/29/18    17 BK 03283-LTS /             150441               $ 65,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    URB CONSTANCIA 2905                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    CALLE VANNINA                            Rico                                                            PLAINTIFFS)                                Rico
    P.O. BOX 7840                                                                                            COLLECTIVELY (THE
    PONCE, PR 00717                                                                                          BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 297 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 299 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
342 IRIZARRY TORRES,              05/25/18    17 BK 03283-LTS /              22810                 $ 28,939.12* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NANCY                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    CALLE 39 A-15                             Rico                                                              PLANTIFFS)                                 System of the Government
    URBANIZACION SANTA                                                                                          (COLLECTIVELY THE                          of the Commonwealth of
    JUANITA                                                                                                     "ACEVEDO CAMACHO                           Puerto Rico
    BAYAMON, PR 00956                                                                                           PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 298 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 300 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
343 JIMENEZ RIVERA,               05/21/18    17 BK 03567-LTS / Puerto      27779              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    IRENES                                    Rico Highways and                                              DIAZ ET AL (1084                           Employees Retirement
    BO ESPINAL BZN 152                        Transportation Authority                                       PLAINTIFFS)                                System of the Government
    CALLE A                                                                                                  COLLECTIVELY (THE                          of the Commonwealth of
    AGUADA, PR 00602                                                                                         "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 299 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 301 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
344 JUSINO MORALES,               05/04/18    17 BK 03283-LTS /             10512              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    NOREEN                                    Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    2DA EXT EL VALLE                          Rico                                                           PLAINTIFFS)                                System of the Government
    530 CALLE GIRASOL                                                                                        COLLECTIVELY (THE                          of the Commonwealth of
    LAJAS, PR 00662                                                                                          "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 300 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 302 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
345 JUSINO RIVERA, MARI           07/06/18    17 BK 03283-LTS /             149322             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OLGA                                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. ESTANCIES DEL                        Rico                                                           PLAINTIFFS)                                 Rico
    RIO GIRASOL                                                                                              COLLECTIVELY (THE
    SABONA GRANDE, PR                                                                                        BELTRAN CINTRON
    00673-7164                                                                                               PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 301 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 303 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
346 JUSINO VAZQUEZ,              05/30/18    17 BK 03283-LTS /             38596              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    HAYDEE                                   Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    URB VALLE HERMOSO                        Rico                                                           PLAINTIFFS)                                System of the Government
    SU 21 CALLE BUCARE                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
    HORMIGUEROS, PR                                                                                         "ABRAMS-DIAZ                               Puerto Rico
    00660                                                                                                   PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 302 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 304 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
347 KARMAN, AIDA E                05/25/18    17 BK 03283-LTS /              19386              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    COND. GARDEN HILLS                        Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    TOWER                                     Rico                                                            PLANTIFFS)                                   System of the Government
    15 CALLE MIRAMONTE                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    APTO. 402                                                                                                 "ACEVEDO CAMACHO                             Puerto Rico
    GUAYNABO, PR 00966-                                                                                       PLANTIFF GROUP");
    2030                                                                                                      CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 303 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 305 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
348 KARMAN, AIDA E                05/25/18    17 BK 03283-LTS /              19818              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    COND. GARDEN HILLS                        Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    TOWER                                     Rico                                                            PLANTIFFS)                                   System of the Government
    15 CALLE MIRAMONTE                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    APTO. 402                                                                                                 "ACEVEDO CAMACHO                             Puerto Rico
    GUAYNABO, PR 00966-                                                                                       PLANTIFF GROUP");
    2030                                                                                                      CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 304 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 306 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
349 LABOY RIVERA, LUZ N           05/21/18    17 BK 03283-LTS /              17639              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB MENDEZ                                Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    A10 CALLE PRINCIPAL                       Rico                                                            PLANTIFFS)                                   System of the Government
    YABUCOA, PR 00767                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
350 LABOY TORRES, JOUINO          09/19/19    17 BK 03283-LTS /             171023              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    APARTADO 718                              Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    VILLALBA, PR 00766                        Rico                                                            LCDO. GILBERTO                               Rico
                                                                                                              RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 305 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 307 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
351 LAMBOY SANTIAGO,              03/26/18    17 BK 03567-LTS / Puerto       4309              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    EMILIA                                    Rico Highways and                                              DIAZ ET AL (1084                           Employees Retirement
    HC 83 BOX 6920                            Transportation Authority                                       PLAINTIFFS)                                System of the Government
    VEGA ALTA, PR 00692-                                                                                     COLLECTIVELY (THE                          of the Commonwealth of
    9200                                                                                                     "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 306 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 308 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
352 LANTIGUA GARCIA,              06/22/18    17 BK 03283-LTS /             85611^               $ 336,600.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VIVIANA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    DR. QUEVEDO BAEZ                          Rico                                                            PLAINTIFFS)                                Rico
    BT 21 5TA SECCION                                                                                         COLLECTIVELY (THE
    LEVITTOWN                                                                                                 BELTRAN CINTRON
    TOA BAJA, PR 00949                                                                                        PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #85611 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 307 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 309 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
353 LAZU-COLON, ALBERTO           06/28/18    17 BK 03283-LTS /              61354              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB TOA ALTA                              Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HEIGHTS AN29 CALLE                        Rico                                                            PLANTIFFS)                                   System of the Government
    33                                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    TOA ALTA, PR 00953                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 308 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 310 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
354 LEBRON REYES, JOSE L         05/30/18    17 BK 03283-LTS /             41133              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    BO CAMINO NUEVO                          Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    APTO 339                                 Rico                                                           PLAINTIFFS)                                System of the Government
    YABUCOA, PR 00767                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 309 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 311 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
355 LEON QUINONES ,               05/30/18    17 BK 03283-LTS /             58125              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NANCY                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 800 176                            Rico                                                           PLAINTIFFS)                                 Rico
    COTO LAUREL, PR 00780                                                                                    COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 310 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 312 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
356 LEON QUINONES,                06/29/18    17 BK 03566-LTS /            145225^                $ 75,000.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NANCY                                     Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    P.O. BOX 800176                           System of the Government                                        PLAINTIFFS)                                Rico
    COTO LAUREL, PR 00780                     of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #145225 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 311 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 313 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
357 LEON VEGA, LYDIA E.            06/29/18    17 BK 03283-LTS /             147533              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    B - 2 CALLE 8                              Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. JARDINES                              Rico                                                            PLANTIFFS)                                   System of the Government
    SANTA ISABEL, PR 00757                                                                                     (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 312 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 314 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
358 LIMERY DONES,                  05/24/18    17 BK 03283-LTS /             28721^               $ 316,800.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ABRAHAM                                    Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    URB LEVITTOWN                              Rico                                                             PLANTIFFS)                                  System of the Government
    U20 CALLE LEILA                                                                                             (COLLECTIVELY THE                           of the Commonwealth of
    TOA BAJA, PR 00949                                                                                          "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #28721 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 313 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 315 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
359 LIMERY DONES,                  05/24/18    17 BK 03566-LTS /             25267^               $ 122,319.72* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ABRAHAM                                    Employees Retirement                                             CAMACHO ET AL. (2,818                       Employees Retirement
    C/ LEILA U-20                              System of the Government                                         PLANTIFFS)                                  System of the Government
    URB. LEVITOWN                              of the Commonwealth of                                           (COLLECTIVELY THE                           of the Commonwealth of
    TOA BAJA, PR 00949                         Puerto Rico                                                      "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #25267 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #25267 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 314 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 316 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
360 LIMERY DONES,                  05/23/18    17 BK 03283-LTS /              15110              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARITZA                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HB-13 CALLE ELIZA                          Rico                                                            PLANTIFFS)                                   System of the Government
    TABAREZ                                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
    7MA SECCION,                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
    LEVITTOWN                                                                                                  PLANTIFF GROUP");
    TOA BAJA, PR 00949                                                                                         CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 315 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 317 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
361 LLANOS ROSARIO, LUZ            05/24/18    17 BK 03283-LTS /              21161                    $ 186.85* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    D                                          Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 316 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 318 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
362 LLAVET DUCHESNE,             05/21/18    17 BK 03566-LTS /             13226              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NEREIDA                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    C/BARCELONA G-171                        System of the Government                                       PLAINTIFFS)                                 Rico
    EXT.FOREST HILL                          of the Commonwealth of                                         COLLECTIVELY (THE
    BAYAMON, PR 00959                        Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 317 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 319 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
363 LOPERENA ORTIZ,               05/30/18    17 BK 03283-LTS /              37960              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    NANNETTE                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 318                                Rico                                                            COLLECTIVELLY (THE                           System of the Government
    LAJAS, PR 00667                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 318 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 320 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
364 LOPEZ ALVAREZ ,               05/11/18    17 BK 03283-LTS /             14676              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NOEMI                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    18 AVE LOS ROBLES                         Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 319 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 321 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
365 LÓPEZ DELGADO, ANA            05/29/18    17 BK 03283-LTS /              23215                $ 35,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    M                                         Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    HC 5 BOX 91500                            Rico                                                             PLAINTIFFS)                                System of the Government
    ARECIBO, PR 00612-9516                                                                                     COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                               "ACEVEDO AROCHO                            Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
366 LOPEZ GONZALEZ,               05/25/18    17 BK 03283-LTS /              33758              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
    ISMAEL                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                           Commonwealth of Puerto
    HC 01 BOX 4302                            Rico                                                            LCDO. GILBERTO                              Rico
    ADJUNTAS, PR 00601                                                                                        RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.



               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 320 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 322 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
367 LOPEZ GONZALEZ, SOL          05/08/18    17 BK 03283-LTS /             12495              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    E                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB ESTANCIAS DEL                        Rico                                                           PLAINTIFFS)                                 Rico
    RIO                                                                                                     COLLECTIVELY (THE
    549 CALLE PORTUGUES                                                                                     BELTRAN CINTRON
    HORMIGUEROS, PR                                                                                         PLAINTIFF GROUP")...
    00660                                                                                                   ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 321 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 323 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
368 LOPEZ GUZMAN,                  05/30/18    17 BK 03283-LTS /              34594              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ROSAURA                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-02 BOX 6141                             Rico                                                            PLANTIFFS)                                   System of the Government
    FLORIDA, PR 00650                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 322 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 324 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
369 LOPEZ MENDEZ, JOSE L         11/24/19    17 BK 03283-LTS /             171927               $ 80,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC-4 BOX 16028                           Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    MOCA, PR 00676                           Rico                                                            PLAINTIFFS)                                Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 323 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 325 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
370 LOPEZ MORALES, EDNA          05/23/18    17 BK 03283-LTS /             19015              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    C.                                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 346                               Rico                                                           PLAINTIFFS)                                 Rico
    YABUCOA, PR 00767                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 324 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 326 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
371 LOPEZ MORALES, EDNA          05/23/18    17 BK 03283-LTS /             18130              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    C                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 346                               Rico                                                           PLAINTIFFS)                                 Rico
    YABUCOA, PR 00767                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 325 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 327 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
372 LOPEZ REYES, MARIA             05/24/18    17 BK 03283-LTS /              21546                     $ 651.38 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DE LOS A.                                  Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 326 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 328 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
373 LOPEZ RONDON,                 06/29/18    17 BK 03283-LTS /             147324               $ 691,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARTA I.                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    MARTA I. LOPEZ RONDO                      Rico                                                            PLAINTIFFS)                                Rico
    C/DELBREY #264, PDA.                                                                                      COLLECTIVELY (THE
    25, SANTURCE                                                                                              BELTRAN CINTRON
    SAN JUAN, PR 00912                                                                                        PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
374 LOPEZ SANTANA,                05/16/18    17 BK 03283-LTS /             37025              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    LUDICINIO                                 Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    H.C. 1 BOX 9442                           Rico                                                           LCDO. GILBERTO                              Rico
    GUAYANILLA, PR 00656-                                                                                    RODRIGUEZ ZAYAS;
    9417                                                                                                     HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 327 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 329 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
375 LOPEZ VALENTIN, JOSE          06/08/20    17 BK 03283-LTS /            178186              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    R                                         Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    URB MONTE OLIVO                           Rico                                                           PLAINTIFFS)                                System of the Government
    347 CALLE POSEIDON                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
    GUAYAMA, PR 00784                                                                                        "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 328 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 330 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
376 LOPEZ, ARTURO LOPEZ          06/28/18    17 BK 03567-LTS / Puerto      140693             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 533                               Rico Highways and                                              ET ALL (4,493                               Commonwealth of Puerto
    ADJUNTAS, PR 00601                       Transportation Authority                                       PLAINTIFFS)                                 Rico
                                                                                                            COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 329 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 331 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
377 LORENZI MELENDEZ,              06/05/18    17 BK 03283-LTS /              46266              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DAMARIS                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB VILLA RETIRO SUR                       Rico                                                            PLANTIFFS)                                   System of the Government
    P5                                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
    SANTA ISABEL, PR 00757                                                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 330 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 332 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
378 LORENZI RODRIGUEZ,            05/15/18    17 BK 03566-LTS /             23870^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DIANA Y                                   Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    109 CALLE SEGUNDO                         System of the Government                                        PLANTIFFS)                                   System of the Government
    BERNIER                                   of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    COAMO, PR 00769                           Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #23870 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 331 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 333 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
379 LOZADA DIAZ, AURELIA         05/29/18    17 BK 03283-LTS /             28213              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    A 1 URB VEREDA DEL                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    RIO                                      Rico                                                           PLAINTIFFS)                                 Rico
    BAYAMON, PR 00959                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 332 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 334 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
380 LOZADA DIAZ, AURELIA         05/29/18    17 BK 03283-LTS /             31963              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VEREDA DEL RIO                           Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    1 CALLE A                                Rico                                                           PLAINTIFFS)                                 Rico
    BAYAMON, PR 00959-                                                                                      COLLECTIVELY (THE
    8904                                                                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 333 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 335 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
381 LOZADA FERNANDEZ,              06/11/18    17 BK 03283-LTS /             87873^                 $ 432,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    EVELYN                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    BO. SANTA ROSA I                           Rico                                                              PLANTIFFS)                                 System of the Government
    HC 06 BOX 6894                                                                                               (COLLECTIVELY THE                          of the Commonwealth of
    GUAYNABO, PR 00971-                                                                                          "ACEVEDO CAMACHO                           Puerto Rico
    9571                                                                                                         PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #87873 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 334 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 336 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
382 LOZADA, NELLIE                07/02/20    17 BK 03283-LTS /             174236                 $ 9,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    MONROIG                                   Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    RAMIREZ DE                                Rico                                                             PLAINTIFFS)                                System of the Government
    ARELLANO 5-1                                                                                               COLLECTIVELY (THE                          of the Commonwealth of
    TORRIMAR                                                                                                   "ACEVEDO AROCHO                            Puerto Rico
    GUAYNABO, PR 00966                                                                                         PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
383 LUGO CRUZ, HECTOR             06/29/18    17 BK 03283-LTS /             156907               $ 150,670.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
    HC 2 BOX 7426                             Commonwealth of Puerto                                           ALFREDO A, ET ALS                          Commonwealth of Puerto
    PENUELAS, PR 00624-                       Rico                                                             LCDO. GILBERTO                             Rico
    9865                                                                                                       RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.



               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 335 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 337 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
384 LUGO LOPEZ, TANIA             07/06/18    17 BK 03283-LTS /             159448              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    BO. BATEYES                               Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    CARR. 106 KM. 7.0                         Rico                                                            COLLECTIVELLY (THE                           System of the Government
    HC4 BOX 46063                                                                                             "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 336 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 338 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
385 LUGO SABATER, ANA E.         06/27/18    17 BK 03283-LTS /             104361             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    2716 CALLE CHELIN                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. PROVIDENCIA                         Rico                                                           PLAINTIFFS)                                 Rico
    PONCE, PR 00728-3148                                                                                    COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 337 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
386 LUGO SABATER, ANA E.         06/27/18    17 BK 03283-LTS /             106721             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    2716 CALLE CHELIN                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. LA PROVIDENCIA                      Rico                                                           PLAINTIFFS)                                 Rico
    PONCE, PR 00728-3148                                                                                    COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 338 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 340 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
387 LUGO SEGARRA,                 05/09/18    17 BK 03283-LTS /             12613              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BRENDA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB MAYAGUEZ                              Rico                                                           PLAINTIFFS)                                 Rico
    TERRACE                                                                                                  COLLECTIVELY (THE
    7086 B GAUDIER                                                                                           BELTRAN CINTRON
    TEXIDOR                                                                                                  PLAINTIFF GROUP")...
    MAYAGUEZ, PR 00682-                                                                                      ATTN: IVONNE
    6616                                                                                                     GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 339 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 341 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
388 LUNA RIOS, ANA L              06/05/20    17 BK 03283-LTS /             174092             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 1983                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CIDRA, PR 00739                           Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 340 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 342 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
389 MADERA DEL VALLE,            06/08/18    17 BK 03283-LTS /             33793              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CESAR                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 162                               Rico                                                           PLAINTIFFS)                                 Rico
    HORMIGUEROS, PR                                                                                         COLLECTIVELY (THE
    00660                                                                                                   BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 341 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 343 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
390 MADERA DEL VALLE,            06/05/18    17 BK 03566-LTS /             32329              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CESAR F.                                 Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    PO BOX162                                System of the Government                                       PLAINTIFFS)                                 Rico
    HORMIGUEROS, PR                          of the Commonwealth of                                         COLLECTIVELY (THE
    00660                                    Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 342 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 344 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
391 MAISONET                     05/15/18    17 BK 03283-LTS /             15467                $ 150,420.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CONCEPCION, HECTOR                       Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 591                               Rico                                                            PLAINTIFFS)                                Rico
    FLORIDAD, PR 00650                                                                                       COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 343 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 345 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
392 MAISONET ORTIZ,                05/16/18    17 BK 03283-LTS /              15770              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MIGDALIA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 2645                                Rico                                                            PLANTIFFS)                                   System of the Government
    JUNCOS, PR 00777                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 344 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 346 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
393 MALDONADO                      06/27/18    17 BK 03283-LTS /             118200              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CANALES, MELISSA                           Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 01 BOX 7583                             Rico                                                            PLANTIFFS)                                   System of the Government
    LUQUILLO, PR 00773-                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    9608                                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
394 MALDONADO                      06/28/18    17 BK 03283-LTS /              70726              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    GONZÁLEZ, RUBÉN                            Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    EMPLEADO DE                                Rico                                                            LCDO. GILBERTO                               Rico
    CORRECCIONAL                                                                                               RODRIGUEZ ZAYAS;
    HC03 BOX 14085                                                                                             HC 2 BOX 6519
    UTUADO, PR 00641                                                                                           GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 345 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 347 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
395 MALDONADO VELEZ,              05/25/18    17 BK 03283-LTS /             25076              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JULIA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-5 BOX 27452                            Rico                                                           PLAINTIFFS)                                 Rico
    VIVI ARRIBA                                                                                              COLLECTIVELY (THE
    UTUADO, PR 00641-8698                                                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 346 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 348 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
396 MARIN MARQUEZ,                 06/25/18    17 BK 03566-LTS /             87386^               $ 100,800.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CYNTHIA                                    Employees Retirement                                             CAMACHO ET AL. (2,818                       Employees Retirement
    BUENA VENTURA                              System of the Government                                         PLANTIFFS)                                  System of the Government
    BZN 179 CALLE DALIA                        of the Commonwealth of                                           (COLLECTIVELY THE                           of the Commonwealth of
    CAROLINA, PR 00987                         Puerto Rico                                                      "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #87386 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 347 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 349 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
397 MARQUEZ FIGUEROA,             05/24/18    17 BK 03283-LTS /              29901              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    YESENIA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. EXT. DIPLO                           Rico                                                            PLANTIFFS)                                   System of the Government
    CALLE 14 L9                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
    NAGUABO, PR 00718                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 348 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 350 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
398 MARQUEZ SOLIVERAS,           06/28/18    17 BK 03566-LTS /             73013              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SARA H.                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    URB LOS CERROS E9                        System of the Government                                       PLAINTIFFS)                                 Rico
    ADJUNTAS, PR 00601                       of the Commonwealth of                                         COLLECTIVELY (THE
                                             Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 349 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 351 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
399 MARRERO ORTIZ, LUZ           05/16/18    17 BK 03283-LTS /             16722              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    NEREIDA                                  Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
    BO DULCES LABIOS                         Rico                                                           COLLECTIVELY (THE                           System of the Government
    131 SIMON CARLO                                                                                         LOPEZ-ROSARIO                               of the Commonwealth of
    MAYAGUEZ, PR 00682                                                                                      PLAINTIFF GROUP);                           Puerto Rico
                                                                                                            IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 350 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 352 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
400 MARRERO SANTIAGO,             05/24/18    17 BK 03566-LTS /              36476                $ 46,624.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    WILLIAM                                   Employees Retirement                                             AROCHO ET AL (1,601                        Employees Retirement
    HC 03 BOX 15020                           System of the Government                                         PLAINTIFFS)                                System of the Government
    JUANA DIAZ, PR 00795                      of the Commonwealth of                                           COLLECTIVELY (THE                          of the Commonwealth of
                                              Puerto Rico                                                      "ACEVEDO AROCHO                            Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 351 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 353 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
401 MARRERO TORRES,               05/18/18    17 BK 03283-LTS /             46889              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUIS A                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HACIENDA LAS VEGAS                        Rico                                                           PLAINTIFFS)                                 Rico
    104 CALLE RUISENOR                                                                                       COLLECTIVELY (THE
    JUANA DIAZ, PR 00795-                                                                                    BELTRAN CINTRON
    7000                                                                                                     PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 352 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 354 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
402 MARRERO TORRES,               05/18/18    17 BK 03283-LTS /             35116                $ 25,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUIS A                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HACIENDA LAS VEGAS                        Rico                                                            PLAINTIFFS)                                Rico
    104 CALLE RUISENOR                                                                                        COLLECTIVELY (THE
    JUANA DIAZ, PR 00795-                                                                                     BELTRAN CINTRON
    7000                                                                                                      PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 353 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 355 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
403 MARRERO TORRES,               05/18/18    17 BK 03283-LTS /             36537              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LUIS A.                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    104 CALLE RUISENOR                        Rico                                                           PLAINTIFFS)                                 Rico
    HACIENDA LAS VEGAS                                                                                       COLLECTIVELY (THE
    JUANA DIAZ, PR 00795                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 354 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 356 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
404 MARRERO, ENID                  05/21/18    17 BK 03283-LTS /              18276              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    OCASIO                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 1464                                Rico                                                            PLANTIFFS)                                   System of the Government
    COROZAL, PR 00783                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 355 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 357 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
405 MARTELL RIVERA,               05/20/18    17 BK 03283-LTS /             13651                $ 50,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DAVID A                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HACIENDA REAL                             Rico                                                            PLAINTIFFS)                                Rico
    479 REINA DE LAS                                                                                          COLLECTIVELY (THE
    FLORES                                                                                                    BELTRAN CINTRON
    CAROLINA, PR 00987                                                                                        PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 356 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 358 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
406 MARTINEZ FELICIANO,            05/02/18    17 BK 03283-LTS /              10131              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MARISEL                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    BDA. NICOLIN PEREZ #5                      Rico                                                            COLLECTIVELLY (THE                           System of the Government
    CALLE BERNARDINO                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    FELICIANO                                                                                                  PLAINTIFF GROUP");                           Puerto Rico
    LAJAS, PR 00667                                                                                            CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 357 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 359 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
407 MARTINEZ MEDINA,              06/28/18    17 BK 03283-LTS /             159702             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA A.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. SANTA TERESITA                       Rico                                                           PLAINTIFFS)                                 Rico
    3429 CALLE SANTA                                                                                         COLLECTIVELY (THE
    ANASTACIA                                                                                                BELTRAN CINTRON
    PONCE, PR 00730-4606                                                                                     PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
408 MARTINEZ RIVERA,              06/19/18    17 BK 03283-LTS /             50108                $ 17,400.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    JOSE L.                                   Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    207 ST. 1                                 Rico                                                            LCDO. GILBERTO                             Rico
    PONCE, PR 00728                                                                                           RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 358 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 360 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
409 MARTINEZ RODRIGUEZ,            05/22/18    17 BK 03283-LTS /              15600                     $ 893.33 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 359 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 361 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
410 MARTINEZ SANTIAGO,            05/29/18    17 BK 03566-LTS /              28747                 $ 80,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NIVEA E                                   Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    RO-68 URB. RIOCHUELO                      System of the Government                                          PLANTIFFS)                                 System of the Government
    C/ PLAZA SUR                              of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    TRUJILLO ALTO, PR                         Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
    00976                                                                                                       PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 360 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 362 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
411 MARTINEZ SERRANO,             05/18/18    17 BK 03283-LTS /             36540              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 552                                Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 361 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 363 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
412 MARTINEZ SERRANO,             05/18/18    17 BK 03283-LTS /             38520              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA M.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 552                                Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 362 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 364 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
413 MARTY TROCHE,                 04/16/18    17 BK 03283-LTS /              7442              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    HIRAM L                                   Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    48 CALLE SALVADOR                         Rico                                                           PLAINTIFFS)                                System of the Government
    BRAU                                                                                                     COLLECTIVELY (THE                          of the Commonwealth of
    CABO ROJO, PR 00623                                                                                      "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 363 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 365 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
414 MARTY TROCHE, JAIME          04/16/18    17 BK 03283-LTS /              5248              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    E                                        Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    48 CALLE SALVADOR                        Rico                                                           PLAINTIFFS)                                System of the Government
    BRAU                                                                                                    COLLECTIVELY (THE                          of the Commonwealth of
    CABO ROJO, PR 00623-                                                                                    "ABRAMS-DIAZ                               Puerto Rico
    3458                                                                                                    PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 364 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 366 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
415 MATEO RIVERA,                  06/28/18    17 BK 03283-LTS /              78248              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    AWILDA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 1187                                Rico                                                            PLANTIFFS)                                   System of the Government
    AIBONITO, PR 00705-1187                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 365 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 367 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
416 MATÍAS ACEVEDO,                05/24/18    17 BK 03283-LTS /              29466                    $ 774.48* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARÍA I.                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
417 MATIAS LEON, JUDITH            06/04/18    17 BK 03283-LTS /              46117              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    M                                          Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    URB. ESTANCIAS DEL                         Rico                                                            LCDO. GILBERTO                               Rico
    GOLF CLUB 734                                                                                              RODRIGUEZ ZAYAS;
    PONCE, PR 00730                                                                                            HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 366 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 368 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
418 MATOS COLON, ELVIRA           07/05/18    17 BK 03283-LTS /             144479              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB ROUND HLS                             Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    668 CALLE VIOLETA                         Rico                                                            PLANTIFFS)                                   System of the Government
    TRUJILLO ALTO, PR                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
    00976-2715                                                                                                "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 367 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 369 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
419 MEDINA MEDINA,                05/25/18    17 BK 03283-LTS /             21253              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARY L                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 5 BOX 5242                             Rico                                                           PLAINTIFFS)                                 Rico
    YABUCOA, PR 00767                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 368 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 370 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
420 MEDINA NAVEDO,               05/16/18    17 BK 03283-LTS /             17682^              $ 302,400.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDWIN                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB.FRONTERA C/JULIO                     Rico                                                            PLAINTIFFS)                                Rico
    ALVARADO #139                                                                                            COLLECTIVELY (THE
    BAYAMON, PR 00619                                                                                        BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #17682 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 369 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 371 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
421 MEDINA ORTIZ, WANDA           06/19/18    17 BK 03283-LTS /              29046              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    C                                         Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    297 CALLE BALDRICH                        Rico                                                            PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00912                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 370 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 372 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
422 MEDINA ORTIZ, WANDA           06/19/18    17 BK 03566-LTS /             42269^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    C.                                        Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    297 CALLE BALDRICH                        System of the Government                                        PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00912                        of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                              Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #42269 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 371 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 373 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
423 MELENDEZ ALVARADO,            06/28/18    17 BK 03283-LTS /            124594^               $ 383,400.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BETTY                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    BUZON 206 URB. SIERRA                     Rico                                                            PLAINTIFFS)                                Rico
    REAL                                                                                                      COLLECTIVELY (THE
    CAYEY, PR 00736-9004                                                                                      BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #124594 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 372 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 374 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
424 MELENDEZ CLASS,                05/14/18    17 BK 03283-LTS /              14766              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    VICTOR                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CL 18 BUZON 6288                           Rico                                                            PLANTIFFS)                                   System of the Government
    CEIBA, PR 00735                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 373 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 375 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
425 MELENDEZ RENTAS,               09/21/18    17 BK 03283-LTS /             167423                 $ 14,280.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    SONIA                                      Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    HC 6 BOX 21583                             Rico                                                              PLANTIFFS)                                 System of the Government
    PONCE, PR 00731-9611                                                                                         (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 374 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 376 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
426 MELENDEZ RIVERA,              05/25/18    17 BK 03566-LTS /             30854              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    IVETTE                                    Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    E-27 CALLE NEISY STA.                     System of the Government                                       PLAINTIFFS)                                 Rico
    ROSA                                      of the Commonwealth of                                         COLLECTIVELY (THE
    CAGUAS, PR 00725                          Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 375 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 377 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
427 MELENDEZ, SANTIAGO             05/24/18    17 BK 03283-LTS /             31418^               $ 491,400.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NUNEZ                                      Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    RR-37 BOX 5140 CALLE                       Rico                                                             PLANTIFFS)                                  System of the Government
    ROMANY                                                                                                      (COLLECTIVELY THE                           of the Commonwealth of
    SAN JUAN, PR 00926                                                                                          "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #31418 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 376 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 378 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
428 MENDEZ GONZALEZ,              06/28/18    17 BK 03283-LTS /             125249               $ 150,000.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ELIZABETH                                 Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    CALLE 6 G-17                              Rico                                                             PLANTIFFS)                                  System of the Government
    URB. SANTA ELENA                                                                                           (COLLECTIVELY THE                           of the Commonwealth of
    BAYAMON, PR 00957                                                                                          "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 377 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 379 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
429 MENDEZ MENDEZ,                05/18/18    17 BK 03566-LTS /             35283^                     $ 55.61* ABRAHAM GIMÉNEZ ET             06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    RUTH E                                    Employees Retirement                                              AL (1,046 PLAINTIFFS)                      Employees Retirement
    HC 1 BOX 5382                             System of the Government                                          COLLECTIVELLY (THE                         System of the Government
    MOCA, PR 00676                            of the Commonwealth of                                            "ABRAHAM GIMÉNEZ                           of the Commonwealth of
                                              Puerto Rico                                                       PLAINTIFF GROUP");                         Puerto Rico
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2013-1019 / TSPR AC
                                                                                                                2016-0120, JORGE
                                                                                                                ABRAHA M G IMÉ NEZ
                                                                                                                PL AI N TIFF GR O UP
                                                                                                                (1,046 PLAINTIFFS)
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #35283 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 378 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
430 MENDEZ SALINAS,              05/11/18    17 BK 03283-LTS /             14691              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SERGIO                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 688                               Rico                                                           PLAINTIFFS)                                 Rico
    CARR 434 SECTOR                                                                                         COLLECTIVELY (THE
    SABANAS                                                                                                 BELTRAN CINTRON
    BO CUCHILLAS                                                                                            PLAINTIFF GROUP")...
    MOCA, PR 00676                                                                                          ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 379 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 381 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
431 MENDOZA GODOY,               05/29/18    17 BK 03283-LTS /             40756              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YANETT DEL CARMEN                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CALLE 23 N-25                            Rico                                                           PLAINTIFFS)                                 Rico
    ALTURAS DE                                                                                              COLLECTIVELY (THE
    FLAMBOYAN                                                                                               BELTRAN CINTRON
    BAYAMON, PR 00959                                                                                       PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 380 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 382 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
432 MERCADO DE ORTIZ,              05/22/18    17 BK 03283-LTS /              17053                     $ 419.15 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ANA                                        Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 381 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 383 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
433 MERCADO RIOS,                 06/20/18    17 BK 03283-LTS /             84668                $ 55,008.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    WILLIAM                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    CK 6 CALLE DR                             Rico                                                            PLAINTIFFS)                                Rico
    QUINONES                                                                                                  COLLECTIVELY (THE
    TOA BAYA, PR 00949                                                                                        BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 382 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 384 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
434 MERCADO RUIZ, ADA W          06/21/18    17 BK 03283-LTS /             50972              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    2135 CALLE NOGAL LOS                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CAOBOS                                   Rico                                                           PLAINTIFFS)                                 Rico
    PONCE, PR 00716-2703                                                                                    COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 383 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 385 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
435 MERCADO RUIZ,                 06/13/18    17 BK 03283-LTS /             76519              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MALINDA MABEL                             Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 499                                   Rico                                                           PLAINTIFFS)                                 Rico
    CASTANER, PR 00631                                                                                       COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 384 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 386 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
436 MERCED ALICEA,                05/18/18    17 BK 03283-LTS /             17813              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN A                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 809                                Rico                                                           PLAINTIFFS)                                 Rico
    GURABO, PR 00778                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 385 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 387 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE          CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED            DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
437 MERCED LOPEZ, JOSE E          06/29/18   17 BK 03566-LTS /            163777^             Undetermined* JUAN PÉREZ-COLÓN ET             06/29/18    17 BK 03566-LTS /            104175^            $ 1,469,956.00*
    PO BOX 92                                Employees Retirement                                           AL (324 PLAINTIFFS)                         Employees Retirement
    GUAYNABO, PR 00970                       System of the Government                                       COLLECTIVELY (THE                           System of the Government
                                             of the Commonwealth of                                         "PÉREZ-COLÓN                                of the Commonwealth of
                                             Puerto Rico                                                    PLAINTIFF GROUP")                           Puerto Rico
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC1990-0487
                                                                                                            LCDA. IVONNE
                                                                                                            GONZÁLEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JUAN PÉREZ-COLÓN ET            05/31/18    17 BK 03283-LTS /             30851              $ 2,435,987.21
                                                                                                             AL (324 PLAINTIFFS)                        Commonwealth of Puerto
                                                                                                             COLLECTIVELY (THE                          Rico
                                                                                                             "PÉREZ-COLÓN
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC1990-0487
                                                                                                             LCDA. IVONNE
                                                                                                             GONZÁLEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 30851 and 104175, which were filed on behalf of all plaintiffs in the litigation captioned Juan Perez Colon et al. v. Puerto Rico Department of
    Transportation & Public Works, No. KAC1990-0487 (the “Perez Colon Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-
    86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim
    against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Perez Colon Master Claims.
    ^ Claim #163777 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #104175 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 386 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 388 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
438 MIESES ROSARIO,                05/18/18    17 BK 03283-LTS /              18113                 $ 80,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ADRIANA                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    BL-26 CALLE 41                             Rico                                                              PLANTIFFS)                                 System of the Government
    URB. REXVILLE                                                                                                (COLLECTIVELY THE                          of the Commonwealth of
    BAYAMON, PR 00959                                                                                            "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
439 MILLAN SANTANA,                10/25/19    17 BK 03283-LTS /             171886                  $ 60,000.00 CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    GRISELLE                                   Commonwealth of Puerto                                            DE POLICIAS INC                            Commonwealth of Puerto
    HC 3 BOX 11104                             Rico                                                              PO BOX 8700                                Rico
    JUANA DIAZ, PR 00795                                                                                         PMB120
                                                                                                                 CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 387 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 389 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
440 MIRANDA GONZALEZ,             05/16/18    17 BK 03283-LTS /              15421              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    WALESKA                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    20 CALLE NENADICH                         Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ESTE                                                                                                      "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 388 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 390 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
441 MIRANDA REYES, JUAN          11/04/19   17 BK 03283-LTS /             172152                  $ 8,359.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    B.                                      Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    CALLE COLOMBINA M-6                     Rico                                                             LCDO. GILBERTO                            Rico
    LOMAS VERDE                                                                                              RODRIGUEZ ZAYAS;
    BAYAMON, PR 00956                                                                                        HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 389 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 391 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
442 MIRANDA RODRIGUEZ,             06/28/18    17 BK 03283-LTS /             137780                 $ 80,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ROSA NELLY                                 Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    2713 CALLE ALTAMISO                        Rico                                                              PLANTIFFS)                                 System of the Government
    JARDINES FAGOT                                                                                               (COLLECTIVELY THE                          of the Commonwealth of
    PONCE, PR 00716-3641                                                                                         "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 390 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 392 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
443 MIRANDA TORRES,               06/07/18    17 BK 03283-LTS /             49847                $ 41,644.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HERLINDA                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 520                                Rico                                                            PLAINTIFFS)                                Rico
    TOA ALTA, PR 00954                                                                                        COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
444 MIRO RAMIREZ, EBED            10/03/19    17 BK 03283-LTS /             171318               $ 17,632.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    I-3 CALLE DIAMANTE                        Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    VEGA ALTA, PR 00692                       Rico                                                            LCDO. GILBERTO                             Rico
                                                                                                              RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 391 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 393 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
445 MOJICA BULTRON,              05/25/18    17 BK 03283-LTS /             27930^               $ 496,800.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SONIA M.                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 3026                              Rico                                                            PLAINTIFFS)                                Rico
    BAYAMON, PR 00960                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #27930 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 392 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 394 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
446 MOLINA FERRER,                05/29/18    17 BK 03283-LTS /             43315^               $ 367,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA C                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    CALLE 115 BP-10 JARD                      Rico                                                            PLAINTIFFS)                                Rico
    DE COUNTRY CLUB                                                                                           COLLECTIVELY (THE
    CAROLINA, PR 00983                                                                                        BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #43315 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 393 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 395 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
447 MONELL TORRES ,                05/23/18    17 BK 03566-LTS /             29354^                 $ 30,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DELMA I                                    Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    0-14 TUDELA                                System of the Government                                          PLANTIFFS)                                 System of the Government
    URB. VILLA                                 of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    ANDALUCIA                                  Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00926                                                                                           PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #29354 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 394 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 396 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
448 MONELL TORRES,                 04/20/18    17 BK 03283-LTS /               7915              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DELMA I                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    VILLA ANDALUCIA                            Rico                                                            PLANTIFFS)                                   System of the Government
    O 14 TUDELA                                                                                                (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00926                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
449 MONGE PACHECO, IRIS            06/29/18    17 BK 03283-LTS /             132373              Undetermined* VELEZ ROSA LYDIA Y               05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    M.                                         Commonwealth of Puerto                                          OTROS KPE 1980-1738                          Commonwealth of Puerto
    PO BOX 1559                                Rico                                                            (805), TPI SAN JUAN                          Rico
    LAS PIEDRAS, PR 00771                                                                                      GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 395 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 397 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
450 MONTANEZ MARTINEZ,           04/20/18    17 BK 03283-LTS /              7827              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ROLANDO                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    COND CAMELOT 140                         Rico                                                           PLAINTIFFS)                                 Rico
    CARRETERA 842 APT                                                                                       COLLECTIVELY (THE
    2605                                                                                                    BELTRAN CINTRON
    SAN JUAN, PR 00926                                                                                      PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 396 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 398 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
451 MONTANEZ MORALES,              05/25/18    17 BK 03283-LTS /              23439                     $ 773.83 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MODESTA                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
452 MONTILLA LOPEZ,                06/27/18    17 BK 03283-LTS /             106529               $ 186,408.00* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    JULIO H                                    Commonwealth of Puerto                                           DE POLICIAS INC                             Commonwealth of Puerto
    CONDOMINIUM VILLA                          Rico                                                             PO BOX 8700                                 Rico
    PANAMCERCUNA                                                                                                PMB120
    EDIT-D APT - 604                                                                                            CAROLINA, PR 00988
    SAN JUAN, PR 00924

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 397 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 399 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
453 MORALES COLON, IVAN           05/07/18    17 BK 03283-LTS /              9362               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    PO BOX 406                                Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HORMIGUEROS, PR                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
    00660                                                                                                     "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 398 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 400 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
454 MORALES GONZALEZ,             05/18/18    17 BK 03566-LTS /             38606              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    JUSTINO                                   Employees Retirement                                           DIAZ ET AL (1084                           Employees Retirement
    PO BOX 966                                System of the Government                                       PLAINTIFFS)                                System of the Government
    MOCA, PR 00676-0966                       of the Commonwealth of                                         COLLECTIVELY (THE                          of the Commonwealth of
                                              Puerto Rico                                                    "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 399 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 401 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
455 MORALES LARREGUI,            05/22/18    17 BK 03283-LTS /             19310                $ 15,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VICTOR M                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB O'NEILL C14                          Rico                                                            PLAINTIFFS)                                Rico
    MANATI, PR 00674                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 400 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 402 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
456 MORALES                       05/16/18    17 BK 03283-LTS /              15746              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    MALDONADO, CARMEN                         Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    S                                         Rico                                                            PLAINTIFFS)                                 Rico
    COND JARD DE                                                                                              COLLECTIVELY (THE
    ALTAMESA                                                                                                  BELTRAN CINTRON
    AVE SAN ALFONSO I                                                                                         PLAINTIFF GROUP")...
    APTO E 7                                                                                                  ATTN: IVONNE
    SAN JUAN, PR 00921-4652                                                                                   GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
457 MORALES PAGAN,                06/29/18    17 BK 03283-LTS /             122217              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    JEREMY                                    Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    MANSIONES CAROLINA                        Rico                                                            PO BOX 8700                                 Rico
    C/LAUREL NN-18                                                                                            PMB120
    CAROLINA, PR 00987                                                                                        CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 401 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 403 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
458 MORALES SAEZ,                 05/29/18   17 BK 03283-LTS /              32379                $ 18,792.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    DANIEL                                   Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    HC 02 BOX 6384                           Rico                                                             LCDO. GILBERTO                            Rico
    GUAYANILLA, PR 00656                                                                                      RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 402 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 404 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
459 MORALES SANCHEZ,              05/01/18    17 BK 03283-LTS /              11399              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    YOLANDA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 03 BOX 40593                           Rico                                                            PLANTIFFS)                                   System of the Government
    CAGUAS, PR 00725                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 403 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
460 MORALES VALENTIN,              04/16/18    17 BK 03283-LTS /              7447               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MADELINE                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    CALLE CAPIFALY #112                        Rico                                                            COLLECTIVELLY (THE                           System of the Government
    BO. BUENAVISTA                                                                                             "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                         PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 404 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
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                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
461 MORENO CORDERO ,              06/26/18   17 BK 03566-LTS /              97853              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    LOURDES                                  Employees Retirement                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    EXT. SANTA TERESITA                      System of the Government                                        LCDO. GILBERTO                             Rico
    ALODIA-3843                              of the Commonwealth of                                          RODRIGUEZ ZAYAS;
    PONCE, PR 00730-4619                     Puerto Rico                                                     HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
462 MORENO CORDERO,               06/26/18   17 BK 03283-LTS /              99524                 $ 17,000.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    LOURDES                                  Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    EXT. SANTA                               Rico                                                             LCDO. GILBERTO                            Rico
    TERESITA-3843                                                                                             RODRIGUEZ ZAYAS;
    SANTA ALODIA                                                                                              HC 2 BOX 6519
    PONCE, PR 00730-4619                                                                                      GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 405 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
463 MORENO VELAZQUEZ,              06/29/18    17 BK 03283-LTS /              48377              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    EULALIA                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 1 BOX 6876                              Rico                                                            PLANTIFFS)                                   System of the Government
    AIBONITO, PR 00705-9716                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 406 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 408 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
464 MOYA MOYANO, LUZ J           06/06/18    17 BK 03283-LTS /             60981              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    315 CALLE SIMON                          Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    MADERA                                   Rico                                                           PLAINTIFFS)                                System of the Government
    VILLA ANGELICA                                                                                          COLLECTIVELY (THE                          of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                      "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 407 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 409 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
465 MOYA MOYANO, LUZ J.          06/06/18    17 BK 03283-LTS /             61012              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    VILLA ANGELICA                           Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    315 SIMON MADERA                         Rico                                                           PLAINTIFFS)                                System of the Government
    MAYAGUEZ, PR 00680                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 408 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 410 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
466 MOYA MOYANO, LUZ J.          06/06/18    17 BK 03283-LTS /            101946              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    VILLA ANGELICA                           Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    315 SIMON MADERA                         Rico                                                           PLAINTIFFS)                                System of the Government
    MAYAGUEZ, PR 00680                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 409 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 411 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
467 MUNIZ RAMOS, HECTOR          06/14/18    17 BK 03283-LTS /              49206              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    L.                                       Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    COND. SANTA MARIA 2                      Rico                                                            PLAINTIFFS)                                 System of the Government
    APT. 309                                                                                                 COLLECTIVELY (THE                           of the Commonwealth of
    SAN JUAN, PR 00924                                                                                       "ACEVEDO AROCHO                             Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K AC
                                                                                                             2005-5022
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 410 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 412 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
468 MUNOZ CARABALLO,              04/30/18    17 BK 03283-LTS /              9840              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    YOLANDA                                   Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC 01 BOX 10306                           Rico                                                           PLAINTIFFS)                                System of the Government
    GUAYANILLA, PR 00656                                                                                     COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                             "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
469 MUNOZ, OSCAR LIND             10/30/19    17 BK 03283-LTS /            172195              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372            $ 17,590,927.76
    HC-63-BOX 3204                            Commonwealth of Puerto                                         ALFREDO A, ET ALS                          Commonwealth of Puerto
    PATILLAS, PR 00723                        Rico                                                           LCDO. GILBERTO                             Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 411 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 413 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
470 MURIEL NIEVES,                05/25/18    17 BK 03283-LTS /             22295              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HECTOR L                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB LUCHETTI                              Rico                                                           PLAINTIFFS)                                 Rico
    CALLE PEDRO M                                                                                            COLLECTIVELY (THE
    RIVERA 80                                                                                                BELTRAN CINTRON
    MANATI, PR 00674-6032                                                                                    PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 412 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 414 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
471 MURIEL SUSTACHE,              05/29/18    17 BK 03283-LTS /             40886              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARISELA                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 1832                               Rico                                                           PLAINTIFFS)                                 Rico
    YABUCOA, PR 00767-                                                                                       COLLECTIVELY (THE
    1832                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 413 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 415 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
472 NANGO LASSALLE,               06/28/18    17 BK 03283-LTS /             120735^                $ 367,200.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    EPIFANIO                                  Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    3000 MARGINAL                             Rico                                                              PLANTIFFS)                                 System of the Government
    BALDORIOTY APT 11-K                                                                                         (COLLECTIVELY THE                          of the Commonwealth of
    COND INTERSUITES                                                                                            "ACEVEDO CAMACHO                           Puerto Rico
    CAROLINA, PR 00979                                                                                          PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #120735 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 414 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 416 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
473 NARVAEZ FERRER, ANA           07/06/18    17 BK 03566-LTS /             151436              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    M                                         Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    HC 2 BOX 7605                             System of the Government                                        PLANTIFFS)                                   System of the Government
    COROZAL, PR 00783                         of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                              Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 415 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 417 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
474 NATAL TRINIDAD,                06/13/18    17 BK 03283-LTS /              40774              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARITZA                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    VILLA PALMERAS                             Rico                                                            PLANTIFFS)                                   System of the Government
    254 CALLE BARTOLOME                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    LAS CASAS                                                                                                  "ACEVEDO CAMACHO                             Puerto Rico
    SAN JUAN, PR 00915                                                                                         PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
475 NAVARRO FLORES,                11/14/19    17 BK 03283-LTS /             172520              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    JOSE L.                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    HC 64 BOX 8347                             Rico                                                            LCDO. GILBERTO                               Rico
    PATILLAS, PR 00723                                                                                         RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 416 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 418 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
476 NAVEDO OTERO,                 05/04/18    17 BK 03283-LTS /              9423                 $ 83,145.87 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NANCY                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 417 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 419 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
477 NAVEDO OTERO,                 05/30/18    17 BK 03283-LTS /             29202              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NANCY                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 297                                Rico                                                           PLAINTIFFS)                                 Rico
    VEGA ALTA, PR 00692                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 418 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 420 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
478 NAVEDO OTERO,                 05/30/18    17 BK 03283-LTS /             40644               $ 100,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NANCY                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    P. O. BOX 297                             Rico                                                            PLAINTIFFS)                                Rico
    VEGA ALTA, PR 00692                                                                                       COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 419 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 421 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
479 NAZARIO VEGA,                 06/27/18    17 BK 03283-LTS /             103840             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARISOL                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    5048 CA. LORENCITA                        Rico                                                           PLAINTIFFS)                                 Rico
    FERRE                                                                                                    COLLECTIVELY (THE
    PONCE, PR 00728                                                                                          BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 420 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 422 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
480 NEGRON MILLAN,               05/25/18    17 BK 03566-LTS /             27083^               $ 388,800.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YVONNE                                   Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    SANTA MARIA MAYOR                        System of the Government                                        PLAINTIFFS)                                Rico
    A 10 CALLE 19                            of the Commonwealth of                                          COLLECTIVELY (THE
    HUMACAO, PR 00791                        Puerto Rico                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #27083 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #27083 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 421 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 423 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
481 NEGRON VIDAL,                07/06/18    17 BK 03283-LTS /             154371                $ 80,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    MARITZA                                  Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    URB. HACIENDA                            Rico                                                             PLAINTIFFS)                                System of the Government
    BORINQUERO                                                                                                COLLECTIVELY (THE                          of the Commonwealth of
    826 CALLE EMAJAGUA                                                                                        "ACEVEDO AROCHO                            Puerto Rico
    CAGUAS, PR 00725                                                                                          PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 422 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 424 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
482 NEVAREZ FONTAN,               06/27/18    17 BK 03283-LTS /             51923                  $ 1,200.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    JOSE E.                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    URB. LEVITTOWN                            Rico                                                             COLLECTIVELY (THE                         System of the Government
    LAKES                                                                                                      LOPEZ-ROSARIO                             of the Commonwealth of
    CALLE MARIA CADILLA                                                                                        PLAINTIFF GROUP);                         Puerto Rico
    FK-19                                                                                                      IVONNE GONZALEZ
    TOA BAJA, PR 00949-2760                                                                                    MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 423 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 425 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
483 NEVAREZ FONTAN,               06/27/18    17 BK 03566-LTS /             60052                   $ 3,725.00 DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    JOSE E.                                   Employees Retirement                                             ROSARIO ET AL                             Employees Retirement
    LEVITTOWN LAKES                           System of the Government                                         COLLECTIVELY (THE                         System of the Government
    C/MARIA CADILLA FK19                      of the Commonwealth of                                           LOPEZ-ROSARIO                             of the Commonwealth of
    TOA BAJA, PR 00949-2760                   Puerto Rico                                                      PLAINTIFF GROUP);                         Puerto Rico
                                                                                                               IVONNE GONZALEZ
                                                                                                               MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 424 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 426 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
484 NIEVES GARCIA,                04/10/18    17 BK 03283-LTS /              6598               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    HECTOR L                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 04 BOX 44594                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MAYAGUEZ, PR 00680                                                                                        "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 425 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 427 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
485 NIEVES RAMOS,                  06/27/18    17 BK 03283-LTS /             109002              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ADELAIDA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    2231 CALLE DELTA                           Rico                                                            PLANTIFFS)                                   System of the Government
    URB. SAN ANTONIO                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    PONCE, PR 00728-1702                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 426 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 428 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
486 NIEVES VILLANUEVA,            05/25/18    17 BK 03566-LTS /              28052              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MERCEDES                                  Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    BO OBRERO                                 System of the Government                                        PLANTIFFS)                                   System of the Government
    777 CALLE TITO                            of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    RODRIGUEZ                                 Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    SAN JUAN, PR 00915                                                                                        PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 427 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 429 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
487 NIEVES, NILDA LLANOS           05/25/18    17 BK 03283-LTS /              25155                     $ 672.75 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 428 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 430 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
488 NOEL RODRIGUEZ ,              04/25/18    17 BK 03283-LTS /              8777               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MONTALVO                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    URB. ALTURAS                              Rico                                                            COLLECTIVELLY (THE                           System of the Government
    SABANERAS                                                                                                 "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    E-92                                                                                                      PLAINTIFF GROUP");                           Puerto Rico
    SABANA GRANDE, PR                                                                                         CIVIL CASE NUM. K
    00637                                                                                                     AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 429 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 431 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
489 NUNEZ CORCOVA,                05/02/18    17 BK 03283-LTS /              9645                  $ 85,132.57 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    JUANITA                                   Commonwealth of Puerto                                           ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                             PLAINTIFFS)                                Rico
    MORALES                                                                                                    COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                           BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                    PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
490 NUNEZ GARCIA,                 06/29/18    17 BK 03566-LTS /             128024                $ 41,378.36* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    DOMINGO                                   Employees Retirement                                             DE POLICIAS INC                            Commonwealth of Puerto
    HC 5 BOX 5997                             System of the Government                                         PO BOX 8700                                Rico
    JUANA DIAZ, PR 00795                      of the Commonwealth of                                           PMB120
                                              Puerto Rico                                                      CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 430 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 432 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
491 NUNEZ ROLON, LUCIA            06/28/18    17 BK 03283-LTS /              63679              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB. MONTE CARLO                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE # 10                                Rico                                                            PLANTIFFS)                                   System of the Government
    AIBONITO, PR 00705                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 431 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 433 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
492 OCASIO CUEVAS,                04/27/18    17 BK 03283-LTS /              9454                 $ 72,169.72 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    MILAGROS ACEVEDO                          Rico                                                            PLAINTIFFS)                                Rico
    COLON                                                                                                     COLLECTIVELY (THE
    COND COLINA REAL                                                                                          BELTRAN CINTRON
    2000 AVE F RINCON BOX                                                                                     PLAINTIFF GROUP")...
    1405                                                                                                      ATTN: IVONNE
    SAN JUAN, PR 00926                                                                                        GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 432 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 434 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
493 OCASIO CUEVAS,                05/04/18    17 BK 03283-LTS /             10427                 $ 28,790.29 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 433 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 435 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
494 OCASIO FONTANEZ,               05/25/18    17 BK 03283-LTS /              22949              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DELILAH                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. VISTAS DEL                            Rico                                                            PLANTIFFS)                                   System of the Government
    CONVENTO                                                                                                   (COLLECTIVELY THE                            of the Commonwealth of
    CALLE 6 # 2G-17                                                                                            "ACEVEDO CAMACHO                             Puerto Rico
    FAJARDO, PR 00738                                                                                          PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 434 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 436 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
495 OCASIO MALDONADO,            06/28/18    17 BK 03283-LTS /             128246             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    SONIA E.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    6 QUINTAS DE VEGA                        Rico                                                           PLAINTIFFS)                                 Rico
    BAJA                                                                                                    COLLECTIVELY (THE
    VEGA BAJA, PR 00693                                                                                     BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 435 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 437 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
496 OCASIO MEDINA,                 07/06/18    17 BK 03283-LTS /             137279              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MADELINE                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    REPTO KENNEDY                              Rico                                                            PLANTIFFS)                                   System of the Government
    39 CALLE B                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    PENUELAS, PR 00624-                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
    3503                                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 436 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 438 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
497 OCASIO MEDINA,                 07/06/18    17 BK 03283-LTS /             148808              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MADELINE                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    REPTO KENNEDY                              Rico                                                            PLANTIFFS)                                   System of the Government
    39 CALLE B                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    PENUELAS, PR 00624-                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
    3503                                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 437 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 439 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
498 OCASIO RIOS, JOSE             06/01/18    17 BK 03283-LTS /              35254              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    REPARTO SANTIAGO                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    D 21 BOX 337                              Rico                                                            PLANTIFFS)                                   System of the Government
    NAGUABO, PR 00718                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 438 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 440 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
499 OCASIO ROSADO, NILSA          06/05/18    17 BK 03283-LTS /              46278              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    E.                                        Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PARCELAS CARMEN                           Rico                                                            PLANTIFFS)                                   System of the Government
    17-A CALLE CISNE                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    PARCELAS CARMEN                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
    VEGA ALTA, PR 00692-                                                                                      PLANTIFF GROUP");
    5811                                                                                                      CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
500 OCASIO TORRES,                03/05/20    17 BK 03283-LTS /             173423              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    DANIEL                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    CALLE TORRELAGUNA                         Rico                                                            LCDO. GILBERTO                               Rico
    #430                                                                                                      RODRIGUEZ ZAYAS;
    URB EMBALSE SAN                                                                                           HC 2 BOX 6519
    JOSE                                                                                                      GUAYANILLA, PR 00656
    SAN JUAN, PR 00923

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 439 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 441 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
501 O'FERRALL IRIZARRY,            05/29/18    17 BK 03283-LTS /              44458              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    GISELA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. CAPARRA                               Rico                                                            PLANTIFFS)                                   System of the Government
    HEIGHTS                                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00920                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
502 OLIVERA RODRÍGUEZ,             05/15/18    17 BK 03283-LTS /              12044              Undetermined* VELEZ ROSA LYDIA Y               05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    YAZIRA                                     Commonwealth of Puerto                                          OTROS KPE 1980-1738                          Commonwealth of Puerto
    CALLE ALMENDRA                             Rico                                                            (805), TPI SAN JUAN                          Rico
    NÚM.33                                                                                                     GEORGETTI 78
    PARCELAS MÁRQUEZ                                                                                           SAN JUAN, PR 00925
    MANATÍ, PR 00674

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 440 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 442 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
503 OLIVERAS TORRES,              06/25/18    17 BK 03566-LTS /              89132                 $ 53,127.85 CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    MILLIE                                    Employees Retirement                                             DE POLICIAS INC                            Commonwealth of Puerto
    PO BOX 1601                               System of the Government                                         PO BOX 8700                                Rico
    BAYAMON, PR 00960-                        of the Commonwealth of                                           PMB120
    1601                                      Puerto Rico                                                      CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 441 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 443 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
504 OLIVERO RODRIGUEZ,            05/25/18    17 BK 03283-LTS /              18446              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    GLADYS M                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE 2 D21                               Rico                                                            PLANTIFFS)                                   System of the Government
    URB VILLA DE LOIZA                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    CANOVANAS, PR 00729                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 442 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 444 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
505 OQUENDO OQUENDO,              02/19/19    17 BK 03283-LTS /             168624             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CANDIDA R.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 2 BOX 6968                             Rico                                                           PLAINTIFFS)                                 Rico
    ADJUNTAS, PR 00601-                                                                                      COLLECTIVELY (THE
    9668                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 443 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 445 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
506 OQUENDO TIRADO,               05/07/18    17 BK 03283-LTS /              12201              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    CYNTHIA                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    URB. OLYMPIC VILLE                        Rico                                                            PLAINTIFFS)                                 Rico
    CALLE MONTREAL I-5                                                                                        COLLECTIVELY (THE
    LAS PIEDRAS, PR 00771                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
507 ORELLANA PAGAN,               06/29/18    17 BK 03283-LTS /             148347                $ 64,103.64* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    19 CALLE TEL AVIV                         Rico                                                             PO BOX 8700                                Rico
    PROMISED LAND                                                                                              PMB120
    NAGUABO, PR 00718                                                                                          CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 444 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 446 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
508 ORELLANA PAGAN,               05/10/18    17 BK 03566-LTS /              13600                $ 64,103.64* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    YOLANDA                                   Employees Retirement                                             DE POLICIAS INC                            Commonwealth of Puerto
    PROMISELAND #19                           System of the Government                                         PO BOX 8700                                Rico
    CALLE TELAVIV                             of the Commonwealth of                                           PMB120
    NAGUABO, PR 00718-                        Puerto Rico                                                      CAROLINA, PR 00988
    2839

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.
509 ORFILA HERNANDEZ,             06/01/18    17 BK 03283-LTS /              71192              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /              152372            $ 17,590,927.76
    EDWIN                                     Commonwealth of Puerto                                          ALFREDO A, ET ALS                           Commonwealth of Puerto
    URB. VILLA LINDA 85                       Rico                                                            LCDO. GILBERTO                              Rico
    CALLE LEEMO MORA                                                                                          RODRIGUEZ ZAYAS;
    AGUADILLA, PR 00603                                                                                       HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 445 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 447 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
510 ORLANDI GOMEZ,                04/17/18    17 BK 03283-LTS /              5242              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ANGEL M                                   Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC01 BOX 4301                             Rico                                                           PLAINTIFFS)                                System of the Government
    ARROYO, PR 00714                                                                                         COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                             "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 446 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 448 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
511 OROZCO LABOY, VILMA            05/25/18    17 BK 03283-LTS /              36915                 $ 48,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    L                                          Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    ALTURAS DE RIO                             Rico                                                              PLANTIFFS)                                 System of the Government
    GRANDE                                                                                                       (COLLECTIVELY THE                          of the Commonwealth of
    R904 CALLE 16                                                                                                "ACEVEDO CAMACHO                           Puerto Rico
    RIO GRANDE, PR 00745                                                                                         PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
512 ORTEGA DE JESUS,               06/29/18    17 BK 03283-LTS /              96448              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    FREMAIN                                    Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    BUZ G 95 BO                                Rico                                                            PO BOX 8700                                  Rico
    DOMINGUITO PARC                                                                                            PMB120
    MATTEI                                                                                                     CAROLINA, PR 00988
    ARECIBO, PR 00612

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 447 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 449 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
513 ORTEGA DIAZ, BLANCA           06/22/18    17 BK 03283-LTS /              42634                  $ 30,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    BARRIO OBRERO                             Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    746 CALLE TITO                            Rico                                                              PLANTIFFS)                                 System of the Government
    RODRIGUEZ                                                                                                   (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00915                                                                                          "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 448 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 450 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
514 ORTIZ ARVELO,                 06/27/18    17 BK 03566-LTS /             104987             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GERVASIO                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC 2 BOX 9722                             System of the Government                                       PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                     of the Commonwealth of                                         COLLECTIVELY (THE
    9692                                      Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 449 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 451 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
515 ORTIZ COLON,                   06/27/18    17 BK 03283-LTS /             117438              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RAMONITA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC5 BOX 6087                               Rico                                                            PLANTIFFS)                                   System of the Government
    JUANA DIAZ, PR 00795                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
516 ORTIZ COTTO,                   06/29/18    17 BK 03283-LTS /             149755              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    ORLANDO                                    Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    CALLE 21 NN3 VILLE DE                      Rico                                                            PO BOX 8700                                  Rico
    CRISTO                                                                                                     PMB120
    CAGUAS, PR 00725                                                                                           CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 450 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 452 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
517 ORTIZ DIAZ, AWILDA             05/25/18    17 BK 03283-LTS /              26745              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    525 CARR. 8860, APT.                       Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    2473                                       Rico                                                            PLANTIFFS)                                   System of the Government
    TRUJILLO ALTO, PR                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    00976                                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 451 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 453 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
518 ORTIZ LOPEZ, LUZ C            06/05/18    17 BK 03283-LTS /             47624              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 340                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    COROZAL, PR 00783                         Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 452 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 454 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
519 ORTIZ ORTIZ, CARMEN            06/29/18    17 BK 03283-LTS /             133338              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    N                                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB VILLA DEL                              Rico                                                            PLANTIFFS)                                   System of the Government
    CARMEN                                                                                                     (COLLECTIVELY THE                            of the Commonwealth of
    4627 AVE CONSTANCIA                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
    PONCE, PR 00716-2250                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 453 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 455 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
520 ORTIZ OTERO, ILIA S.           06/29/18    17 BK 03283-LTS /             146640              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB. CARIOCA                               Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    29 SUR CALLE 3                             Rico                                                            PLANTIFFS)                                   System of the Government
    GUAYAMA, PR 00784                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 454 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 456 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
521 ORTIZ OTERO, ILIA S.           06/29/18    17 BK 03566-LTS /             141444^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB CARIOCA                                Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    29 CALLE 3                                 System of the Government                                        PLANTIFFS)                                   System of the Government
    GUAYAMA, PR 00784                          of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                               Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #141444 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 455 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 457 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
522 ORTIZ PEREZ, DIANA M.         05/25/18    17 BK 03283-LTS /              24182                $ 72,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    URB. RIO HONDO I                          Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    D 39 CALLE RIO                            Rico                                                             PLAINTIFFS)                                System of the Government
    CAONILLAS                                                                                                  COLLECTIVELY (THE                          of the Commonwealth of
    BAYAMON, PR 00961                                                                                          "ACEVEDO AROCHO                            Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 456 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 458 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
523 ORTIZ ROSA, YENICE            06/29/18    17 BK 03283-LTS /             151337             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 177                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    SABANA SECA, PR 00952                     Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 457 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 459 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
524 ORTIZ ROSARIO,                 05/27/18    17 BK 03283-LTS /              22846                 $ 50,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MILDRED                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    CALLE MARLIN K37                           Rico                                                              PLANTIFFS)                                 System of the Government
    BAHIA VISTA MAR                                                                                              (COLLECTIVELY THE                          of the Commonwealth of
    CAROLINA, PR 00983                                                                                           "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 458 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 460 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
525 ORTIZ SANTIAGO,               06/28/18    17 BK 03283-LTS /             123679              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    JUANITA                                   Commonwealth of Puerto                                          ROSARIO ET AL                               Employees Retirement
    PO BOX 1040                               Rico                                                            COLLECTIVELY (THE                           System of the Government
    OROCOVIS, PR 00720                                                                                        LOPEZ-ROSARIO                               of the Commonwealth of
                                                                                                              PLAINTIFF GROUP);                           Puerto Rico
                                                                                                              IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                                ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                                COLLECTIVELY (THE                         Rico
                                                                                                                LOPEZ-ROSARIO
                                                                                                                PLAINTIFF GROUP)
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
526 ORTIZ SANTIAGO,               06/27/18    17 BK 03566-LTS /             111469              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    RAMON                                     Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    Q17 CALLE 23 LIBRE EL                     System of the Government                                        PO BOX 8700                                 Rico
    MADRIGAL                                  of the Commonwealth of                                          PMB120
    PONCE, PR 00730                           Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 459 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 461 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
527 ORTIZ TORRES, MARIA           05/29/18    17 BK 03283-LTS /              38315              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /             103035^            $ 5,034,400.00*
    660 CUPIDO                                Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    URB. VENUS GARDEN                         Rico                                                            PLAINTIFFS)                                 System of the Government
    RIO PIEDRAS, PR 00926                                                                                     COLLECTIVELY (THE                           of the Commonwealth of
                                                                                                              "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                PRUDENCIO ACEVEDO             06/22/18    17 BK 03283-LTS /              51013            $ 28,000,000.00*
                                                                                                                AROCHO ET AL (1,379                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                               Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ACEVEDO-AROCHO
                                                                                                                PLAINTIFF
                                                                                                                GROUP")CIVIL CASE
                                                                                                                NUM. K AC 2005-5022
                                                                                                                IVONNE GONZALEZ-
                                                                                                                MORALES
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
528 ORTIZ VELEZ, LUIS D.          05/29/18    17 BK 03566-LTS /              51686              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    PO BOX 2074                               Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    SALINAS, PR 00751                         System of the Government                                        PO BOX 8700                                 Rico
                                              of the Commonwealth of                                          PMB120
                                              Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 460 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 462 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
529 ORTIZ VILANOVA,               06/04/18    17 BK 03283-LTS /              58880              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    WILFREDO                                  Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    JANE A. BECKER                            Rico                                                            PO BOX 8700                                 Rico
    WHITAKER                                                                                                  PMB120
    PO BOX 9023914                                                                                            CAROLINA, PR 00988
    SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.
530 OTERO RODRIGUEZ,              07/12/18    17 BK 03283-LTS /             148051                $ 34,328.47* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372            $ 17,590,927.76
    RAMONA                                    Commonwealth of Puerto                                           ALFREDO A, ET ALS                          Commonwealth of Puerto
    URB. LOIZA VALLEY                         Rico                                                             LCDO. GILBERTO                             Rico
    CALLE JAZMIN B119                                                                                          RODRIGUEZ ZAYAS;
    CANOVANAS, PR 00729                                                                                        HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 461 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 463 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
531 OTERO, NANCY                  05/30/18    17 BK 03283-LTS /             40915              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NAVEDO                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 297                                Rico                                                           PLAINTIFFS)                                 Rico
    VEGA ALTA, PR 00692                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
532 OTERO, RAMONA                 07/12/18    17 BK 03283-LTS /             104341               $ 34,328.47* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    BOX 554                                   Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    CANOVANAS, PR 00729                       Rico                                                            LCDO. GILBERTO                             Rico
                                                                                                              RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 462 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 464 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
533 PABLOS VAZQUEZ,              05/23/18    17 BK 03283-LTS /             25086              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LEILA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB VILLA                                Rico                                                           PLAINTIFFS)                                 Rico
    UNIVERSITARIA                                                                                           COLLECTIVELY (THE
    BH6 CALLE 35                                                                                            BELTRAN CINTRON
    HUMACAO, PR 00791                                                                                       PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 463 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 465 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
534 PACHECO QUINONES,             05/16/18    17 BK 03283-LTS /             23463                 $ 35,265.47 JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    JUSTINO                                   Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    HC 01 BOX 8196                            Rico                                                            PLAINTIFFS)                               System of the Government
    PENUELAS, PR 00624                                                                                        COLLECTIVELY (THE                         of the Commonwealth of
                                                                                                              "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
535 PADUA VELEZ, JUAN E.          12/20/19    17 BK 03283-LTS /            172855              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372            $ 17,590,927.76
    HC-1 BOX 3079                             Commonwealth of Puerto                                         ALFREDO A, ET ALS                          Commonwealth of Puerto
    ADJUNTAS, PR 00601                        Rico                                                           LCDO. GILBERTO                             Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 464 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 466 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
536 PAGAN CUASCUT, LIZ A         06/29/18    17 BK 03283-LTS /              91399                $ 75,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    MAMEYAL 101 A CALLE                      Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    19                                       Rico                                                             PLAINTIFFS)                                System of the Government
    DORADO, PR 00646                                                                                          COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                              "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
537 PAGAN GOMEZ, LUIS E          12/03/19    17 BK 03283-LTS /             172688              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372             $ 17,590,927.76
    1910 W WALNUT ST                         Commonwealth of Puerto                                          ALFREDO A, ET ALS                           Commonwealth of Puerto
    ALLENTOWN, PA 18104                      Rico                                                            LCDO. GILBERTO                              Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 465 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 467 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
538 PAGAN MORALES,                06/28/18    17 BK 03283-LTS /             57421                 $ 22,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DOLLY                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    BOX 184                                   Rico                                                            PLAINTIFFS)                                Rico
    CABO ROJO, PR 00623                                                                                       COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 466 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 468 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
539 PAGAN RIVERA, IRIS L.         07/05/18    17 BK 03283-LTS /            155537                 $ 80,000.00 JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    URB. VILLA PRADES                         Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    703 CFRANCISCO P                          Rico                                                            PLAINTIFFS)                               System of the Government
    CORTES                                                                                                    COLLECTIVELY (THE                         of the Commonwealth of
    SAN JUAN, PR 00924-2245                                                                                   "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 467 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 469 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
540 PAGAN SCHELMETTY,             05/26/18    17 BK 03283-LTS /             23346                 $ 12,059.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DOLORES M                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    F3 URB JESUS M LAGO                       Rico                                                            PLAINTIFFS)                                Rico
    UTUADO, PR 00641                                                                                          COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 468 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 470 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
541 PARRA MARQUEZ,                 05/24/18    17 BK 03283-LTS /              19486              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    EMMA                                       Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    JARDINEZ DE CAPARRA                        Rico                                                            PLANTIFFS)                                   System of the Government
    W-8 AVE RUIZ SOLER                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
    BAYAMON, PR 00959                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
542 PELLOT RODRIGUEZ               05/14/18    17 BK 03283-LTS /              14816                  $ 3,800.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    MD, DAISY                                  Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    PO BOX 4512                                Rico                                                              LCDO. GILBERTO                             Rico
    AGUADILLA, PR 00605                                                                                          RODRIGUEZ ZAYAS;
                                                                                                                 HC 2 BOX 6519
                                                                                                                 GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 469 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 471 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
543 PELUYERA ROSA,                 05/23/18    17 BK 03283-LTS /              15086              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN L                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 1 BOX 24553                             Rico                                                            PLANTIFFS)                                   System of the Government
    CAGUAS, PR 00725                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 470 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 472 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
544 PEREA GINORIO, LILIA           05/30/18    17 BK 03283-LTS /              40590              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    M                                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    RR 18 BOX 600                              Rico                                                            PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00926-9238                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 471 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 473 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
545 PEREZ CORCHODO,               06/07/18    17 BK 03283-LTS /              49646              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ROSE J.                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    135 RUTE 5                                Rico                                                            PLAINTIFFS)                                 Rico
    ISABEL, PR 00662                                                                                          COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
546 PEREZ DIAZ, GLORIA            05/28/18    17 BK 03283-LTS /              25270              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    HC 03 BOX 41181                           Commonwealth of Puerto                                          OTROS KPE 1980-1738                         Commonwealth of Puerto
    CAGUAS, PR 00725-9727                     Rico                                                            (805), TPI SAN JUAN                         Rico
                                                                                                              GEORGETTI 78
                                                                                                              SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 472 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 474 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
547 PEREZ IRIZARRY,              05/30/18    17 BK 03283-LTS /             28089              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GLORIDELL                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    EL MADRIGAL                              Rico                                                           PLAINTIFFS)                                 Rico
    505 CALLE MAGNOLIA                                                                                      COLLECTIVELY (THE
    PENUELAS, PR 00624                                                                                      BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 473 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 475 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
548 PEREZ MENDEZ,                 10/03/19    17 BK 03283-LTS /             171192               $ 80,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN IRMA                               Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 437                                Rico                                                            PLAINTIFFS)                                Rico
    SAN SEBASTIAN, PR                                                                                         COLLECTIVELY (THE
    00685                                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
549 PEREZ ORTIZ, JULIO            10/04/19    17 BK 03283-LTS /             171203              $ 193,000.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    APARTADO 866                              Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    PATILLAS, PR 00723                        Rico                                                            LCDO. GILBERTO                             Rico
                                                                                                              RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 474 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 476 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
550 PEREZ PENALOZA,                05/24/18    17 BK 03566-LTS /             45764^                  $ 60,179.76 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ZHADYA P                                   Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    RR 2 BOX 252                               System of the Government                                          PLANTIFFS)                                 System of the Government
    CAROLINA, PR 00987                         of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
                                               Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #45764 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #45764 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 475 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 477 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
551 PEREZ PENALOZA,                05/24/18    17 BK 03283-LTS /             25578^               $ 151,200.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ZHADYA P                                   Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    RR 2 BOX 252                               Rico                                                             PLANTIFFS)                                  System of the Government
    CAROLINA, PR 00987                                                                                          (COLLECTIVELY THE                           of the Commonwealth of
                                                                                                                "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #25578 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
552 PICORNELL MARTÍ,               05/25/18    17 BK 03283-LTS /              31829              Undetermined* VELEZ ROSA LYDIA Y               05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    MORAIMA                                    Commonwealth of Puerto                                          OTROS KPE 1980-1738                          Commonwealth of Puerto
    PANTOJA OQUENDO,                           Rico                                                            (805), TPI SAN JUAN                          Rico
    JOSEFINA                                                                                                   GEORGETTI 78
    PO BOX 21370                                                                                               SAN JUAN, PR 00925
    SAN JUAN, PR 00928

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 476 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 478 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
553 PIMENTEL DE SILVERIO,         06/28/18    17 BK 03283-LTS /             111283                $ 75,000.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    DOMINICA                                  Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    P21 CALLE 11 ALTURAS                      Rico                                                             PLAINTIFFS)                                System of the Government
    DE INTERAMERICANA                                                                                          COLLECTIVELY (THE                          of the Commonwealth of
    TRUJILLO ALTO, PR                                                                                          "ACEVEDO AROCHO                            Puerto Rico
    00976                                                                                                      PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K AC
                                                                                                               2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 477 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 479 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
554 PIZARRO CASTRO,               05/25/18    17 BK 03283-LTS /             29982^              $ 302,400.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIBEL                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB ROSA MARIA                            Rico                                                            PLAINTIFFS)                                Rico
    E 23 CALLE 4                                                                                              COLLECTIVELY (THE
    CAROLINA, PR 00985                                                                                        BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #29982 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 478 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 480 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
555 PIZARRO MELENDEZ,             03/29/18    17 BK 03566-LTS /              5327                   $ 93,240.67 ABRAHAM GIMÉNEZ ET             06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    FRANCISCO                                 Employees Retirement                                              AL (1,046 PLAINTIFFS)                      Employees Retirement
    URB LUQUILLO MAR                          System of the Government                                          COLLECTIVELLY (THE                         System of the Government
    CC 106 CALLE D                            of the Commonwealth of                                            "ABRAHAM GIMÉNEZ                           of the Commonwealth of
    LUQUILLO, PR 00773                        Puerto Rico                                                       PLAINTIFF GROUP");                         Puerto Rico
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2013-1019 / TSPR AC
                                                                                                                2016-0120, JORGE
                                                                                                                ABRAHA M G IMÉ NEZ
                                                                                                                PL AI N TIFF GR O UP
                                                                                                                (1,046 PLAINTIFFS)
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 479 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 481 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
556 PONCE DE LEON, IRIS M          04/30/18    17 BK 03283-LTS /               9737              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB SANTA MARIA                            Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    45 CALLE B                                 Rico                                                            PLANTIFFS)                                   System of the Government
    SABANA GRANDE, PR                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    00637                                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 480 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 482 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
557 PONCE DE LEON, IRIS M          04/30/18    17 BK 03283-LTS /               9806              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CALLE B45                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB SANTA MARIA                            Rico                                                            PLANTIFFS)                                   System of the Government
    SABANA GRANDE, PR                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    00637                                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 481 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 483 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
558 POU RIVERA, SANDRA I           05/10/18    17 BK 03283-LTS /              14402              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB MABU                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    D11 CALLE 6                                Rico                                                            PLANTIFFS)                                   System of the Government
    HUMACAO, PR 00791                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 482 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 484 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
559 POU RIVERA, SANDRA I.          05/10/18    17 BK 03283-LTS /              14918              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB MABU CALLE 6                           Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    D-11                                       Rico                                                            PLANTIFFS)                                   System of the Government
    HUMACAO, PR 00791                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 483 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 485 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
560 QUILES ORTIZ, ALBA N.          06/19/18    17 BK 03283-LTS /              61017                 $ 11,390.84* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    2301 E IRLO BRONSON                        Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MEMORIAL HWY APT.                          Rico                                                              PLANTIFFS)                                 System of the Government
    614                                                                                                          (COLLECTIVELY THE                          of the Commonwealth of
    KISSIMMEE, FL 34744                                                                                          "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 484 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 486 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
561 QUINONES FELICIANO,          06/27/18    17 BK 03283-LTS /             102722              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    JULIO E.                                 Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    1017 J. PERIEAS                          Rico                                                            PLAINTIFFS)                                 System of the Government
    PONCE, PR 00717                                                                                          COLLECTIVELY (THE                           of the Commonwealth of
                                                                                                             "ACEVEDO AROCHO                             Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K AC
                                                                                                             2005-5022
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 485 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 487 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
562 QUINONES UFRET,              07/06/18    17 BK 03283-LTS /             160380             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    KAREN M                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB ALTURAS DE SAN                       Rico                                                           PLAINTIFFS)                                 Rico
    JOSE                                                                                                    COLLECTIVELY (THE
    MM4 CALLE 20                                                                                            BELTRAN CINTRON
    SABANA GRANDE, PR                                                                                       PLAINTIFF GROUP")...
    00637                                                                                                   ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 486 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 488 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
563 QUINONES UFRET,              07/06/18    17 BK 03283-LTS /             148387             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    KAREN M.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB ALTURAS DE SAN                       Rico                                                           PLAINTIFFS)                                 Rico
    JOSE                                                                                                    COLLECTIVELY (THE
    C/20 MM 4                                                                                               BELTRAN CINTRON
    SABANA GRANDE, PR                                                                                       PLAINTIFF GROUP")...
    00667                                                                                                   ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 487 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 489 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
564 QUINONES, JOSEFINA            05/02/18    17 BK 03283-LTS /              9625                 $ 57,281.38 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CONCEPCION                                Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 488 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 490 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
565 QUINTANA LUGO,                 07/05/18    17 BK 03283-LTS /             150333                 $ 75,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MAGDA M                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    URB PALACIOS DE                            Rico                                                              PLANTIFFS)                                 System of the Government
    MARBELLA                                                                                                     (COLLECTIVELY THE                          of the Commonwealth of
    1210 SAN BERNABE                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    TOA ALTA, PR 00953                                                                                           PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 489 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 491 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
566 RAMIREZ BENITEZ,              04/26/18    17 BK 03283-LTS /              9056                   $ 2,212.85 FRANCISCO BELTRAN             03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALEXANDER                                 Commonwealth of Puerto                                           ET ALL (4,493                             Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                             PLAINTIFFS)                               Rico
    MORALES                                                                                                    COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                           BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                    PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 490 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 492 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
567 RAMIREZ DE JESUS,             07/05/18    17 BK 03283-LTS /             151006             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JEANNETTE                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 47                                    Rico                                                           PLAINTIFFS)                                 Rico
    BOQUERON, PR 00622                                                                                       COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
568 RAMIREZ RODRIGUEZ,            06/27/18    17 BK 03566-LTS /             107640             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    NIVIA H                                   Employees Retirement                                           ALFREDO A, ET ALS                           Commonwealth of Puerto
    BOX 98                                    System of the Government                                       LCDO. GILBERTO                              Rico
    PALMER, PR 00721-0098                     of the Commonwealth of                                         RODRIGUEZ ZAYAS;
                                              Puerto Rico                                                    HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 491 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 493 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
569 RAMIREZ TORRES,              05/16/18    17 BK 03283-LTS /             15104                   $ 400.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NORMA I.                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PARCELAS TIBURON                         Rico                                                            PLAINTIFFS)                                Rico
    BUZON 66 CALLE 13                                                                                        COLLECTIVELY (THE
    BARCELONETA, PR                                                                                          BELTRAN CINTRON
    00617-3178                                                                                               PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 492 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 494 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
570 RAMIREZ TORRES,               06/11/18    17 BK 03283-LTS /             43310                 $ 4,432.78* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NORMA I                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PARCELAS TIBURON                          Rico                                                            PLAINTIFFS)                                Rico
    BUZON 66                                                                                                  COLLECTIVELY (THE
    CALLE 13                                                                                                  BELTRAN CINTRON
    BARCELONETA, PR                                                                                           PLAINTIFF GROUP")...
    00617-3178                                                                                                ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
571 RAMOS AYALA,                  09/16/19    17 BK 03283-LTS /             170906             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    MIGUEL A.                                 Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    BO. PROVIDENCIA HC-65                     Rico                                                           LCDO. GILBERTO                              Rico
    BUZON 6599                                                                                               RODRIGUEZ ZAYAS;
    PATILLAS, PR 00723-9100                                                                                  HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 493 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 495 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
572 RAMOS CAMACHO,                05/09/18    17 BK 03283-LTS /              12748              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DINORIS                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 448                                Rico                                                            PLANTIFFS)                                   System of the Government
    AGUAS BUENAS, PR                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    00703                                                                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 494 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 496 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
573 RAMOS CAMACHO,                05/09/18    17 BK 03283-LTS /              14042              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DINORIS                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 448                                Rico                                                            PLANTIFFS)                                   System of the Government
    AGUAS BUENAS, PR                                                                                          (COLLECTIVELY THE                            of the Commonwealth of
    00703                                                                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 495 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 497 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
574 RAMOS COLON,                 06/28/18    17 BK 03283-LTS /             116095             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JOSSETTE                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    JARD. DE PONCE CALLE                     Rico                                                           PLAINTIFFS)                                 Rico
    A F12                                                                                                   COLLECTIVELY (THE
    PONCE, PR 00730                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 496 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 498 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
575 RAMOS FUMERO,                 06/19/18    17 BK 03283-LTS /             105121              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    BLANCA A                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    15 CALLE CANITAS                          Rico                                                            PLANTIFFS)                                   System of the Government
    LAJAS, PR 00667                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 497 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 499 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
576 RAMOS LAMBERTY,               06/25/18    17 BK 03283-LTS /             163788             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA T                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 1 BOX 4410                             Rico                                                           PLAINTIFFS)                                 Rico
    LAS MARIAS, PR 00670-                                                                                    COLLECTIVELY (THE
    9631                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 498 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 500 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
577 RAMOS MARTINEZ,               05/23/18    17 BK 03283-LTS /             25503                $ 50,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DENISSE M                                 Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB PASEO DEL                             Rico                                                            PLAINTIFFS)                                Rico
    PARQUE                                                                                                    COLLECTIVELY (THE
    9                                                                                                         BELTRAN CINTRON
    AGUADILLA, PR 00603                                                                                       PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 499 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 501 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
578 RAMOS RIVAS, JUDITH           05/24/18    17 BK 03283-LTS /             18351                    $ 969.49 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    M.                                        Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 500 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 502 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
579 RAMOS SABATER, ROSA           04/12/18    17 BK 03283-LTS /              7255              Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    M                                         Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
    URB PUERTO NUEVO                          Rico                                                           COLLECTIVELY (THE                           System of the Government
    1233 CALLE 8 NE                                                                                          LOPEZ-ROSARIO                               of the Commonwealth of
    SAN JUAN, PR 00920-2446                                                                                  PLAINTIFF GROUP);                           Puerto Rico
                                                                                                             IVONNE GONZALEZ
                                                                                                             MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 501 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 503 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
580 RAMOS SANTIAGO,              06/29/18    17 BK 03283-LTS /             103210             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    RR 1 BOX 6678                            Rico                                                           PLAINTIFFS)                                 Rico
    GUAYAMA, PR 00784                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 502 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 504 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
581 RAMOS TORRES,                 05/24/18    17 BK 03283-LTS /             29463              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EVELYN N                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    118 AVE MONTEMAR                          Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 503 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 505 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
582 RAMOS VEGA, MARISOL           05/25/18    17 BK 03283-LTS /              26439                $ 64,068.00* PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    JUAN E. SERRANO                           Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    SANTIAGO                                  Rico                                                             PLAINTIFFS)                                System of the Government
    1321 CALLE GERANIO                                                                                         COLLECTIVELY (THE                          of the Commonwealth of
    URB. BUENAVENTURA                                                                                          "ACEVEDO AROCHO                            Puerto Rico
    PO BOX 70199                                                                                               PLAINTIFF GROUP")
    MAYAGUEZ, PR 00682-                                                                                        CIVIL CASE NUM. K AC
    1282                                                                                                       2005-5022
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
583 RAMOS, DAISY E.               06/26/18    17 BK 03566-LTS /              47224                $ 80,000.00* EDUCADORES                     06/29/18    17 BK 03283-LTS /             67462             $ 35,000,000.00*
    HC-01 BOX 4226                            Employees Retirement                                             PUERTORRIQUEÑOS EN                         Commonwealth of Puerto
    RINCON, PR 00677                          System of the Government                                         ACCIÓN, INC                                Rico
                                              of the Commonwealth of                                           BUFETE FRANCISCO R.
                                              Puerto Rico                                                      GONZÁLEZ
                                                                                                               1519 PONCE DE LEÓN
                                                                                                               AVE.
                                                                                                               SUITE 805
                                                                                                               SAN JUAN, PR 00909

    Reason: This claim is duplicative, in part, of Master Claim no. 67462, which was filed on behalf of all plaintiffs in the litigation captioned Educadores Puertorriqueños En Acción, Inc., et al. v. Rafael Ramón,
    et al., Case No. 2013-05-1716 (the “EPA Master Claim”). The plaintiffs in the litigation are employees of the Department of Education (“DOE”) who contend they were discriminated against by being
    unjustly excluded from certain salary increases. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis.
    Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the EPA Master Claim.

               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 504 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 506 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
584 RAMOS, EVELYN                  06/07/18    17 BK 03283-LTS /              56434              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    CORALES                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    URB SAN MIGUEL                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
    A 11 CALLE 2                                                                                               "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    CABO ROJO, PR 00623                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 505 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 507 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
585 REYES MOYET, RAMON            05/24/18    17 BK 03283-LTS /             46324              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    H                                         Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 70 BOX 30814                           Rico                                                           PLAINTIFFS)                                 Rico
    SAN LORENZO, PR 00754                                                                                    COLLECTIVELY (THE
    -9709                                                                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 506 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 508 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
586 REYES NIEVES,                 05/17/18    17 BK 03283-LTS /             16201               $ 130,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 1286                               Rico                                                            PLAINTIFFS)                                Rico
    UTUADO, PR 00641                                                                                          COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 507 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 509 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
587 REYES ORTIZ, SONIA I          05/25/18    17 BK 03283-LTS /             32117              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    TURABO GARDENS                            Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    2DA SECCION K56                           Rico                                                           PLAINTIFFS)                                 Rico
    CALLE 28                                                                                                 COLLECTIVELY (THE
    CAGUAS, PR 00725                                                                                         BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 508 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 510 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
588 RIOS FELICIANO,                04/20/18    17 BK 03283-LTS /              7863               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MIGUEL                                     Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 22                                  Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MARICAO, PR 00606                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 509 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 511 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
589 RIOS SANCHEZ, ALMA             05/24/18    17 BK 03283-LTS /              33789              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB. SANTA MARIA                           Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE 4 D-22                               Rico                                                            PLANTIFFS)                                   System of the Government
    SAN GERMAN, PR 00683                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 510 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 512 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
590 RIOS SANTIAGO,                 06/28/18    17 BK 03283-LTS /             124268              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-5 BOX 5452                              Rico                                                            PLANTIFFS)                                   System of the Government
    JUANA DIAZ, PR 00795-                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
    9876                                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 511 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 513 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
591 RIOS SANTIAGO,                 06/28/18    17 BK 03283-LTS /             138317              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-5 BOX 5452                              Rico                                                            PLANTIFFS)                                   System of the Government
    JUANA DIAZ, PR 00795-                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
    9876                                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 512 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 514 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
592 RIOS SANTIAGO,                 06/28/18    17 BK 03566-LTS /             162931              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M.                                  Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    HC - 5 BOX 5452                            System of the Government                                        PLANTIFFS)                                   System of the Government
    JUANA DIAZ, PR 00795-                      of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    9876                                       Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 513 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 515 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
593 RIVERA APONTE,                05/25/18    17 BK 03566-LTS /              23118                 $ 42,269.17* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    WALESKA L.                                Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    URB. COUNTRY CLUB                         System of the Government                                          PLANTIFFS)                                 System of the Government
    CALLE 254 HG 18                           of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    CAROLINA, PR 00982                        Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 514 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 516 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
594 RIVERA BENITEZ,                05/22/18    17 BK 03283-LTS /              17062                     $ 651.13 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    AMADOR                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 515 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 517 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
595 RIVERA BORRERO,                06/11/18    17 BK 03283-LTS /              50388              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ROSA ELENA                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    840 CALLE SAUCO EXT.                       Rico                                                            PLANTIFFS)                                   System of the Government
    DEL CARMEN                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    PONCE, PR 00716-2146                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
596 RIVERA BURGOS,                 04/27/18    17 BK 03283-LTS /               9161              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    EMILIO                                     Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    ALTURAS DE RIO                             Rico                                                            PO BOX 8700                                  Rico
    GRANDE                                                                                                     PMB120
    CALLE 22 V1158                                                                                             CAROLINA, PR 00988
    RIO GRANDE, PR 00745

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 516 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 518 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
597 RIVERA BURGOS,                04/27/18    17 BK 03566-LTS /              9157               Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    EMILIO                                    Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    ALTURAS DE RIO                            System of the Government                                        PO BOX 8700                                 Rico
    GRANDE                                    of the Commonwealth of                                          PMB120
    CALLE 22 V1158                            Puerto Rico                                                     CAROLINA, PR 00988
    RIO GRANDE, PR 00745

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 517 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 519 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
598 RIVERA                       06/26/18    17 BK 03283-LTS /             93611                $ 75,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARRASQUILLO,                            Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    DORAIMA                                  Rico                                                            PLAINTIFFS)                                Rico
    COLINAS DE FAIRVIEW                                                                                      COLLECTIVELY (THE
    4G-84 CALLE 219                                                                                          BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                        PLAINTIFF GROUP")...
    00976                                                                                                    ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 518 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 520 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
599 RIVERA CARTAGENA,            05/25/18    17 BK 03283-LTS /             33195              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CATHY                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 774                               Rico                                                           PLAINTIFFS)                                 Rico
    AGUAS BUENAS, PR                                                                                        COLLECTIVELY (THE
    00703-0774                                                                                              BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 519 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 521 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
600 RIVERA CARTAGENA,            05/25/18    17 BK 03283-LTS /             33224                $ 59,433.96* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CATHY                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PO BOX 774                               Rico                                                            PLAINTIFFS)                                Rico
    AGUAS BUENAS, PR                                                                                         COLLECTIVELY (THE
    00703                                                                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 520 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 522 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
601 RIVERA CARTAGENA,            05/25/18    17 BK 03566-LTS /             32662              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CATHY                                    Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 774                               System of the Government                                       PLAINTIFFS)                                 Rico
    AGUAS BUENAS, PR                         of the Commonwealth of                                         COLLECTIVELY (THE
    00703                                    Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 521 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 523 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
602 RIVERA CASANOVA,              07/05/18    17 BK 03283-LTS /             157293              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    EILEEN M                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    BARRIO SUSUA                              Rico                                                            COLLECTIVELLY (THE                           System of the Government
    CALLE LA ROSA 4                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    SABANA GRANDE, PR                                                                                         PLAINTIFF GROUP");                           Puerto Rico
    00637                                                                                                     CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 522 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 524 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
603 RIVERA CASANOVA,               05/01/18    17 BK 03283-LTS /              8421               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    EILEEN M.                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    P.O. BOX 314                               Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ENSENADA, PR 00647                                                                                         "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 523 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 525 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
604 RIVERA CENTENO ,              05/24/18    17 BK 03283-LTS /             24752^               $ 318,600.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    IVETTE                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB ROLLING HILLS                         Rico                                                            PLAINTIFFS)                                Rico
    C91 C BRASIL                                                                                              COLLECTIVELY (THE
    CAROLINA, PR 00987                                                                                        BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #24752 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 524 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 526 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
605 RIVERA CINTRON,              10/07/19    17 BK 03283-LTS /             171528               $ 46,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GISELA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    APARTADO 10061                           Rico                                                            PLAINTIFFS)                                Rico
    HUMACAO, PR 00792                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 525 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 527 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
606 RIVERA CINTRON,               05/30/18    17 BK 03283-LTS /              42905              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MARIA V                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC01 BOX 3361                             Rico                                                            COLLECTIVELLY (THE                           System of the Government
    HORMIGUEROS, PR                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    00660                                                                                                     PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 526 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 528 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE          CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED            DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
607 RIVERA CLEMENTE,              04/09/18   17 BK 03283-LTS /              6725^             $ 60,000,000.00 JUAN PÉREZ-COLÓN ET           06/29/18    17 BK 03566-LTS /            104175^            $ 1,469,956.00*
    FELIX                                    Commonwealth of Puerto                                           AL (324 PLAINTIFFS)                       Employees Retirement
    HC 1 BOX 9045                            Rico                                                             COLLECTIVELY (THE                         System of the Government
    LOIZA, PR 00772-9743                                                                                      "PÉREZ-COLÓN                              of the Commonwealth of
                                                                                                              PLAINTIFF GROUP")                         Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC1990-0487
                                                                                                              LCDA. IVONNE
                                                                                                              GONZÁLEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                             JUAN PÉREZ-COLÓN ET            05/31/18    17 BK 03283-LTS /             30851              $ 2,435,987.21
                                                                                                             AL (324 PLAINTIFFS)                        Commonwealth of Puerto
                                                                                                             COLLECTIVELY (THE                          Rico
                                                                                                             "PÉREZ-COLÓN
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC1990-0487
                                                                                                             LCDA. IVONNE
                                                                                                             GONZÁLEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 30851 and 104175, which were filed on behalf of all plaintiffs in the litigation captioned Juan Perez Colon et al. v. Puerto Rico Department of
    Transportation & Public Works, No. KAC1990-0487 (the “Perez Colon Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-
    86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim
    against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Perez Colon Master Claims.
    ^ Claim #6725 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #104175 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 527 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 529 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
608 RIVERA COLON, JOSE             06/27/18    17 BK 03567-LTS / Puerto      107125                 $ 211,497.65 ABRAHAM GIMÉNEZ ET             06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    JUAN J. VILELLA-                           Rico Highways and                                                 AL (1,046 PLAINTIFFS)                      Employees Retirement
    JANEIRO, ESQ.                              Transportation Authority                                          COLLECTIVELLY (THE                         System of the Government
    PMB 291 #1353 RD. 19                                                                                         "ABRAHAM GIMÉNEZ                           of the Commonwealth of
    GUAYNABO, PR 00966-                                                                                          PLAINTIFF GROUP");                         Puerto Rico
    2700                                                                                                         CIVIL CASE NUM. K
                                                                                                                 AC2013-1019 / TSPR AC
                                                                                                                 2016-0120, JORGE
                                                                                                                 ABRAHA M G IMÉ NEZ
                                                                                                                 PL AI N TIFF GR O UP
                                                                                                                 (1,046 PLAINTIFFS)
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 528 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 530 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
609 RIVERA COLON,                  06/07/18    17 BK 03283-LTS /              61474              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RAMONITA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB SANTA CLARA                            Rico                                                            PLANTIFFS)                                   System of the Government
    17 CALLE 1                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    SAN LORENZO, PR 00754                                                                                      "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 529 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 531 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
610 RIVERA CRUZ,                 05/24/18    17 BK 03283-LTS /             29511               $ 475,200.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BARBARA                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    BO PALMAS                                Rico                                                            PLAINTIFFS)                                Rico
    CALLE CUCHARILLAS                                                                                        COLLECTIVELY (THE
    256                                                                                                      BELTRAN CINTRON
    CATANO, PR 00962                                                                                         PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 530 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 532 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
611 RIVERA ENCARNACION,            05/24/18    17 BK 03283-LTS /              20306              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MADELINE                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 20135                               Rico                                                            PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00928-0135                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 531 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 533 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
612 RIVERA ESCALERA,               05/25/18    17 BK 03283-LTS /              21551              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JEANETTE                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    #69 AVE A RIVERA                           Rico                                                            PLANTIFFS)                                   System of the Government
    MORALES                                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
    SAN SEBASTIAN, PR                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
    00685                                                                                                      PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 532 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 534 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
613 RIVERA GARCIA,                 05/21/18    17 BK 03283-LTS /              36598              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RUBEN                                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 1237                                Rico                                                            PLANTIFFS)                                   System of the Government
    PENUELAS, PR 00624                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 533 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 535 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
614 RIVERA GONZALEZ,              06/28/18    17 BK 03283-LTS /             59419              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    AGUEDA M.                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB VILLAS DEL                            Rico                                                           PLAINTIFFS)                                 Rico
    PRADO                                                                                                    COLLECTIVELY (THE
    641 CALLE LAS VISTAS                                                                                     BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                    PLAINTIFF GROUP")...
    2751                                                                                                     ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 534 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 536 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
615 RIVERA GONZALEZ,              06/28/18    17 BK 03566-LTS /             59304              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    AGUEDA M.                                 Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    URB. VILLAS DEL                           System of the Government                                       PLAINTIFFS)                                 Rico
    PRADO                                     of the Commonwealth of                                         COLLECTIVELY (THE
    641 CALLE LAS VISTAS                      Puerto Rico                                                    BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                    PLAINTIFF GROUP")...
    2751                                                                                                     ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 535 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 537 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
616 RIVERA GONZALEZ,              06/28/18    17 BK 03567-LTS / Puerto      59387              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    AGUEDA M.                                 Rico Highways and                                              ET ALL (4,493                               Commonwealth of Puerto
    URB. VILLAS DEL                           Transportation Authority                                       PLAINTIFFS)                                 Rico
    PRADO                                                                                                    COLLECTIVELY (THE
    641 CALLE LAS VISTAS                                                                                     BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                    PLAINTIFF GROUP")...
    2751                                                                                                     ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 536 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 538 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
617 RIVERA HERNANDEZ,            05/25/18    17 BK 03283-LTS /             31837^               $ 280,800.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ZAIDA                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    LOMAS VERDES                             Rico                                                            PLAINTIFFS)                                Rico
    4417 YAGRUMO                                                                                             COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                        BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #31837 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 537 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 539 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
618 RIVERA IRIZARRY,              05/22/18    17 BK 03283-LTS /             33588              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB LOS REYES                             Rico                                                           PLAINTIFFS)                                 Rico
    91 CALLE BELEN                                                                                           COLLECTIVELY (THE
    JUANA DIAZ, PR 00795                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 538 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 540 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
619 RIVERA JIMENEZ,               05/11/18    17 BK 03283-LTS /             14637              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LYDIA                                     Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 2 BOX 20394                            Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 539 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 541 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
620 RIVERA LOPEZ, MARIA           05/18/18    17 BK 03283-LTS /              32682              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    V.                                        Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB MARIOLGA                              Rico                                                            PLANTIFFS)                                   System of the Government
    X-47 CALLE SAN                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    ALFONSO                                                                                                   "ACEVEDO CAMACHO                             Puerto Rico
    CAGUAS, PR 00725                                                                                          PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 540 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 542 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
621 RIVERA MARRERO,               05/29/18    17 BK 03283-LTS /              41805              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JOSE R                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB COUNTRY CLUB                          Rico                                                            PLANTIFFS)                                   System of the Government
    877 CALLE HYPOLIAS                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00924                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 541 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 543 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
622 RIVERA MARTINEZ,               06/27/18    17 BK 03283-LTS /             123152              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 7 BOX 2424                              Rico                                                            PLANTIFFS)                                   System of the Government
    PONCE, PR 00731                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
623 RIVERA MELENDEZ,               06/29/18    17 BK 03283-LTS /              89009               $ 150,000.00* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    RUTH J                                     Commonwealth of Puerto                                           OTROS KPE 1980-1738                         Commonwealth of Puerto
    (EDWIN J. CABAN                            Rico                                                             (805), TPI SAN JUAN                         Rico
    RIVERA)                                                                                                     GEORGETTI 78
    URB. VILLA FONTANA                                                                                          SAN JUAN, PR 00925
    VIA 36 CALLE 4 SN11
    CAROLINA, PR 00983

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 542 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 544 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
624 RIVERA MERCADO,               07/06/18    17 BK 03283-LTS /             159974              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    BRUNILDA                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    113 BARCELONA COURT                       Rico                                                            PLANTIFFS)                                   System of the Government
    APT 201                                                                                                   (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00907                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 543 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 545 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
625 RIVERA MONTALVO,              07/06/18    17 BK 03283-LTS /             139531              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ROSA                                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 41                                 Rico                                                            PLANTIFFS)                                   System of the Government
    SABANA GRANDE, PR                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
    00637-0041                                                                                                "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 544 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 546 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
626 RIVERA NEGRON,               07/09/18    17 BK 03283-LTS /            120252              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    MARISOL                                  Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    JARD DEL ESTE                            Rico                                                           PLAINTIFFS)                                System of the Government
    142 CALLE TABONUCO                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
    NAGUABO, PR 00718-                                                                                      "ABRAMS-DIAZ                               Puerto Rico
    2819                                                                                                    PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 545 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 547 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
627 RIVERA NUNEZ, GLORIA           06/25/18    17 BK 03283-LTS /             109229              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    I                                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    EXT. SANTA TERESITA                        Rico                                                            PLANTIFFS)                                   System of the Government
    3502 CALLE SANTA                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    JUANITA                                                                                                    "ACEVEDO CAMACHO                             Puerto Rico
    PONCE, PR 00730-4612                                                                                       PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
628 RIVERA OLIVO,                  11/04/19    17 BK 03283-LTS /             172216                 $ 26,000.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    LIZANDRA                                   Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    BOX 651                                    Rico                                                              LCDO. GILBERTO                             Rico
    VEGA ALTA, PR 00692                                                                                          RODRIGUEZ ZAYAS;
                                                                                                                 HC 2 BOX 6519
                                                                                                                 GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 546 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 548 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
629 RIVERA ORELLANA,               05/25/18    17 BK 03283-LTS /              22298                     $ 277.55 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    PRISCILLA                                  Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 547 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 549 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
630 RIVERA PEREZ,                  05/18/18    17 BK 03566-LTS /              28107              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN J.                                  Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    COND. CENTURY                              System of the Government                                        PLANTIFFS)                                   System of the Government
    GARDENS                                    of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    APT. B-4                                   Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    TOA BAJA, PR 00949                                                                                         PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 548 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 550 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
631 RIVERA PEREZ, JORGE           05/18/18    17 BK 03283-LTS /             16587              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    CALLE SAN IGNACIO                         Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    253                                       Rico                                                           PLAINTIFFS)                                System of the Government
    BO. SALUD                                                                                                COLLECTIVELY (THE                          of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                       "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 549 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 551 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
632 RIVERA PLAZA,                06/28/18    17 BK 03283-LTS /             123118             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN C.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    966 CALLE BRILLANTE                      Rico                                                           PLAINTIFFS)                                 Rico
    URB BRIGAS DEL                                                                                          COLLECTIVELY (THE
    LAUREL                                                                                                  BELTRAN CINTRON
    PONCE, PR 00780                                                                                         PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 550 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 552 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
633 RIVERA RIVERA,                05/24/18    17 BK 03283-LTS /             21147              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EUFEMIA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    100 CALLE MAR CARIBE                      Rico                                                           PLAINTIFFS)                                 Rico
    ISABELA, PR 00662-3373                                                                                   COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 551 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 553 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
634 RIVERA RIVERA,               05/24/18    17 BK 03566-LTS /             26253              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EUFEMIA                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    URB BRISAS DEL MAR                       System of the Government                                       PLAINTIFFS)                                 Rico
    CALLE MAR CARIBE 100                     of the Commonwealth of                                         COLLECTIVELY (THE
    ISABELA, PR 00662                        Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 552 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 554 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
635 RIVERA RIVERA,                05/08/18    17 BK 03283-LTS /              11097                 $ 11,912.69 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    FLORINDA                                  Commonwealth of Puerto                                           ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                             PLAINTIFFS)                                Rico
    MORALES                                                                                                    COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                           BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                    PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
636 RIVERA RIVERA,                05/21/18    17 BK 03566-LTS /              29284              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    HECTOR L                                  Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    VISTAMAR                                  System of the Government                                        PO BOX 8700                                 Rico
    130 CALLE                                 of the Commonwealth of                                          PMB120
    VALLADOLID                                Puerto Rico                                                     CAROLINA, PR 00988
    CAROLINA, PR 00983

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.

               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 553 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 555 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
637 RIVERA RIVERA,                05/21/18    17 BK 03283-LTS /              30897              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    HECTOR L.                                 Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    130 CALLE                                 Rico                                                            PO BOX 8700                                 Rico
    VALLADOLOD                                                                                                PMB120
    VISTAMA                                                                                                   CAROLINA, PR 00988
    CAROLINA, PR 00983

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 554 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 556 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
638 RIVERA RIVERA,                05/08/18    17 BK 03283-LTS /             10898                 $ 96,785.35 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 555 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 557 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
639 RIVERA RIVERA,                05/07/18    17 BK 03283-LTS /             10904                $ 52,941.92* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    COND PASEO DE LAS                         Rico                                                            PLAINTIFFS)                                Rico
    CUMBRES                                                                                                   COLLECTIVELY (THE
    345 CARR 852 STE 117                                                                                      BELTRAN CINTRON
    TRUJILLO ALTO, PR                                                                                         PLAINTIFF GROUP")...
    00967                                                                                                     ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 556 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 558 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
640 RIVERA RIVERA,                06/28/18    17 BK 03283-LTS /             120429             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 581                                   Rico                                                           PLAINTIFFS)                                 Rico
    SANTA ISABEL, PR 00757                                                                                   COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 557 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 559 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
641 RIVERA RIVERA,                06/28/18    17 BK 03283-LTS /             127245             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YOLANDA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BOX 581                                   Rico                                                           PLAINTIFFS)                                 Rico
    SANTA ISABEL, PR 00757                                                                                   COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
642 RIVERA ROCHE,                 05/29/18    17 BK 03283-LTS /             38482              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    RAFAEL                                    Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    URB SAN MARTIN I E 25                     Rico                                                           LCDO. GILBERTO                              Rico
    CALLE 5                                                                                                  RODRIGUEZ ZAYAS;
    JUANA DIAZ, PR 00795                                                                                     HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 558 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 560 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
643 RIVERA RODRIGUEZ,             05/22/18    17 BK 03283-LTS /              25982              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    AGUSTIN                                   Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    C-COLON NUM.26                            Rico                                                            PO BOX 8700                                 Rico
    CANTERA                                                                                                   PMB120
    SANTURCE, PR 00915                                                                                        CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.
644 RIVERA RODRIGUEZ,             05/22/18    17 BK 03566-LTS /              25808                $ 18,000.00* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    AGUSTIN                                   Employees Retirement                                             DE POLICIAS INC                            Commonwealth of Puerto
    #609 CALLE BRAZIL                         System of the Government                                         PO BOX 8700                                Rico
    BARRIO OBERO                              of the Commonwealth of                                           PMB120
    SAN JUAN, PR 00925                        Puerto Rico                                                      CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 559 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 561 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
645 RIVERA RODRIGUEZ,             06/29/18    17 BK 03566-LTS /             133080                 $ 40,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    GLORIA                                    Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    PO BOX 372                                System of the Government                                          PLANTIFFS)                                 System of the Government
    CANÓVANAS, PR 00729                       of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
                                              Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 560 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 562 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
646 RIVERA RODRIGUEZ,             05/21/18    17 BK 03283-LTS /             16862              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JOHANNA M.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-3 BOX 10920                            Rico                                                           PLAINTIFFS)                                 Rico
    SAN GERMAN, PR 00683                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
647 RIVERA RODRIGUEZ,             10/08/19    17 BK 03283-LTS /             171569             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    JUAN B                                    Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    PO BOX 737                                Rico                                                           LCDO. GILBERTO                              Rico
    ENSENADA, PR 00647                                                                                       RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 561 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 563 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
648 RIVERA ROLDAN,                06/29/18    17 BK 03567-LTS / Puerto     150424                $ 24,410.01* JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    REINALDO                                  Rico Highways and                                               DIAZ ET AL (1084                          Employees Retirement
    P.O. BOX 589                              Transportation Authority                                        PLAINTIFFS)                               System of the Government
    PATILLOS, PR 00723                                                                                        COLLECTIVELY (THE                         of the Commonwealth of
                                                                                                              "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 562 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 564 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
649 RIVERA ROSA,                   06/26/18    17 BK 03566-LTS /             138683^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MERALYS                                    Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE ROSENDO M.                           System of the Government                                        PLANTIFFS)                                   System of the Government
    CINTRON 59                                 of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    LUQUILLO, PR 00773                         Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #138683 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 563 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 565 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
650 RIVERA SANCHEZ, IRIS          07/29/20    17 BK 03283-LTS /             174618             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    M                                         Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    #56 CALLE 2B                              Rico                                                           PLAINTIFFS)                                 Rico
    HC02 BOX 9997                                                                                            COLLECTIVELY (THE
    COMUNIDAD SINGAPUR                                                                                       BELTRAN CINTRON
    JUANA DIAZ, PR 00795-                                                                                    PLAINTIFF GROUP")...
    9614                                                                                                     ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 564 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 566 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
651 RIVERA SANTIAGO,             06/28/18    17 BK 03283-LTS /             161622             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EVELINA                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    220 CALLE ROSA                           Rico                                                           PLAINTIFFS)                                 Rico
    FERRY BARRANCA                                                                                          COLLECTIVELY (THE
    PONCE, PR 00730                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 565 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 567 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
652 RIVERA SANTIAGO,               06/27/18    17 BK 03283-LTS /             106450              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARTA ENID                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    VISTAS LUGILLO II 527                      Rico                                                            PLANTIFFS)                                   System of the Government
    CALLE ESMERALDA                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    LUGUILLO, PR 00773                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 566 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
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                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
653 RIVERA SANTIAGO,              06/05/18    17 BK 03283-LTS /              35625              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    SONIA                                     Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 3146                               Rico                                                            COLLECTIVELLY (THE                           System of the Government
    GUAYAMA, PR 00785                                                                                         "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 567 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 569 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
654 RIVERA SANTOS,                05/21/18    17 BK 03283-LTS /             17619              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA DEL CARMEN                          Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC72 BOX 3661                             Rico                                                           PLAINTIFFS)                                 Rico
    NARANJITO, PR 00719                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 568 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 570 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
655 RIVERA SANTOS, NILSA           05/24/18    17 BK 03283-LTS /             29513^                 $ 432,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    M.                                         Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    313 PLEIADOS DEL                           Rico                                                              PLANTIFFS)                                 System of the Government
    YUNQUE                                                                                                       (COLLECTIVELY THE                          of the Commonwealth of
    RIO GRANDE, PR 00745                                                                                         "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #29513 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
656 RIVERA TORRES,                 06/28/18    17 BK 03283-LTS /             163071              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    CARLOS A.                                  Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    URB. BALDORIOTY                            Rico                                                            PO BOX 8700                                  Rico
    CALLE GUAJIRA #3305                                                                                        PMB120
    PONCE, PR 00728                                                                                            CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 569 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 571 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
657 RIVERA VALCAICEL,             07/13/18    17 BK 03283-LTS /             164985               $ 40,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARITZA                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    60 REY JORGE                              Rico                                                            PLAINTIFFS)                                Rico
    URB CAMPO REAL                                                                                            COLLECTIVELY (THE
    LAS PIEDRAS, PR 00771                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 570 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 572 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
658 RIVERA VAZQUEZ,               07/06/18    17 BK 03283-LTS /             164389             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    DAISY O                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 06 BOX 13700                           Rico                                                           PLAINTIFFS)                                 Rico
    COROZAL, PR 00783                                                                                        COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 571 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 573 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
659 RIVERA VAZQUEZ,                06/19/18    17 BK 03283-LTS /              89443              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NEYDA M                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    F-30 CALLE 4                               Rico                                                            PLANTIFFS)                                   System of the Government
    URB. SAN MARTIN                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    JUANA DIAZ, PR 00795                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 572 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 574 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
660 RIVERA VEGA, JOSÉ A.           05/10/18    17 BK 03283-LTS /              39483              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    BUZON RR2                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    BOX 2974                                   Rico                                                            COLLECTIVELLY (THE                           System of the Government
    AÑASCO, PR 00610                                                                                           "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 573 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 575 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
661 RIVERA, MIRTA JULIA            06/25/18    17 BK 03566-LTS /             60661^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB. SANTA MARIA                           Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE NAZARET                              System of the Government                                        PLANTIFFS)                                   System of the Government
    7835                                       of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    PONCE, PR 00717-1005                       Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #60661 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 574 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 576 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
662 ROBLES CHEVERE,              05/22/18    17 BK 03283-LTS /             30038              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MAGALY                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    A 3 VILLA BARCELONA                      Rico                                                           PLAINTIFFS)                                 Rico
    BARCELONETA, PR                                                                                         COLLECTIVELY (THE
    00617                                                                                                   BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 575 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 577 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
663 ROBLES ORTIZ, JESUS            05/24/18    17 BK 03283-LTS /              15826                      $ 27.20 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 576 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 578 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
664 ROBLES SIERRA,                 05/25/18    17 BK 03283-LTS /              22451                     $ 633.18 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RAMONITA                                   Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 577 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 579 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
665 ROCHE GONZALES,               06/28/18    17 BK 03566-LTS /             156041             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC-5 BOX 13109                            System of the Government                                       PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                     of the Commonwealth of                                         COLLECTIVELY (THE
    9512                                      Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 578 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 580 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
666 ROCHE GONZALEZ ,              06/28/18    17 BK 03566-LTS /             132762             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC 5 BOX 13109                            System of the Government                                       PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                     of the Commonwealth of                                         COLLECTIVELY (THE
    9512                                      Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 579 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 581 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
667 ROCHE GONZALEZ,               06/25/18    17 BK 03283-LTS /             57976              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 5 BOX 13109                            Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                                                                                    COLLECTIVELY (THE
    9512                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 580 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 582 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
668 ROCHE GONZALEZ,               06/28/18    17 BK 03283-LTS /             132535             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-5 BOX 13109                            Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                                                                                    COLLECTIVELY (THE
    9512                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 581 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 583 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
669 ROCHE GONZALEZ,               06/28/18    17 BK 03283-LTS /             138373             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-05 BOX 13109                           Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                                                                                    COLLECTIVELY (THE
    9512                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 582 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 584 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
670 ROCHE GONZALEZ,               06/28/18    17 BK 03283-LTS /             164608             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 5 BOX 13109                            Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                                                                                    COLLECTIVELY (THE
    9512                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 583 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 585 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
671 ROCHE GONZALEZ,               06/28/18    17 BK 03566-LTS /             117417             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC-05 BOX 13109                           System of the Government                                       PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                     of the Commonwealth of                                         COLLECTIVELY (THE
    9512                                      Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 584 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 586 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
672 ROCHE GONZALEZ,               06/28/18    17 BK 03566-LTS /             133697             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALTAGRACIA                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    HC-05 BOX 13109                           System of the Government                                       PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795-                     of the Commonwealth of                                         COLLECTIVELY (THE
    9512                                      Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 585 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 587 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
673 RODGRIGUEZ SANCHEZ,           05/29/18    17 BK 03283-LTS /              34154              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    JORGE L.                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 02 BOX 23410                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
    CABO ROJO, PR 00623                                                                                       "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 586 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 588 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
674 RODRIGUEZ                    06/28/18    17 BK 03283-LTS /             132137                $ 6,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ALBARRAN, CARMEN I.                      Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB SAN JOSE                             Rico                                                            PLAINTIFFS)                                Rico
    509 CALLE PADRE                                                                                          COLLECTIVELY (THE
    USERAS                                                                                                   BELTRAN CINTRON
    PONCE, PR 00728                                                                                          PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 587 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 589 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
675 RODRIGUEZ AYALA,             05/22/18    17 BK 03283-LTS /              23742              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    MARYLIN DEL C                            Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 3425                              Rico                                                            PLAINTIFFS)                                 Rico
    JUNCOS, PR 00777                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                              Employees Retirement
                                                                                                               PLAINTIFFS)                               System of the Government
                                                                                                               COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                          Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
676 RODRIGUEZ BIRRIEL,           05/21/18    17 BK 03566-LTS /              17952              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    CYNTHIA                                  Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    PO BOX 1170                              System of the Government                                        PO BOX 8700                                 Rico
    CANOVANAS, PR 00729                      of the Commonwealth of                                          PMB120
                                             Puerto Rico                                                     CAROLINA, PR 00988

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.


              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 588 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 590 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
677 RODRIGUEZ BRACERO,            05/24/18    17 BK 03283-LTS /              32364              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    JUAN R                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PARCELAS SAN                              Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ROMUALDO                                                                                                  "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    CALLE P BUZON 146                                                                                         PLAINTIFF GROUP");                           Puerto Rico
    HORMIGUEROS, PR                                                                                           CIVIL CASE NUM. K
    00660                                                                                                     AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 589 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 591 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
678 RODRIGUEZ BRACERO,            05/29/18    17 BK 03283-LTS /              38113              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    JUAN R                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PARC SAN ROMUALDO                         Rico                                                            COLLECTIVELLY (THE                           System of the Government
    145 CALLE P                                                                                               "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    HORMIGUEROS, PR                                                                                           PLAINTIFF GROUP");                           Puerto Rico
    00660                                                                                                     CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 590 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 592 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
679 RODRIGUEZ BURGOS,             06/19/18    17 BK 03566-LTS /             39496^              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LUZ I.                                    Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    URB. SANTA ROSA                           System of the Government                                        PLANTIFFS)                                   System of the Government
    CALLE 11 #29-7                            of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    BAYAMON, PR 00959                         Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #39496 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 591 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 593 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
680 RODRIGUEZ                    05/24/18    17 BK 03283-LTS /             14875              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CANDELARIA, ZULMA I                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 3 BOX 51602                           Rico                                                           PLAINTIFFS)                                 Rico
    HATILLO, PR 00659                                                                                       COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 592 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 594 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
681 RODRIGUEZ CARDI,              05/24/18    17 BK 03283-LTS /             31424^               $ 691,200.00* MADELINE ACEVEDO                06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ENEROLIZA                                 Commonwealth of Puerto                                           CAMACHO ET AL. (2,818                       Employees Retirement
    CALLE RAFAEL                              Rico                                                             PLANTIFFS)                                  System of the Government
    ALONZO TORRES #1765                                                                                        (COLLECTIVELY THE                           of the Commonwealth of
    SAN JUAN, PR 00921                                                                                         "ACEVEDO CAMACHO                            Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #31424 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 593 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 595 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
682 RODRIGUEZ CARDI,              05/24/18    17 BK 03566-LTS /             27607^                 $ 161,191.44 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ENEROLIZA                                 Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    CALLE RAFAEL                              System of the Government                                          PLANTIFFS)                                 System of the Government
    ALONZO TORRES #1765                       of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00921                        Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #27607 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #27607 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
683 RODRIGUEZ CINTRON,            05/25/18    17 BK 03283-LTS /              25628              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    ISMAEL                                    Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    199-31 BO DAGUAO                          Rico                                                            PO BOX 8700                                  Rico
    NAGUABO, PR 00718-                                                                                        PMB120
    3104                                                                                                      CAROLINA, PR 00988

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 594 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 596 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
684 RODRIGUEZ CIUTROU,           10/16/19   17 BK 03283-LTS /             171817                $ 18,490.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    LUIS A.                                 Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    #13 SANTIAGO VIDARTE                    Rico                                                             LCDO. GILBERTO                            Rico
    YABUCOA, PR 00767                                                                                        RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 595 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 597 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
685 RODRIGUEZ DE JESUS ,          06/28/18    17 BK 03283-LTS /             111483             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NELIDA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 1789                               Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 596 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 598 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
686 RODRIGUEZ DE JESUS,           06/28/18    17 BK 03283-LTS /             124203             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NELIDA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    P.O. BOX 1789                             Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 597 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 599 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
687 RODRIGUEZ DE JESUS,           06/28/18    17 BK 03283-LTS /             129973             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NELIDA                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 1789                               Rico                                                           PLAINTIFFS)                                 Rico
    JUANA DIAZ, PR 00795                                                                                     COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 598 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 600 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
688 RODRIGUEZ FELICIANO,          04/18/18    17 BK 03283-LTS /              7589               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    EPIFANIO                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    CARR 348 KM 5.8 BOX                       Rico                                                            COLLECTIVELLY (THE                           System of the Government
    22532                                                                                                     "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 599 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 601 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
689 RODRIGUEZ GONZALEZ,           05/24/18    17 BK 03566-LTS /             18905^              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    TANYA                                     Employees Retirement                                            ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 13871                              System of the Government                                        PLAINTIFFS)                                 Rico
    SAN JUAN, PR 00908-3871                   of the Commonwealth of                                          COLLECTIVELY (THE
                                              Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #18905 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
690 RODRIGUEZ GUZMAN,             06/29/18    17 BK 03283-LTS /             151140              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    MILAGROS                                  Commonwealth of Puerto                                          OTROS KPE 1980-1738                         Commonwealth of Puerto
    2574 CALLE COLOSO                         Rico                                                            (805), TPI SAN JUAN                         Rico
    PONCE, PR 00717                                                                                           GEORGETTI 78
                                                                                                              SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.

               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 600 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 602 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
691 RODRIGUEZ                     06/29/18    17 BK 03283-LTS /              41506              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HERNANDEZ, LUZ S                          Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    P O BOX 236                               Rico                                                            PLAINTIFFS)                                 Rico
    OROCOVIS, PR 00720                                                                                        COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
692 RODRÍGUEZ                     06/22/18    17 BK 03283-LTS /              38199              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    HERNÁNDEZ, MARÍA                          Commonwealth of Puerto                                          OTROS KPE 1980-1738                         Commonwealth of Puerto
    2C-6 CALLE13                              Rico                                                            (805), TPI SAN JUAN                         Rico
    URB. LA PROVIDENCIA                                                                                       GEORGETTI 78
    TOA ALTA, PR 00953                                                                                        SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 601 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 603 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
693 RODRIGUEZ                     06/06/18    17 BK 03283-LTS /              60499              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    LAUREANO, WANDA                           Commonwealth of Puerto                                          OTROS KPE 1980-1738                         Commonwealth of Puerto
    JOSEFINA PANTOJA                          Rico                                                            (805), TPI SAN JUAN                         Rico
    OQUENDO                                                                                                   GEORGETTI 78
    PO BOX 21370                                                                                              SAN JUAN, PR 00925
    SAN JUAN, PR 00928

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 602 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 604 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
694 RODRIGUEZ LOPEZ,             07/05/18    17 BK 03566-LTS /            146187^             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARILITZA                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 781                               System of the Government                                       PLAINTIFFS)                                 Rico
    CIALES, PR 00638                         of the Commonwealth of                                         COLLECTIVELY (THE
                                             Puerto Rico                                                    BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #146187 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 603 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 605 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
695 RODRIGUEZ LYDIA,              06/28/18    17 BK 03283-LTS /             138310              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ALVAREZ                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE JUAN DE JESUS                       Rico                                                            PLANTIFFS)                                   System of the Government
    #14                                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
    URB. MONSERRATE                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
    JAYUYA, PR 00664                                                                                          PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 604 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 606 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
696 RODRIGUEZ MARRERO,           04/16/18    17 BK 03567-LTS / Puerto       5502              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    RAMON                                    Rico Highways and                                              DIAZ ET AL (1084                           Employees Retirement
    PO BOX 739                               Transportation Authority                                       PLAINTIFFS)                                System of the Government
    HORMIGUEROS, PR                                                                                         COLLECTIVELY (THE                          of the Commonwealth of
    00660-0739                                                                                              "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 605 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 607 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
697 RODRIGUEZ MARTINEZ,          07/03/18    17 BK 03283-LTS /            121434              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    JUAN                                     Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC 1 BOX 16669                           Rico                                                           PLAINTIFFS)                                System of the Government
    HUMACAO, PR 00791-                                                                                      COLLECTIVELY (THE                          of the Commonwealth of
    9003                                                                                                    "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 606 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 608 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
698 RODRIGUEZ MEDINA,             05/30/18    17 BK 03283-LTS /             29402              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN B                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    500 ROBERTO H. TODD                       Rico                                                           PLAINTIFFS)                                 Rico
    P.O. BOX 8000                                                                                            COLLECTIVELY (THE
    SANTURCE, PR 00910                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 607 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 609 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
699 RODRIGUEZ MERCADO,            06/07/18    17 BK 03283-LTS /              54320              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    DAMARIS                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-01 BOX 8238                            Rico                                                            PLANTIFFS)                                   System of the Government
    HATILLO, PR 00659                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
700 RODRIGUEZ MERCADO,            10/08/19    17 BK 03283-LTS /             171558              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    LUIS A                                    Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    PO BOX 944                                Rico                                                            LCDO. GILBERTO                               Rico
    PATILLAS, PR 00723                                                                                        RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 608 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 610 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
701 RODRIGUEZ MILLAN,            05/09/18    17 BK 03283-LTS /             12811                  $ 5,000.00* DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    GLADYS                                   Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    118 PROLONGACION 25                      Rico                                                             COLLECTIVELY (THE                         System of the Government
    DE JULIO                                                                                                  LOPEZ-ROSARIO                             of the Commonwealth of
    YAUCO, PR 00698                                                                                           PLAINTIFF GROUP);                         Puerto Rico
                                                                                                              IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 609 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 611 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
702 RODRIGUEZ MILLAN,            06/28/18    17 BK 03283-LTS /             163083             Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    GLADYS                                   Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
    118 PROLONGACION 25                      Rico                                                           COLLECTIVELY (THE                           System of the Government
    DE JULIO                                                                                                LOPEZ-ROSARIO                               of the Commonwealth of
    YAUCO, PR 00698                                                                                         PLAINTIFF GROUP);                           Puerto Rico
                                                                                                            IVONNE GONZALEZ
                                                                                                            MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 610 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 612 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
703 RODRIGUEZ                     04/25/18    17 BK 03283-LTS /              8803               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MONTALVO, NOEL                            Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    URB. ALTURAS                              Rico                                                            COLLECTIVELLY (THE                           System of the Government
    SABANERAS                                                                                                 "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    CALLE E92                                                                                                 PLAINTIFF GROUP");                           Puerto Rico
    SABANA GRANDE, PR                                                                                         CIVIL CASE NUM. K
    00637                                                                                                     AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 611 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 613 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
704 RODRIGUEZ                    01/29/20   17 BK 03283-LTS /             173077                 $ 20,822.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    MONTALVO, WILLIAM                       Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    PO BOX 9477                             Rico                                                             LCDO. GILBERTO                            Rico
    BAYAMON, PR 00960                                                                                        RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.
705 RODRIGUEZ                    01/13/20   17 BK 03283-LTS /             177971                $ 208,822.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    MONTALVO, WILLIAM                       Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    PO BOX 9477                             Rico                                                             LCDO. GILBERTO                            Rico
    BAYAMON, PR                                                                                              RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 612 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 614 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
706 RODRIGUEZ MORALES,            02/18/20    17 BK 03283-LTS /             173319              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    AUREA                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    BO. APEADERO SECTOR                       Rico                                                            PLANTIFFS)                                   System of the Government
    LOS MACHUCHALES                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    P.O. BOX 805                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
    PATILLAS, PR 00723                                                                                        PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 613 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 615 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
707 RODRIGUEZ MORALES,            05/10/18    17 BK 03283-LTS /              13974              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARIA M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CALLE ACEROLA B-8                         Rico                                                            PLANTIFFS)                                   System of the Government
    VILLA CRIOLLOS                                                                                            (COLLECTIVELY THE                            of the Commonwealth of
    CAGUAS, PR 00725                                                                                          "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 614 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 616 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
708 RODRIGUEZ NEGRON,             05/29/18    17 BK 03283-LTS /             38383              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VIRGEN Y                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB VISTA ALEGRE                          Rico                                                           PLAINTIFFS)                                 Rico
    1106 CALLE TRINITARIA                                                                                    COLLECTIVELY (THE
    VILLALBA, PR 00766                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
709 RODRIGUEZ OLIVERAS,           07/17/18    17 BK 03283-LTS /             167568               $ 21,600.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    DIONISIO                                  Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    P.O BOX 561100                            Rico                                                            LCDO. GILBERTO                             Rico
    GUAYANILLA, PR 00656                                                                                      RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 615 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 617 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
710 RODRIGUEZ OLIVERAS,           07/17/18   17 BK 03283-LTS /             124401                $ 11,400.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    MARTIN                                   Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    PO BOX 561208                            Rico                                                             LCDO. GILBERTO                            Rico
    GUAYANILLA, PR 00656-                                                                                     RODRIGUEZ ZAYAS;
    3208                                                                                                      HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 616 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 618 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
711 RODRIGUEZ OLIVERAS,          05/18/18    17 BK 03283-LTS /             20526^               $ 493,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MIRIAM                                   Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    CALLE 129 BX-27                          Rico                                                            PLAINTIFFS)                                Rico
    JARDINES DE COUNTRY                                                                                      COLLECTIVELY (THE
    CLUB                                                                                                     BELTRAN CINTRON
    CAROLINA, PR 00985                                                                                       PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #20526 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 617 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 619 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
712 RODRIGUEZ OLMEDA,             05/09/18    17 BK 03283-LTS /              11944              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVETTE                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    BO LAVADERO                               Rico                                                            PLANTIFFS)                                   System of the Government
    62 CALLE BOSQUE                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    HORMIGUEROS, PR                                                                                           "ACEVEDO CAMACHO                             Puerto Rico
    00660                                                                                                     PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 618 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 620 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
713 RODRIGUEZ RAMOS,              05/30/18    17 BK 03283-LTS /              25257              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MIGDALIA                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PMB 249                                   Rico                                                            COLLECTIVELLY (THE                           System of the Government
    PO BOX 1810                                                                                               "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00681                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 619 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 621 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
714 RODRIGUEZ RIVAS,              06/12/18    17 BK 03566-LTS /             63733              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA S.                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    URB. VILLA DE                             System of the Government                                       PLAINTIFFS)                                 Rico
    PATILLAS                                  of the Commonwealth of                                         COLLECTIVELY (THE
    125 CALLE CUARZO                          Puerto Rico                                                    BELTRAN CINTRON
    PATILLAS, PR 00723                                                                                       PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
715 RODRIGUEZ                     10/02/19    17 BK 03283-LTS /             171294             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    RODRIGUEZ, CARLOS                         Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    W.                                        Rico                                                           LCDO. GILBERTO                              Rico
    HC 64 BUZON 7346                                                                                         RODRIGUEZ ZAYAS;
    PATILLAS, PR 00723                                                                                       HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 620 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 622 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
716 RODRIGUEZ                     05/25/18   17 BK 03566-LTS /              30160                $ 192,383.07 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    RODRIGUEZ, JOSE M                        Employees Retirement                                             ALFREDO A, ET ALS                         Commonwealth of Puerto
    P.O. BOX 16142                           System of the Government                                         LCDO. GILBERTO                            Rico
    SAN JUAN, PR 16142                       of the Commonwealth of                                           RODRIGUEZ ZAYAS;
                                             Puerto Rico                                                      HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
717 RODRIGUEZ                     09/13/19   17 BK 03283-LTS /             170749              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    RODRIGUEZ, JOSE M.                       Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    PO BOX 16142                             Rico                                                            LCDO. GILBERTO                             Rico
    SAN JUAN, PR 00908                                                                                       RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
718 RODRIGUEZ                     11/05/19   17 BK 03283-LTS /             172277              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    RODRIGUEZ, ROBERTO                       Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    PO BOX 451                               Rico                                                            LCDO. GILBERTO                             Rico
    ARROYO, PR 00714                                                                                         RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 621 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 623 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
719 RODRIGUEZ RUIZ,              04/20/18    17 BK 03283-LTS /              7866               Undetermined* JEANNETTE ABRAMS-               06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    GEMINELLY                                Commonwealth of Puerto                                          DIAZ ET AL (1084                            Employees Retirement
    71 CALLE LOS ANGELES                     Rico                                                            PLAINTIFFS)                                 System of the Government
    ANASCO, PR 00610                                                                                         COLLECTIVELY (THE                           of the Commonwealth of
                                                                                                             "ABRAMS-DIAZ                                Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                               DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                               Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ABRAHAM DIAZ
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2005-5021
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
720 RODRIGUEZ SANTIAGO,          05/29/18    17 BK 03283-LTS /              37917              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    AURELIO                                  Commonwealth of Puerto                                          DE POLICIAS INC                             Commonwealth of Puerto
    PO BOX 1241                              Rico                                                            PO BOX 8700                                 Rico
    CANOVANAS, PR 00729                                                                                      PMB120
                                                                                                             CAROLINA, PR 00988

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 622 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 624 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
721 RODRIGUEZ TORRES,             06/29/18   17 BK 03283-LTS /             145845                 $ 20,000.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    JOSE I                                   Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    MSC 097                                  Rico                                                             LCDO. GILBERTO                            Rico
    PO BOX 6004                                                                                               RODRIGUEZ ZAYAS;
    VILLALBA, PR 00766                                                                                        HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 623 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 625 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
722 RODRIGUEZ VALENTIN,           09/20/19    17 BK 03283-LTS /             170992              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IRMA I                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    P.O. BOX 112                              Rico                                                            PLANTIFFS)                                   System of the Government
    LAS MARIAS, PR 00670                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
723 RODRIGUEZ VAZQUEZ,            09/30/19    17 BK 03283-LTS /             171216                 $ 24,000.00* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    RAFAEL A.                                 Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    HC 4 BOX 11991                            Rico                                                              LCDO. GILBERTO                             Rico
    YAUCO, PR 00698                                                                                             RODRIGUEZ ZAYAS;
                                                                                                                HC 2 BOX 6519
                                                                                                                GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 624 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 626 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
724 RODRIGUEZ                      07/06/18    17 BK 03283-LTS /             159079                 $ 600,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    VELAZQUEZ, IRIS O.                         Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    P.O. BOX 173                               Rico                                                              PLANTIFFS)                                 System of the Government
    GURABO, PR 00778                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 625 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 627 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
725 RODRIGUEZ ZAYAZ,               07/06/18    17 BK 03283-LTS /             158462              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ANA L.                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC1 BOX 6200                               Rico                                                            PLANTIFFS)                                   System of the Government
    CIALES, PR 00638                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
726 RODRIGUEZ, LUIS A.             06/27/18    17 BK 03283-LTS /              54896               $ 1,000,000.00 MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    RIVERA MUNICH &                            Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    HERNANDEZ                                  Rico                                                              LCDO. GILBERTO                             Rico
    PO BOX 364908                                                                                                RODRIGUEZ ZAYAS;
    SAN JUAN, PR 00936-4908                                                                                      HC 2 BOX 6519
                                                                                                                 GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 626 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 628 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
727 ROHENA DIAZ, HECTOR          05/11/18    17 BK 03283-LTS /             14664              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    L                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 03 BOX 9259                           Rico                                                           PLAINTIFFS)                                 Rico
    GURABO, PR 00778                                                                                        COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 627 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 629 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
728 ROLDAN DAUMONT,               06/29/18    17 BK 03283-LTS /             119076             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    WANDA I.                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CALLE 400 MC#4                            Rico                                                           PLAINTIFFS)                                 Rico
    4TA EXT COUNTRY                                                                                          COLLECTIVELY (THE
    CLUB                                                                                                     BELTRAN CINTRON
    CAROLINA, PR 00982                                                                                       PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 628 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 630 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
729 ROLON ORTEGA,                 06/04/18    17 BK 03283-LTS /             51735              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN M                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BO MOSQUITO                               Rico                                                           PLAINTIFFS)                                 Rico
    PDA 6 BUZON 1525                                                                                         COLLECTIVELY (THE
    AGUIRRE, PR 00704                                                                                        BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 629 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 631 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
730 ROLON ORTEGA,                 06/04/18    17 BK 03566-LTS /             37567^             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN M                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    BO MOSQUITO                               System of the Government                                       PLAINTIFFS)                                 Rico
    PDA 6 BUZON 1525                          of the Commonwealth of                                         COLLECTIVELY (THE
    AGUIRRE, PR 00704                         Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #37567 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 630 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 632 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
731 ROLON ORTEGA,                06/04/18    17 BK 03283-LTS /             38583              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    CARMEN M.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BO MOSQUITO POLA 6                       Rico                                                           PLAINTIFFS)                                 Rico
    BZN - 1525                                                                                              COLLECTIVELY (THE
    AGUIRE, PR 00704                                                                                        BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 631 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 633 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
732 ROMAN MALDONADO,              05/29/18    17 BK 03283-LTS /              45051              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    YELITZA                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB. DIPLO 707                            Rico                                                            PLANTIFFS)                                   System of the Government
    CALLE FLAMBOYAN                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
    NAGUABO, PR 00718                                                                                         "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 632 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 634 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
733 ROMAN ROLDAN,                 06/06/18    17 BK 03283-LTS /             51417                $ 40,072.87* JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    CARMEN                                    Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    URB VISTA VERDE                           Rico                                                            PLAINTIFFS)                               System of the Government
    542 CALLE 16                                                                                              COLLECTIVELY (THE                         of the Commonwealth of
    AGUADILLA, PR 00603                                                                                       "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 633 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 635 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
734 ROMERO CASTRO,                06/07/18    17 BK 03283-LTS /             95222              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    IVELISSE                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    REPTO. SAN JOSE                           Rico                                                           PLAINTIFFS)                                 Rico
    375 CALLE BLANES                                                                                         COLLECTIVELY (THE
    SAN JUAN, PR 00923                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 634 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 636 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
735 RONDON PAGAN,                 06/07/18    17 BK 03283-LTS /             42894              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JANETTE                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 5 BOX 7403                             Rico                                                           PLAINTIFFS)                                 Rico
    GUAYNABO, PR 00971-                                                                                      COLLECTIVELY (THE
    9595                                                                                                     BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 635 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 637 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
736 ROQUE RIVAS, BOLIVAR          04/20/18    17 BK 03283-LTS /               7824              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB. VILLA                                Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    ANDALUCIA TUDELA #0                       Rico                                                            PLANTIFFS)                                   System of the Government
    -14                                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
    SAN JUAN, PR 00926                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 636 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 638 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
737 ROSADO CRUZ, MARIA             05/25/18    17 BK 03283-LTS /              23166                     $ 553.98 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 637 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 639 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
738 ROSADO CRUZ, MARIA            05/25/18    17 BK 03566-LTS /             28898^                  $ 45,268.58 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    C/ YUQUIBO M-5                            Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    VILLASBA CAREY                            System of the Government                                          PLANTIFFS)                                 System of the Government
    TRUJILLO ALTO, PR                         of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    00976                                     Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #28898 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
   Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 638 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 640 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
739 ROSADO RODRIGUEZ,            06/28/18    17 BK 03283-LTS /             71873                 $ 10,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    NILSA                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    PUERTO REAL CALLE 1                      Rico                                                            PLAINTIFFS)                                Rico
    CASA 573                                                                                                 COLLECTIVELY (THE
    CABO ROJO, PR 00623                                                                                      BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
740 ROSADO SOTO, ANDRES          06/04/18    17 BK 03283-LTS /             46067              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HC 02 BOX 6348                           Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    LARES, PR 00669                          Rico                                                           LCDO. GILBERTO                              Rico
                                                                                                            RODRIGUEZ ZAYAS;
                                                                                                            HC 2 BOX 6519
                                                                                                            GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 639 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 641 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
741 ROSADO, JARITZA               05/23/18    17 BK 03283-LTS /             26122              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    FELICIANO                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 3 BOX 6395                             Rico                                                           PLAINTIFFS)                                 Rico
    RINCON, PR 00677                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 640 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 642 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
742 ROSARIO BESTARD, IRIS         05/09/18    17 BK 03283-LTS /             11951                 $ 19,809.70 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    N                                         Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 641 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 643 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
743 ROSARIO DEL RIO,               07/02/18    17 BK 03283-LTS /             144930              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARMEN M.                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-2 BOX 8538                              Rico                                                            PLANTIFFS)                                   System of the Government
    CIALES, PR 00638-9753                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 642 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 644 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
744 ROSARIO MAISONET,            05/19/18    17 BK 03283-LTS /             12676                  $ 73,800.00 DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    SONIA                                    Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    300 ESTANCIAS DE                         Rico                                                             COLLECTIVELY (THE                         System of the Government
    BARCELONETA                                                                                               LOPEZ-ROSARIO                             of the Commonwealth of
    CALLE ESCORPORA                                                                                           PLAINTIFF GROUP);                         Puerto Rico
    BARCELONETA, PR                                                                                           IVONNE GONZALEZ
    00617-2415                                                                                                MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 643 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 645 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
745 ROSARIO RAMIREZ,               01/24/20    17 BK 03283-LTS /             173179                 $ 417,600.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JOHN F.                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    P.O. BOX 9022183                           Rico                                                              PLANTIFFS)                                 System of the Government
    SAN JUAN, PR 00902-2183                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 644 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 646 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
746 ROSARIO RAMOS, EDDA           06/28/18    17 BK 03283-LTS /              67077              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    I                                         Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 146                                Rico                                                            PLANTIFFS)                                   System of the Government
    BO LA PLATA                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
    AIBONITO, PR 00786                                                                                        "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 645 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 647 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
747 ROSARIO SANCHEZ,              05/25/18    17 BK 03283-LTS /              21424              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VANESSA                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    RR #10 BOX 10032                          Rico                                                            PLAINTIFFS)                                 Rico
    SAN JUAN, PR 00926                                                                                        COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
748 ROSARIO TORRES, IRMA          06/29/18    17 BK 03283-LTS /              71972               $ 150,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    PO BOX 253                                Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    BARRANQUITAS, PR                          Rico                                                             (805), TPI SAN JUAN                        Rico
    00794                                                                                                      GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 646 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 648 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
749 ROSARIO TORRES,              05/24/18    17 BK 03283-LTS /             33037              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OLGA N                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    P O BOX 371113                           Rico                                                           PLAINTIFFS)                                 Rico
    CAYEY, PR 00737                                                                                         COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 647 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 649 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
750 ROSARIO, DIANA                 06/27/18    17 BK 03283-LTS /              72894                    $ 888.33* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ESPADA                                     Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 648 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 650 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
751 ROSARIO, MILAGROS            06/06/18    17 BK 03283-LTS /             49234              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    SANTIAGO                                 Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    CALLE GUAYANES G 12                      Rico                                                           PLAINTIFFS)                                System of the Government
    177                                                                                                     COLLECTIVELY (THE                          of the Commonwealth of
    URB. ESTANCIAS DEL                                                                                      "ABRAMS-DIAZ                               Puerto Rico
    RIO                                                                                                     PLAINTIFF GROUP")
    HORMIGUEROS, PR                                                                                         CIVIL CASE NUM. K
    00660                                                                                                   AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 649 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 651 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
752 ROSAS ROJAS, MARITZA           05/03/18    17 BK 03283-LTS /              11379              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    RES CARMEN                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    EDIF 14 APT 143                            Rico                                                            PLANTIFFS)                                   System of the Government
    MAYAGUEZ, PR 00680                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
753 RUIZ CASTILLO, IRMA I          10/17/19    17 BK 03283-LTS /             171796              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    URB LOS COOHOS CALL                        Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    BAMBU 1223                                 Rico                                                            LCDO. GILBERTO                               Rico
    PONCE, PR 00716                                                                                            RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 650 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 652 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
754 RUIZ CASTILLO, IRMA I.        06/15/18   17 BK 03283-LTS /              59992              Undetermined* MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    URB LOS CAOBOS                           Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    CALLE BAMBU 1223                         Rico                                                            LCDO. GILBERTO                             Rico
    PONCE, PR 00716                                                                                          RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.
755 RUIZ DE JESUS, JOSE R         12/20/19   17 BK 03283-LTS /             172854                $ 12,500.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HC 64 BOX 8134                           Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    PATILLAS, PR 00723                       Rico                                                             LCDO. GILBERTO                            Rico
                                                                                                              RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 651 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 653 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
756 RUIZ DIAZ, CARMEN             06/27/18    17 BK 03283-LTS /             113880             Undetermined* DELFINA LÓPEZ                   06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    PO BOX 800047                             Commonwealth of Puerto                                         ROSARIO ET AL                               Employees Retirement
    COTO LAUREL, PR 00780                     Rico                                                           COLLECTIVELY (THE                           System of the Government
    -0047                                                                                                    LOPEZ-ROSARIO                               of the Commonwealth of
                                                                                                             PLAINTIFF GROUP);                           Puerto Rico
                                                                                                             IVONNE GONZALEZ
                                                                                                             MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                               DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                               ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                               COLLECTIVELY (THE                         Rico
                                                                                                               LOPEZ-ROSARIO
                                                                                                               PLAINTIFF GROUP)
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
    Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
    who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
    ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
757 RUIZ LEDEE, UZZIEL            09/19/19    17 BK 03283-LTS /             171028                 $ 10,965.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /              152372            $ 17,590,927.76
    AT-3 CALLE 46 LA                          Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    HACIENDO                                  Rico                                                             LCDO. GILBERTO                            Rico
    GUAYAMA, PR 00784                                                                                          RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 652 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 654 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
758 RUIZ LOPEZ, ROSA               05/29/18    17 BK 03283-LTS /              34112              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    APARTADO 1607                              Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    SAN GERMAN, PR 00683                       Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 653 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 655 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
759 RUIZ PAGAN, KHAIRY J          05/23/18    17 BK 03283-LTS /             19237              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    URB JARD DE                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    VALENCIANO                                Rico                                                           PLAINTIFFS)                                 Rico
    B 6 CALLE ORQUIDEA                                                                                       COLLECTIVELY (THE
    JUNCOS, PR 00777                                                                                         BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 654 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 656 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
760 RUIZ PAGÁN, KHAIRY J          05/23/18    17 BK 03283-LTS /             19125              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    URB. JARDINES DEL                         Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    VALENCIANO                                Rico                                                           PLAINTIFFS)                                 Rico
    CALLE ORQUIDEA B-6                                                                                       COLLECTIVELY (THE
    JUNOS, PR 00777                                                                                          BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 655 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 657 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
761 RUIZ PAGAN, LIZZIE J.         02/18/20    17 BK 03283-LTS /            173254^               $ 115,200.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JARD. VALENCIANO                          Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    ORQUIDEA B6                               Rico                                                            PLAINTIFFS)                                Rico
    JUNCOS, PR 00777                                                                                          COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #173254 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 656 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 658 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
762 RUIZ RIVERA, ROSA I           05/22/18    17 BK 03283-LTS /             25183              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 805                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CIDRA, PR 00739                           Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 657 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 659 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
763 RUIZ, GEMINELLY              04/20/18    17 BK 03283-LTS /              7918              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    RODRIGUEZ                                Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    71 CALLE LOS ANGELES                     Rico                                                           PLAINTIFFS)                                System of the Government
    ANASCO, PR 00610                                                                                        COLLECTIVELY (THE                          of the Commonwealth of
                                                                                                            "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 658 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 660 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
764 SABALIER RIOS,               06/29/18    17 BK 03283-LTS /              84289              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    CARMEN J.                                Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    URB VILLA CONTESSA                       Rico                                                            PLAINTIFFS)                                 System of the Government
    P21 CALLE TUDOR                                                                                          COLLECTIVELY (THE                           of the Commonwealth of
    BAYAMON, PR 00956-                                                                                       "ACEVEDO AROCHO                             Puerto Rico
    2735                                                                                                     PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K AC
                                                                                                             2005-5022
                                                                                                             LCDA. IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 659 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 661 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
765 SAINZ SERRANO,                07/03/18    17 BK 03283-LTS /             128292              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARLOS J.                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CIUDAD JARDIN II                          Rico                                                            PLANTIFFS)                                   System of the Government
    228 CALLE ALCANFOR                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
    CANOVANAS, PR 00729                                                                                       "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 660 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 662 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
766 SALAMAN, LAURA                 05/24/18    17 BK 03283-LTS /              20823                     $ 550.40 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    FRANCIS                                    Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 661 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 663 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
767 SALVA RODRIGUEZ               05/24/18    17 BK 03283-LTS /              26248              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    (FALLECIDO), CANDIDO                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    A                                         Rico                                                            PLANTIFFS)                                   System of the Government
    DOS PINOS                                                                                                 (COLLECTIVELY THE                            of the Commonwealth of
    TOWNHOUSES                                                                                                "ACEVEDO CAMACHO                             Puerto Rico
    B 12 CALLE 2                                                                                              PLANTIFF GROUP");
    SAN JUAN, PR 00923                                                                                        CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 662 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 664 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
768 SALVA RODRIGUEZ,               05/24/18    17 BK 03283-LTS /              30598              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CANDIDO A                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    CANDIDO A SALVA                            Rico                                                            PLANTIFFS)                                   System of the Government
    RODRIGUEZ                                                                                                  (COLLECTIVELY THE                            of the Commonwealth of
    DOS PINOS                                                                                                  "ACEVEDO CAMACHO                             Puerto Rico
    TOWNHOUSES                                                                                                 PLANTIFF GROUP");
    B12 CALLE 2                                                                                                CASP CASE NUM. 2016-
    SAN JUAN, PR 00923                                                                                         05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 663 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 665 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
769 SANCHEZ ARROYO,               03/19/18    17 BK 03283-LTS /              3408              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JUAN F                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BO AGUACAVE KM 0.0                        Rico                                                           PLAINTIFFS)                                 Rico
    PO BOX 4499                                                                                              COLLECTIVELY (THE
    AGUADILLA, PR 00605                                                                                      BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 664 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 666 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
770 SANCHEZ                        06/28/18    17 BK 03283-LTS /              63255                  $ 50,000.00 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    CARRASQUILLO,                              Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MARIANN                                    Rico                                                              PLANTIFFS)                                 System of the Government
    URB PASEO PALMA                                                                                              (COLLECTIVELY THE                          of the Commonwealth of
    REAL                                                                                                         "ACEVEDO CAMACHO                           Puerto Rico
    90 CALLE CALANDRIA                                                                                           PLANTIFF GROUP");
    JUNCOS, PR 00777-9723                                                                                        CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 665 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 667 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
771 SANCHEZ MATEO, JOSE          06/07/18    17 BK 03283-LTS /             65849              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    L.                                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PMB 663                                  Rico                                                           PLAINTIFFS)                                 Rico
    PO BOX 6017                                                                                             COLLECTIVELY (THE
    CAROLINA, PR 00984-                                                                                     BELTRAN CINTRON
    6017                                                                                                    PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 666 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 668 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
772 SANCHEZ MORALES,              06/20/18    17 BK 03283-LTS /             72162^              $ 129,600.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    WANDA                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB VISTAS DEL MAR                        Rico                                                            PLAINTIFFS)                                Rico
    9 CALLE ARENA                                                                                             COLLECTIVELY (THE
    RIO GRANDE, PR 00745                                                                                      BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #72162 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 667 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 669 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
773 SANCHEZ MUNOS,                05/09/18    17 BK 03283-LTS /             12662                 $ 15,306.18 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    VERONICA                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 668 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 670 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
774 SANCHEZ PRINCIPE,              05/29/18    17 BK 03283-LTS /              32249              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IDALIZ                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    RR 2 BOX 454                               Rico                                                            PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00926                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 669 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 671 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
775 SANCHEZ RAMIREZ,             07/05/18    17 BK 03283-LTS /             150059             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JEIDY                                    Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 3578 MARINA                       Rico                                                           PLAINTIFFS)                                 Rico
    STA                                                                                                     COLLECTIVELY (THE
    MAYAGUEZ, PR 00681                                                                                      BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 670 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 672 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
776 SANCHEZ, ROSA COTTO            05/25/18    17 BK 03283-LTS /              21425                     $ 643.25 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 671 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 673 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
777 SANTA ALICEA,                  06/28/18    17 BK 03566-LTS /             127854^                 $ 48,547.75 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARGOT                                     Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    PO BOX 633                                 System of the Government                                          PLANTIFFS)                                 System of the Government
    SAN LORENZO, PR 00754                      of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
                                               Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #127854 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 672 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 674 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
778 SANTANA GARCIA,                05/24/18    17 BK 03283-LTS /              25586              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    ANGEL LUIS                                 Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    URB. JARDINES DE                           Rico                                                            COLLECTIVELLY (THE                           System of the Government
    COUNTRY CLUB                                                                                               "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    CALLE #149. CM 9                                                                                           PLAINTIFF GROUP");                           Puerto Rico
    CAROLINA, PR 00984                                                                                         CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 673 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 675 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
779 SANTANA, MIGDALIA             05/29/18    17 BK 03283-LTS /              33882              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MOULIER                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 473                                Rico                                                            PLAINTIFFS)                                 Rico
    NAGUABO, PR 00718                                                                                         COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
780 SANTIAGO ANDUJAR,             06/26/18    17 BK 03283-LTS /              94793                $ 40,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    VIRGEN S.                                 Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    P.O. BOX 1690                             Rico                                                             (805), TPI SAN JUAN                        Rico
    JUANA DIAZ, PR 00795                                                                                       GEORGETTI 78
                                                                                                               SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 674 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 676 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
781 SANTIAGO ASTACIO,            06/06/18    17 BK 03283-LTS /             51452              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    OLGA L                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    #93 CALLE F URB                          Rico                                                           PLAINTIFFS)                                 Rico
    AGUSTIN STAHL                                                                                           COLLECTIVELY (THE
    BAYAMON, PR 00956                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 675 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 677 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
782 SANTIAGO GONZALEZ,             06/27/18    17 BK 03566-LTS /             102943^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    ANA F                                      Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    JARDINES DEL CARIBE                        System of the Government                                        PLANTIFFS)                                   System of the Government
    X-10 CALLE 27                              of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    PONCE, PR 00728                            Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #102943 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
783 SANTIAGO                       05/25/18    17 BK 03283-LTS /              20800                 $ 163,737.00 MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    MALDONADO,                                 Commonwealth of Puerto                                            ALFREDO A, ET ALS                          Commonwealth of Puerto
    ARQUIMIDES                                 Rico                                                              LCDO. GILBERTO                             Rico
    BOX 560979                                                                                                   RODRIGUEZ ZAYAS;
    GUAYANILLA, PR 00656                                                                                         HC 2 BOX 6519
                                                                                                                 GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 676 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 678 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
784 SANTIAGO                     06/28/18    17 BK 03283-LTS /             66768              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MALDONADO, CESAR H.                      Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CALLE SANTIAGO                           Rico                                                           PLAINTIFFS)                                 Rico
    TORRES #17                                                                                              COLLECTIVELY (THE
    COAMO, PR 00769                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 677 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 679 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
785 SANTIAGO MARTINEZ,            02/13/18    17 BK 03567-LTS / Puerto       465                 $ 42,148.00* JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    ONEL                                      Rico Highways and                                               DIAZ ET AL (1084                          Employees Retirement
    HC-05 BOX 6084                            Transportation Authority                                        PLAINTIFFS)                               System of the Government
    JUANA DIAZ, PR 00795                                                                                      COLLECTIVELY (THE                         of the Commonwealth of
                                                                                                              "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 678 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 680 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
786 SANTIAGO MERCADO,            04/17/18    17 BK 03283-LTS /              7565              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    RENE                                     Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC 9 BOX 4354                            Rico                                                           PLAINTIFFS)                                System of the Government
    SABANA GRANDE, PR                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
    00637-9441                                                                                              "ABRAMS-DIAZ                               Puerto Rico
                                                                                                            PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 679 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 681 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
787 SANTIAGO ROSARIO,            06/06/18    17 BK 03283-LTS /             53919              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    MILAGROS                                 Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    177 URB ESTANCIAS                        Rico                                                           PLAINTIFFS)                                System of the Government
    DEL RIO                                                                                                 COLLECTIVELY (THE                          of the Commonwealth of
    HORMIGUEROS, PR                                                                                         "ABRAMS-DIAZ                               Puerto Rico
    00660                                                                                                   PLAINTIFF GROUP")
                                                                                                            CIVIL CASE NUM. K
                                                                                                            AC2005-5021
                                                                                                            ABRAMS-DIAZ
                                                                                                            PLAINTIFF GROUP (1,084
                                                                                                             PLAINTIFFS) LCDA
                                                                                                            IVONNE GONZALEZ-
                                                                                                            MORALES
                                                                                                            P.O. BOX 9021828
                                                                                                            SAN JUAN, PR 00902-1828

                                                                                                             JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                             DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                             PLAINTIFFS)                               Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             "ABRAHAM DIAZ
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 680 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 682 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
788 SANTIAGO ROSARIO,            06/06/18    17 BK 03283-LTS /              48693              Undetermined* JEANNETTE ABRAMS-               06/29/18    17 BK 03566-LTS /            104127^             $ 6,829,644.40*
    MILAGROS DE LOS A                        Commonwealth of Puerto                                          DIAZ ET AL (1084                            Employees Retirement
    URB EST DEL RIO                          Rico                                                            PLAINTIFFS)                                 System of the Government
    177 GUAYANES                                                                                             COLLECTIVELY (THE                           of the Commonwealth of
    HORMIGUEROS, PR                                                                                          "ABRAMS-DIAZ                                Puerto Rico
    00660                                                                                                    PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM               06/14/18    17 BK 03283-LTS /             50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                          Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
   Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
   “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
   retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
   ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
789 SANTIAGO SANTIAGO,           06/28/18    17 BK 03566-LTS /             147429              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    ANTONIA                                  Employees Retirement                                            OTROS KPE 1980-1738                         Commonwealth of Puerto
    BOX 491, BO. CEDRO                       System of the Government                                        (805), TPI SAN JUAN                         Rico
    ARRIBA                                   of the Commonwealth of                                          GEORGETTI 78
    NARANJITO, PR 00719                      Puerto Rico                                                     SAN JUAN, PR 00925

   Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
   KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
   Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
   claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
   out of the above-referenced litigation or subsumed within the Velez Master Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 681 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 683 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
790 SANTIAGO SANTIAGO,            09/27/19   17 BK 03283-LTS /             171176                   $ 100.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    ROBERTO                                  Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    HC 02 BOX 7254                           Rico                                                             LCDO. GILBERTO                            Rico
    SANTA ISABEL, PR 00757                                                                                    RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 682 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 684 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
791 SANTIAGO SOTO,                04/19/18    17 BK 03283-LTS /              5863                     $ 8.00* JEANNETTE ABRAMS-             06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    VIVIAN                                    Commonwealth of Puerto                                          DIAZ ET AL (1084                          Employees Retirement
    BOX 418                                   Rico                                                            PLAINTIFFS)                               System of the Government
    SANTA ISABEL, PR 00757                                                                                    COLLECTIVELY (THE                         of the Commonwealth of
                                                                                                              "ABRAMS-DIAZ                              Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              ABRAMS-DIAZ
                                                                                                              PLAINTIFF GROUP (1,084
                                                                                                               PLAINTIFFS) LCDA
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 683 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 685 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
792 SANTIAGO VIENTOS,              04/23/18    17 BK 03283-LTS /              7311               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    JOSE A                                     Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    HC 02 BOX 11203                            Rico                                                            COLLECTIVELLY (THE                           System of the Government
    LAS MARIAS, PR 00670                                                                                       "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 684 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 686 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
793 SANTIAGO, MARIBEL             06/28/18    17 BK 03566-LTS /             149300              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    COLON                                     Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    263 CALLE MAGA                            System of the Government                                        PLANTIFFS)                                   System of the Government
    URB JARDINE DE                            of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
    JAYUYA                                    Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
    JAYUYA, PR 00664                                                                                          PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
794 SANTIAGO, MUZMETT             06/28/18    17 BK 03283-LTS /              39203                 $ 75,000.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    1159 ANTONIA                              Commonwealth of Puerto                                            OTROS KPE 1980-1738                        Commonwealth of Puerto
    MARTÍNEZ COUNTRY                          Rico                                                              (805), TPI SAN JUAN                        Rico
    CLUB                                                                                                        GEORGETTI 78
    SAN JUAN, PR 00924                                                                                          SAN JUAN, PR 00925

   Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
   KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
   Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
   claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
   out of the above-referenced litigation or subsumed within the Velez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 685 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 687 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
795 SANTISTEBAN PADRO,            07/09/18    17 BK 03283-LTS /             150591             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JOYCE M                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB GREEN HLS                             Rico                                                           PLAINTIFFS)                                 Rico
    C12 CALLE GLADIOLA                                                                                       COLLECTIVELY (THE
    GUAYAMA, PR 00784                                                                                        BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
796 SANTOS RODRIGUEZ,             05/09/18    17 BK 03283-LTS /             13521              Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HARRY                                     Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    BDA SALAZAR                               Rico                                                           LCDO. GILBERTO                              Rico
    CALLE SABIO                                                                                              RODRIGUEZ ZAYAS;
    NUM 1673                                                                                                 HC 2 BOX 6519
    PONCE, PR 00717-1839                                                                                     GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 686 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 688 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
797 SANTOS VAZQUEZ, JOSE         06/22/18   17 BK 03283-LTS /              90282                $ 16,042.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HC 4 BOX 11922                          Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    YAUCO, PR 00698-9608                    Rico                                                             LCDO. GILBERTO                            Rico
                                                                                                             RODRIGUEZ ZAYAS;
                                                                                                             HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 687 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 689 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
798 SEMIDEY ALICEA,                06/28/18    17 BK 03283-LTS /              67097              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    YAIRA LIZ                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    URB JARDINES DEL                           Rico                                                            PLANTIFFS)                                   System of the Government
    MAMEY                                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
    CALLE 6 K3                                                                                                 "ACEVEDO CAMACHO                             Puerto Rico
    PATILLAS, PR 00723                                                                                         PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 688 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 690 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
799 SERRANO LOZADA,               06/29/18    17 BK 03283-LTS /             131917              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    BETHZAIDA                                 Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    HC 2 BOX 7236                             Rico                                                            PLAINTIFFS)                                 System of the Government
    LAS PIEDRAS, PR 00771-                                                                                    COLLECTIVELY (THE                           of the Commonwealth of
    9788                                                                                                      "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 689 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 691 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
800 SERRANO PEREZ, ALBA          07/09/18    17 BK 03283-LTS /             159926             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    N                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 3 BOX 36700                           Rico                                                           PLAINTIFFS)                                 Rico
    SAN SEBASTIAN, PR                                                                                       COLLECTIVELY (THE
    00685-7575                                                                                              BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 690 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 692 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
801 SERRANO SOTO, LUZ M.          06/19/18    17 BK 03566-LTS /              61008                 $ 48,459.38* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    COLINAS DEL SOL #44                       Employees Retirement                                              CAMACHO ET AL. (2,818                      Employees Retirement
    CALLE 4 APTO. 4412                        System of the Government                                          PLANTIFFS)                                 System of the Government
    BAYAMON, PR 00957-                        of the Commonwealth of                                            (COLLECTIVELY THE                          of the Commonwealth of
    7011                                      Puerto Rico                                                       "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 691 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 693 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
802 SIERRA RIVERA, LUZ S          06/06/18    17 BK 03283-LTS /             60371              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BO. CARMELITA                             Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BUZON 1 CALLE 6                           Rico                                                           PLAINTIFFS)                                 Rico
    VEGA BAJA, PR 00693                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 692 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 694 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
803 SIERRA RIVERA, LUZ S          06/06/18    17 BK 03283-LTS /             69629              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BO. CARMELITA                             Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BUZON 1 CALLE 6                           Rico                                                           PLAINTIFFS)                                 Rico
    VEGA BAJA, PR 00693                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 693 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 695 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
804 SIERRA RIVERA, LUZ S          06/06/18    17 BK 03283-LTS /             69963              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    BO. CARMELITA                             Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    BUZON 1 CALLE 6                           Rico                                                           PLAINTIFFS)                                 Rico
    VEGA BAJA, PR 00693                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 694 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 696 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
805 SILVA BARBOSA,                05/29/18    17 BK 03283-LTS /              37798              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    MADELINE                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    8146 CALLE BALBINO                        Rico                                                            COLLECTIVELLY (THE                           System of the Government
    TRINTA                                                                                                    "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 695 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 697 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
806 SOLIS DE JESUS, NILDA          06/29/18    17 BK 03283-LTS /             144064              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HC 03 BOX 8875                             Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    GUAYNABO, PR 00971                         Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 696 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 698 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
807 SOLIS RIVERA, DIALIS           06/26/18    17 BK 03283-LTS /             110573              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HC 5                                       Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    BOX 9862                                   Rico                                                            PLANTIFFS)                                   System of the Government
    RIO GRANDE, PR 00745                                                                                       (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 697 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 699 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
808 SOLIS RIVERA, DIALIS           06/27/18    17 BK 03566-LTS /             103681^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HC 5 BUZON 9862                            Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    RIO GRANDE, PR 00745                       System of the Government                                        PLANTIFFS)                                   System of the Government
                                               of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                               Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103681 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 698 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 700 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
809 SOLIS RIVERA, DIALIS           06/26/18    17 BK 03566-LTS /             106894^             Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    HC5 BOX 9862                               Employees Retirement                                            CAMACHO ET AL. (2,818                        Employees Retirement
    RIO GRANDE, PR 00745                       System of the Government                                        PLANTIFFS)                                   System of the Government
                                               of the Commonwealth of                                          (COLLECTIVELY THE                            of the Commonwealth of
                                               Puerto Rico                                                     "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #106894 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
    Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 699 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 701 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
810 SOLTREN GONZALES,             05/25/18    17 BK 03283-LTS /             41495              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA DE LOS A                            Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 6 BOX 68462                            Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA, PR 00603                                                                                      COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 700 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 702 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
811 SOTO PABON, MARIA J.           06/05/18    17 BK 03283-LTS /              49267                  $ 6,550.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    75 C/PRUDENCIO                             Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    RIVERA                                     Rico                                                              PLANTIFFS)                                 System of the Government
    HATO REY, PR 00917                                                                                           (COLLECTIVELY THE                          of the Commonwealth of
                                                                                                                 "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 701 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 703 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
812 SOTO RIVERA, EVELYN           05/21/18    17 BK 03283-LTS /              18559                 $ 50,000.00* MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    URB CAPARRA                               Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    TERRACE                                   Rico                                                              PLANTIFFS)                                 System of the Government
    813 CALLE 13 SE                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00921                                                                                          "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                PLANTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 702 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 704 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
813 SOTO RIVERA, ZAIDA L          04/30/18    17 BK 03283-LTS /              9746              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 876                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    LUQUILLO, PR 00773                        Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                             COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 703 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 705 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
814 SOTO RIVERA, ZAIDA L          04/30/18    17 BK 03566-LTS /              8908              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PO BOX 876                                Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    LUQUILLO, PR 00773                        System of the Government                                       PLAINTIFFS)                                 Rico
                                              of the Commonwealth of                                         COLLECTIVELY (THE
                                              Puerto Rico                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 704 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 706 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
815 SOTO RODRIGUEZ,               04/24/18    17 BK 03283-LTS /              8543               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    GILBERTO                                  Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    35 JOSE CAMPECHE                          Rico                                                            COLLECTIVELLY (THE                           System of the Government
    MAYAGUEZ, PR 00680                                                                                        "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 705 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 707 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
816 SUREN RODRIGUEZ,             09/30/19   17 BK 03283-LTS /             171232                $ 12,400.00* MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    REINALDO                                Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    BO. PLAYITA CALLE                       Rico                                                             LCDO. GILBERTO                            Rico
    VILLASOL # 17                                                                                            RODRIGUEZ ZAYAS;
    SALINAS, PR 00751                                                                                        HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 706 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 708 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
817 SUSTACHE SUSTACHE,            05/29/18    17 BK 03283-LTS /              37021              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IRENE                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 1 BOX 4233                             Rico                                                            PLANTIFFS)                                   System of the Government
    YABUCOA, PR 00767                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 707 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 709 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
818 TAPIA RÍOS, RUTH M.            05/25/18    17 BK 03283-LTS /              25023                     $ 805.20 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    IVONNE GONZÁLEZ                            Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    MORALES                                    Rico                                                              PLANTIFFS)                                 System of the Government
    P.O. BOX 9021828                                                                                             (COLLECTIVELY THE                          of the Commonwealth of
    SAN JUAN, PR 00902-1828                                                                                      "ACEVEDO CAMACHO                           Puerto Rico
                                                                                                                 PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
819 TIRADO BONANO,                 05/29/18    17 BK 03283-LTS /              43725              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    HECTOR M                                   Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    PO BOX 469                                 Rico                                                            PO BOX 8700                                  Rico
    PALMER                                                                                                     PMB120
    RIO GRANDE, PR 00721                                                                                       CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 708 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 710 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
820 TIRADO BONANO,                05/29/18    17 BK 03566-LTS /              41960              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    HECTOR M                                  Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    PO BOX 469                                System of the Government                                        PO BOX 8700                                 Rico
    PALMER                                    of the Commonwealth of                                          PMB120
    RIO GRANDE, PR 00721                      Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 709 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 711 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
821 TIRADO MORALES,              10/06/20    17 BK 03283-LTS /             176423                $ 105,600.00 PRUDENCIO ACEVEDO              06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    NELSON                                   Commonwealth of Puerto                                           AROCHO ET AL (1,601                        Employees Retirement
    VILLA UNIVERSITARIA                      Rico                                                             PLAINTIFFS)                                System of the Government
    C-29 CALLE 8                                                                                              COLLECTIVELY (THE                          of the Commonwealth of
    HUMACAO, PR 00791                                                                                         "ACEVEDO AROCHO                            Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                              AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                                Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ACEVEDO-AROCHO
                                                                                                              PLAINTIFF
                                                                                                              GROUP")CIVIL CASE
                                                                                                              NUM. K AC 2005-5022
                                                                                                              IVONNE GONZALEZ-
                                                                                                              MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
   KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
   alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
   ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 710 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 712 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
822 TORO CRUZ, LISSETTE           05/14/18    17 BK 03283-LTS /              14961              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    URB ESTANCAS DEL RIO                      Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    II                                        Rico                                                            COLLECTIVELLY (THE                           System of the Government
    762 CALLE YAGUEZ                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    HORMIGUEROS, PR                                                                                           PLAINTIFF GROUP");                           Puerto Rico
    00660                                                                                                     CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 711 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 713 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
823 TORO CUADRADO,                07/06/18    17 BK 03283-LTS /            104885              Undetermined* JEANNETTE ABRAMS-              06/29/18    17 BK 03566-LTS /             104127^            $ 6,829,644.40*
    MIRIAM                                    Commonwealth of Puerto                                         DIAZ ET AL (1084                           Employees Retirement
    HC 1 BOX 16669                            Rico                                                           PLAINTIFFS)                                System of the Government
    HUMACAO, PR 00791-                                                                                       COLLECTIVELY (THE                          of the Commonwealth of
    9003                                                                                                     "ABRAMS-DIAZ                               Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2005-5021
                                                                                                             ABRAMS-DIAZ
                                                                                                             PLAINTIFF GROUP (1,084
                                                                                                              PLAINTIFFS) LCDA
                                                                                                             IVONNE GONZALEZ-
                                                                                                             MORALES
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

                                                                                                              JEANETTE ABRAHAM              06/14/18    17 BK 03283-LTS /              50221            $ 43,400,081.58*
                                                                                                              DIAZ ET AL (1,084                         Commonwealth of Puerto
                                                                                                              PLAINTIFFS)                               Rico
                                                                                                              COLLECTIVELY (THE
                                                                                                              "ABRAHAM DIAZ
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2005-5021
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 50221 and 104127, which were filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz et al. v. Department of
    Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Transportation and Public Works (“DOTP”) employees who alleged that DOTP improperly withheld a proportion of their wages and pension payments as a result of the Office of Public Service Personnel’s
    “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will
    retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Jeannete Abrams Diaz Master Claims.
    ^ Claim #104127 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 712 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 714 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
824 TORRES APONTE, IRIS N          05/25/18    17 BK 03283-LTS /              20144              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    PO BOX 9989                                Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    SAN JUAN, PR 00908                         Rico                                                            PLANTIFFS)                                   System of the Government
                                                                                                               (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 713 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 715 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
825 TORRES BERRIOS,                07/06/18    17 BK 03283-LTS /             157973              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NORVA I                                    Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 156                                 Rico                                                            PLANTIFFS)                                   System of the Government
    AIBONITO, PR 00705-0156                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
826 TORRES GARCIA, JESUS           06/28/18    17 BK 03283-LTS /             149446              Undetermined* CONCILIO NACIONAL                06/01/18    17 BK 03283-LTS /              161091           $ 280,000,000.00*
    N#20 CALLE 5 VILLAS                        Commonwealth of Puerto                                          DE POLICIAS INC                              Commonwealth of Puerto
    DE RIO GRANDE                              Rico                                                            PO BOX 8700                                  Rico
    RIO GRANDE, PR 00745                                                                                       PMB120
                                                                                                               CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 714 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 716 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
827 TORRES GONZALEZ,             06/11/18    17 BK 03283-LTS /             114364             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    LILLIAN                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    QQ-12 CALLE 6 URB                        Rico                                                           PLAINTIFFS)                                 Rico
    CANA                                                                                                    COLLECTIVELY (THE
    BAYAMON, PR 00957                                                                                       BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
828 TORRES GUADALUPE,            06/26/18    17 BK 03283-LTS /             112430             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    FELIPE                                   Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    BARRIO SONTO                             Rico                                                           LCDO. GILBERTO                              Rico
    DOMINGO PO2 777                                                                                         RODRIGUEZ ZAYAS;
    SECTOR SABANO 1                                                                                         HC 2 BOX 6519
    PENUELAS, PR 00624                                                                                      GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 715 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 717 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
829 TORRES MALDONADO,            09/19/20    17 BK 03283-LTS /             177939             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ELIZABETH                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 01 BOX 8627                           Rico                                                           PLAINTIFFS)                                 Rico
    PENUELAS, PR 00624                                                                                      COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 716 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 718 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
830 TORRES PELUYERA,              05/22/18    17 BK 03283-LTS /              13849              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    MARANGELY                                 Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 4 BOX 58377                            Rico                                                            PLANTIFFS)                                   System of the Government
    GUAYNABO, PR 00971                                                                                        (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 717 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 719 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                    NAME                  FILED            DEBTOR                  CLAIM #     CLAIM AMOUNT
831 TORRES RIVERA,               06/22/18    17 BK 03283-LTS /             62183                  $ 10,473.90 DELFINA LÓPEZ                 06/29/18    17 BK 03566-LTS /             106588^            $ 4,315,200.00*
    ANTONIO                                  Commonwealth of Puerto                                           ROSARIO ET AL                             Employees Retirement
    PO BOX 596                               Rico                                                             COLLECTIVELY (THE                         System of the Government
    HORMIGUEROS, PR                                                                                           LOPEZ-ROSARIO                             of the Commonwealth of
    00660-0596                                                                                                PLAINTIFF GROUP);                         Puerto Rico
                                                                                                              IVONNE GONZALEZ
                                                                                                              MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                              DELFINA LÓPEZ                 05/15/18    17 BK 03283-LTS /              15708            $ 24,000,000.00*
                                                                                                              ROSARIO ET AL                             Commonwealth of Puerto
                                                                                                              COLLECTIVELY (THE                         Rico
                                                                                                              LOPEZ-ROSARIO
                                                                                                              PLAINTIFF GROUP)
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 15708 and 106588, which were filed on behalf of all plaintiffs in the litigation captioned Delfina Lopez Rosario et al. v. Puerto Rico Police
   Department, No. T-01-10-372 (the “Lopez Rosario Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Police Department (“PD”) employees
   who asserted that they were entitled to back pay and pension payments illegally withheld by PD pursuant to the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Lopez Rosario Master Claims
   ^ Claim #106588 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 718 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 720 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
832 TORRES ROMAN, LOUIS          05/18/18    17 BK 03283-LTS /             79920              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    I                                        Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-03 BOX 17775                          Rico                                                           PLAINTIFFS)                                 Rico
    LAJAS, PR 00667                                                                                         COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 719 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 721 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
833 TORRES ROSARIO,                05/11/18    17 BK 03283-LTS /              14481              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NANCY                                      Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 02 BOX 9996                             Rico                                                            PLANTIFFS)                                   System of the Government
    JUNCOS, PR 00977-9604                                                                                      (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 720 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 722 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
834 TORRES SAMBOLIN,             06/28/18    17 BK 03283-LTS /             61977              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JUDITH                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC 1 BOX 15545                           Rico                                                           PLAINTIFFS)                                 Rico
    COAMO, PR 00769                                                                                         COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 721 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 723 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
835 TORRES TORRES,                05/31/18    17 BK 03283-LTS /             45257                $ 50,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MARIA                                     Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    VILLA PRADES                              Rico                                                            PLAINTIFFS)                                Rico
    846 CALLE JOSE                                                                                            COLLECTIVELY (THE
    QUINTON                                                                                                   BELTRAN CINTRON
    SAN JUAN, PR 00924-2133                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 722 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 724 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
836 TORRES TORRES,                04/23/18    17 BK 03283-LTS /              6818                  $ 8,475.00* VELEZ ROSA LYDIA Y             05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    SHARON                                    Commonwealth of Puerto                                           OTROS KPE 1980-1738                        Commonwealth of Puerto
    KAREN L. AYALA                            Rico                                                             (805), TPI SAN JUAN                        Rico
    VAZQUEZ                                                                                                    GEORGETTI 78
    JOSE E.TORRES                                                                                              SAN JUAN, PR 00925
    VALENTIN
    TORRES VALENT´N
    ESTUDIO LEGAL L.L.C
    NÚM. 78 CALLE
    GEORGETTI
    SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 723 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 725 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
837 TURELL ROSARIO,              06/28/18    17 BK 03283-LTS /             144932             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    MANBEL                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    URB. LA LULA                             Rico                                                           PLAINTIFFS)                                 Rico
    CALLE 5 F 13                                                                                            COLLECTIVELY (THE
    PONCE, PR 00730                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 724 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 726 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
838 VAELLO BERMUDEZ,              05/02/18    17 BK 03283-LTS /              9451                 $ 22,283.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    YADIRA                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    IVONNE GONZÁLEZ                           Rico                                                            PLAINTIFFS)                                Rico
    MORALES                                                                                                   COLLECTIVELY (THE
    P.O. BOX 9021828                                                                                          BELTRAN CINTRON
    SAN JUAN, PR 00902-1828                                                                                   PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 725 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 727 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
839 VALENTIN CENTENO,             05/09/18    17 BK 03283-LTS /              12442              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    ALEIXA                                    Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    1GA CALLE DOMINGO                         Rico                                                            COLLECTIVELLY (THE                           System of the Government
    SILVA                                                                                                     "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    MAYAGUEZ, PR 00680                                                                                        PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 726 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 728 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
840 VALENTIN LOPEZ,               05/03/18    17 BK 03283-LTS /              11468              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    HECTOR I.                                 Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    SAN ANTONIO B-26                          Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ANASCO, PR 00610                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 727 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                              Exhibit A Page 729 of 765

                                                                  Three Hundred and Fifty-First Omnibus Objection
                                                                    Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
841 VALENTIN RODRIGUEZ,          12/02/19   17 BK 03283-LTS /             177674                 $ 16,500.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    ERNESTO                                 Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    #11 CALLE LUNA                          Rico                                                             LCDO. GILBERTO                            Rico
    BAMADA SANDIN                                                                                            RODRIGUEZ ZAYAS;
    VEGA BAJA, PR 00693                                                                                      HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

   Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
   Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
   things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
   associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
   Maldonado Rodriguez Master Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 728 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 730 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
842 VARGAS ESPIET,                05/25/18    17 BK 03283-LTS /             31596              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    WILLIAM R.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    121 URB JARDINES DE                       Rico                                                           PLAINTIFFS)                                 Rico
    AGUADILLA                                                                                                COLLECTIVELY (THE
    AGUADILLA, PR 00603                                                                                      BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
843 VARGAS NIEVES, JUAN           01/09/20    17 BK 03283-LTS /             177741                $ 16,800.00 MALDONADO COLÓN,               06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    C/15 H-17                                 Commonwealth of Puerto                                          ALFREDO A, ET ALS                          Commonwealth of Puerto
    VILLA LINARES                             Rico                                                            LCDO. GILBERTO                             Rico
    VEGA ALTA, PR 00692                                                                                       RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 729 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 731 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
844 VARGAS ROMAN,                 06/29/18    17 BK 03283-LTS /             166852             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EMILIA VERA                               Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    36 VILLA SERENA                           Rico                                                           PLAINTIFFS)                                 Rico
    SANTA ISABEL, PR 00757                                                                                   COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 730 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 732 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
845 VARGAS VARGAS, LUIS           04/12/18    17 BK 03283-LTS /              7420               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    A                                         Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    RR2 BOX 4160                              Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ANASCO, PR 00610                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 731 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 733 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
846 VARGAS VARGAS, LUIS           04/12/18    17 BK 03283-LTS /              7187               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    A.                                        Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    BOX 2232                                  Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ANASCO, PR 00610                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 732 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 734 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
847 VARGAS VARGAS, LUIS           04/12/18    17 BK 03283-LTS /              7242               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    A.                                        Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    PO BOX 2232                               Rico                                                            COLLECTIVELLY (THE                           System of the Government
    ANASCO, PR 00610                                                                                          "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                              PLAINTIFF GROUP");                           Puerto Rico
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
848 VAZQUEZ CARMONA,              05/10/18    17 BK 03283-LTS /              11984              Undetermined* VELEZ ROSA LYDIA Y               05/29/18    17 BK 03283-LTS /              29477                 $ 150,000.00
    CARMEN                                    Commonwealth of Puerto                                          OTROS KPE 1980-1738                          Commonwealth of Puerto
    BO BUENAVENTURA 727                       Rico                                                            (805), TPI SAN JUAN                          Rico
    CALLE PABLO PIZARRO                                                                                       GEORGETTI 78
    CAROLINA, PR 00987                                                                                        SAN JUAN, PR 00925

   Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
   KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
   Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
   claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
   out of the above-referenced litigation or subsumed within the Velez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 733 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 735 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
849 VAZQUEZ DE JESUS,            06/28/18    17 BK 03283-LTS /             116395             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ANGEL L                                  Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 8912                              Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS, PR 00726                                                                                        COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 734 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 736 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
850 VAZQUEZ GONZALEZ,             05/29/18    17 BK 03283-LTS /              32263              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LINNETTE                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC-03 BOX 11992                           Rico                                                            PLANTIFFS)                                   System of the Government
    COROZAL, PR 00783                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 735 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 737 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
851 VAZQUEZ GONZALEZ,             05/29/18    17 BK 03283-LTS /              34072              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    LINNETTE                                  Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    HC 3 BOX 11992                            Rico                                                            PLANTIFFS)                                   System of the Government
    COROZAL, PR 00783                                                                                         (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                              "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                              PLANTIFF GROUP");
                                                                                                              CASP CASE NUM. 2016-
                                                                                                              05-1340
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                (2818 PLAINTIFFS)                          Rico
                                                                                                                (COLLECTIVELY THE
                                                                                                                "ACEVEDO CAMACHO
                                                                                                                PLAINTIFF GROUP");
                                                                                                                CASP CASE NUM. 2016-
                                                                                                                05-1340
                                                                                                                LCDA. IVONNE
                                                                                                                GONZALEZ MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
   Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
   Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
   Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
   Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
   ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 736 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 738 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
852 VAZQUEZ RODRIGUEZ ,          07/05/18    17 BK 03283-LTS /             118334             Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GLORIA E.                                Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    516 CALE BAENA URB.                      Rico                                                           PLAINTIFFS)                                 Rico
    SAN JOSE                                                                                                COLLECTIVELY (THE
    SAN JUAN, PR 00923                                                                                      BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 737 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 739 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
853 VEGA MEDINA,                  04/09/18    17 BK 03283-LTS /             6624^                $ 15,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JACQUELINE                                Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC 8 BOX 84354                            Rico                                                            PLAINTIFFS)                                Rico
    SAN SEBASTIAN, PR                                                                                         COLLECTIVELY (THE
    00685                                                                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #6624 also contained on Exhibit A to the 345th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 738 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 740 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
854 VEGA ORTIZ, JULIO A            04/16/18    17 BK 03283-LTS /              7392               Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    HC 3 BOX 14837                             Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    YAUCO, PR 00698                            Rico                                                            COLLECTIVELLY (THE                           System of the Government
                                                                                                               "ABRAHAM GIMÉNEZ                             of the Commonwealth of
                                                                                                               PLAINTIFF GROUP");                           Puerto Rico
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2013-1019 / TSPR AC
                                                                                                               2016-0120, JORGE
                                                                                                               ABRAHA M G IMÉ NEZ
                                                                                                               PL AI N TIFF GR O UP
                                                                                                               (1,046 PLAINTIFFS)
                                                                                                               LCDA. IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                 GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                 PLAINTIFFS)                                Rico
                                                                                                                 COLLECTIVELY (THE
                                                                                                                 "ABRAHAM GIMENEZ
                                                                                                                 PLAINTIFF GROUP")
                                                                                                                 ATTN: IVONNE
                                                                                                                 GONZALEZ-MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902

    Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
    of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
    employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
    wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
    litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
    litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
    Master Claims.
    ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 739 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 741 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
855 VEGA ZAYAS, JOSE H.           05/02/18    17 BK 03283-LTS /              9617                 $ 68,650.18 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    IVONNE GONZÁLEZ                           Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    MORALES                                   Rico                                                            PLAINTIFFS)                                Rico
    P.O. BOX 9021828                                                                                          COLLECTIVELY (THE
    SAN JUAN, PR 00902-1828                                                                                   BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
856 VELAZQUEZ CRISPIN,            07/16/18    17 BK 03283-LTS /             161484             Undetermined* MALDONADO COLÓN,                06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    HECTOR                                    Commonwealth of Puerto                                         ALFREDO A, ET ALS                           Commonwealth of Puerto
    BO. CANEJAS                               Rico                                                           LCDO. GILBERTO                              Rico
    4398 CALLE 2 APT 181                                                                                     RODRIGUEZ ZAYAS;
    SAN JUAN, PR 00926-8650                                                                                  HC 2 BOX 6519
                                                                                                             GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.

              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 740 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 742 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
857 VELAZQUEZ LOZADA,              05/04/18    17 BK 03283-LTS /              10453                  $ 14,409.71 MADELINE ACEVEDO               06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NILSA                                      Commonwealth of Puerto                                            CAMACHO ET AL. (2,818                      Employees Retirement
    IVONNE GONZÁLEZ                            Rico                                                              PLANTIFFS)                                 System of the Government
    MORALES                                                                                                      (COLLECTIVELY THE                          of the Commonwealth of
    P.O. BOX 9021828                                                                                             "ACEVEDO CAMACHO                           Puerto Rico
    SAN JUAN, PR 00902-1828                                                                                      PLANTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 741 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                               Exhibit A Page 743 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                 DATE           CASE NUMBER /
            NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED             DEBTOR                  CLAIM #      CLAIM AMOUNT
858 VELAZQUEZ LUCIANO,            06/06/18    17 BK 03283-LTS /              66761              Undetermined* ABRAHAM GIMÉNEZ ET               06/29/18    17 BK 03566-LTS /             130077^              $ 6,293,000.00
    KEYLA M                                   Commonwealth of Puerto                                          AL (1,046 PLAINTIFFS)                        Employees Retirement
    #76 URB. ALTURAS                          Rico                                                            COLLECTIVELLY (THE                           System of the Government
    SABANERAS                                                                                                 "ABRAHAM GIMÉNEZ                             of the Commonwealth of
    SABANA GRANDE, PR                                                                                         PLAINTIFF GROUP");                           Puerto Rico
    00637-1603                                                                                                CIVIL CASE NUM. K
                                                                                                              AC2013-1019 / TSPR AC
                                                                                                              2016-0120, JORGE
                                                                                                              ABRAHA M G IMÉ NEZ
                                                                                                              PL AI N TIFF GR O UP
                                                                                                              (1,046 PLAINTIFFS)
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                                JORGE ABRAHAM                  03/05/21    17 BK 03283-LTS /              179141            $ 35,000,000.00*
                                                                                                                GIMENEZ ET AL (1,046                       Commonwealth of Puerto
                                                                                                                PLAINTIFFS)                                Rico
                                                                                                                COLLECTIVELY (THE
                                                                                                                "ABRAHAM GIMENEZ
                                                                                                                PLAINTIFF GROUP")
                                                                                                                ATTN: IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                PO BOX 9021828
                                                                                                                SAN JUAN, PR 00902

   Reason: This claim is duplicative, in part, of Master Claim nos. 179141 and 130077, which were filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v. Puerto Rico Department
   of Transportation & Public Works, No. KAC2013-1019 (the “Abraham Gimenez Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in this litigation are former DOTP
   employees who alleged that DOTP illegally sequestered wages and pension payments as a result of Department of Transportation and Public Works (“DOTP”) employees who alleged that DOTP withheld
   wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced
   litigation and/or liabilities associated with this litigation as its basis. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this
   litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Abraham Gimenez
   Master Claims.
   ^ Claim #130077 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 742 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 744 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
859 VELEZ ALICEA, NANCY          05/14/18    17 BK 03283-LTS /             15156              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC 01 BOX 5578                           Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    GURABO, PR 00778                         Rico                                                           PLAINTIFFS)                                 Rico
                                                                                                            COLLECTIVELY (THE
                                                                                                            BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 743 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 745 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
860 VELEZ CRESPO,                05/25/18    17 BK 03283-LTS /             27235^              $ 360,000.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    EDUARDO                                  Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    URB. CAPANA HEIGTH                       Rico                                                            PLAINTIFFS)                                Rico
    1471 CALLE EDEN                                                                                          COLLECTIVELY (THE
    SAN JUAN, PR 00920                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #27235 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 744 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                       Desc:
                                                               Exhibit A Page 746 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                       REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                              DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                    NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
861 VELEZ GONZALEZ,               03/29/18   17 BK 03283-LTS /              4318                  $ 19,604.00 MALDONADO COLÓN,              06/27/18    17 BK 03283-LTS /             152372            $ 17,590,927.76
    FRANCISCO                                Commonwealth of Puerto                                           ALFREDO A, ET ALS                         Commonwealth of Puerto
    HC-01 BOX 2260                           Rico                                                             LCDO. GILBERTO                            Rico
    JAYUYA, PR 00664                                                                                          RODRIGUEZ ZAYAS;
                                                                                                              HC 2 BOX 6519
                                                                                                              GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                  Page 745 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 747 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
862 VELEZ GONZALEZ,                05/24/18    17 BK 03283-LTS /              16605              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    JAVIER                                     Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 13871                               Rico                                                            PLANTIFFS)                                   System of the Government
    SAN JUAN, PR 00908-3871                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 746 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 748 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
863 VELEZ JIMENEZ,                05/25/18    17 BK 03283-LTS /             43859              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    FRANCIS E                                 Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 5421                               Rico                                                           PLAINTIFFS)                                 Rico
    SAN SEBASTIAN, PR                                                                                        COLLECTIVELY (THE
    00685                                                                                                    BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 747 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 749 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
864 VELEZ MELON,                  05/18/18    17 BK 03566-LTS /             28069              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    IVELISSE                                  Employees Retirement                                           ET ALL (4,493                               Commonwealth of Puerto
    COND VISTA VERDE                          System of the Government                                       PLAINTIFFS)                                 Rico
    APT 606                                   of the Commonwealth of                                         COLLECTIVELY (THE
    AVE. SAN IGNACIO                          Puerto Rico                                                    BELTRAN CINTRON
    SAN JUAN, PR 00921                                                                                       PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 748 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 750 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
865 VELEZ TORO, VICTOR            05/25/18    17 BK 03283-LTS /             27222^                $ 561,600.00 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    HC 1 BOX 7766                             Commonwealth of Puerto                                           ET ALL (4,493                              Commonwealth of Puerto
    SAN GERMAN, PR 00683                      Rico                                                             PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP")...
                                                                                                               ATTN: IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902

                                                                                                               FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                               ET AL (4,593                               Employees Retirement
                                                                                                               PLAINTIFFS)                                System of the Government
                                                                                                               COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                               "BELTRAN CINTRON                           Puerto Rico
                                                                                                               PLAINTIFF GROUP")
                                                                                                               CIVIL CASE NUM. K
                                                                                                               AC2009-0805/TSPR AC
                                                                                                               2016-0120
                                                                                                               C/O IVONNE
                                                                                                               GONZALEZ-MORALES
                                                                                                               ATTORNEY FOR
                                                                                                               BELTRAN CINTRON
                                                                                                               PLAINTIFF GROUP
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #27222 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
    Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
866 VELEZ, MYRTELINA              06/26/18    17 BK 03283-LTS /              94198              Undetermined* VELEZ ROSA LYDIA Y              05/29/18    17 BK 03283-LTS /             29477                $ 150,000.00
    URB. SOBANERA 337                         Commonwealth of Puerto                                          OTROS KPE 1980-1738                         Commonwealth of Puerto
    CAMERIO DEL PRODER                        Rico                                                            (805), TPI SAN JUAN                         Rico
    CIDRA, PR 00739                                                                                           GEORGETTI 78
                                                                                                              SAN JUAN, PR 00925

    Reason: This claim is duplicative, in part, of Master Claim no. 29477, which was filed on behalf of all plaintiffs in the litigation captioned Rosa Lydia Velez v. Puerto Rico Department of Education,
    KPE1980-1738 (the “Velez Master Claim”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are parents of minors belonging to the Special Education Program of the
    Department of Education (“DE”) who sought to compel the DE to comply with certain federal and state obligations relating to special education programs. Claimant is a plaintiff in that litigation, and his/her
    claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising
    out of the above-referenced litigation or subsumed within the Velez Master Claim.

               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 749 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 751 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
867 VELEZ-RIVERA, ANGEL          05/25/18    17 BK 03283-LTS /              26735                $ 36,450.00* CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    L.                                       Commonwealth of Puerto                                           DE POLICIAS INC                            Commonwealth of Puerto
    PO BOX 55274                             Rico                                                             PO BOX 8700                                Rico
    STATION ONE                                                                                               PMB120
    BAYAMON, PR 00960-                                                                                        CAROLINA, PR 00988
    5274

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 750 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 752 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
868 VERA GARCIA,                  06/18/18    17 BK 03283-LTS /             59926              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ZORAIDA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    4423 PEDRO CARATINI                       Rico                                                           PLAINTIFFS)                                 Rico
    URB. PERLA DEL SUR                                                                                       COLLECTIVELY (THE
    PONCE, PR 00717                                                                                          BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 751 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 753 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
869 VICENTE MARQUEZ,             05/14/18    17 BK 03283-LTS /             15027^              $ 187,200.00* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JESUS                                    Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    C/3 D-10                                 Rico                                                            PLAINTIFFS)                                Rico
    CASTELLANA GARDENS                                                                                       COLLECTIVELY (THE
    CAROLINA, PR 00983                                                                                       BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #15027 also contained on Exhibit A to the 347th Omnibus Claims Objection for Misclassified Claims
   Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 752 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                              Exhibit A Page 754 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
870 VIDAL, OLIVER A.             05/17/18    17 BK 03566-LTS /              23507                 $ 55,500.00 CONCILIO NACIONAL              06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    IRIZARRY                                 Employees Retirement                                             DE POLICIAS INC                            Commonwealth of Puerto
    BDA BALDORIOTY C/                        System of the Government                                         PO BOX 8700                                Rico
    GAMBOA                                   of the Commonwealth of                                           PMB120
    #4506                                    Puerto Rico                                                      CAROLINA, PR 00988
    PONCE, PR 00728

   Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
   Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
   the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
   asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
   the above-referenced litigation or subsumed within the FUPO Master Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 753 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 755 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
871 VILLANUEVA                     01/04/19    17 BK 03283-LTS /             168061              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    SANTIAGO, MILDRED                          Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    COND EL ATLANTICO                          Rico                                                            PLANTIFFS)                                   System of the Government
    APT 702                                                                                                    (COLLECTIVELY THE                            of the Commonwealth of
    LEVITOWN                                                                                                   "ACEVEDO CAMACHO                             Puerto Rico
    TOA BAJA, PR 00949                                                                                         PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
872 VILLEGAS ROSARIO,              03/05/20    17 BK 03283-LTS /             173424              Undetermined* MALDONADO COLÓN,                 06/27/18    17 BK 03283-LTS /              152372             $ 17,590,927.76
    JULIO                                      Commonwealth of Puerto                                          ALFREDO A, ET ALS                            Commonwealth of Puerto
    HC4 BOX 15053                              Rico                                                            LCDO. GILBERTO                               Rico
    CAROLINA, PR 00987                                                                                         RODRIGUEZ ZAYAS;
                                                                                                               HC 2 BOX 6519
                                                                                                               GUAYANILLA, PR 00656

    Reason: This claim is duplicative, in part, of Master Claim no. 152372, which was filed on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Rodriguez et al. v. Puerto Rico Department of
    Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Rodriguez Master Claim”). The plaintiffs in the litigation contend they were owed unpaid salary increases provided for in, among other
    things, various Department of Corrections and Rehabilitation administrative orders. Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities
    associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the
    Maldonado Rodriguez Master Claim.




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 754 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 756 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #       CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT
873 VILLOCH RIVERA,               06/26/18    17 BK 03283-LTS /              91515              Undetermined* PRUDENCIO ACEVEDO               06/29/18    17 BK 03566-LTS /            103035^             $ 5,034,400.00*
    MODESTA                                   Commonwealth of Puerto                                          AROCHO ET AL (1,601                         Employees Retirement
    PO BOX 336505                             Rico                                                            PLAINTIFFS)                                 System of the Government
    PONCE, PR 00733-6505                                                                                      COLLECTIVELY (THE                           of the Commonwealth of
                                                                                                              "ACEVEDO AROCHO                             Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K AC
                                                                                                              2005-5022
                                                                                                              LCDA. IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

                                                                                                               PRUDENCIO ACEVEDO              06/22/18    17 BK 03283-LTS /             51013             $ 28,000,000.00*
                                                                                                               AROCHO ET AL (1,379                        Commonwealth of Puerto
                                                                                                               PLAINTIFFS)                                Rico
                                                                                                               COLLECTIVELY (THE
                                                                                                               "ACEVEDO-AROCHO
                                                                                                               PLAINTIFF
                                                                                                               GROUP")CIVIL CASE
                                                                                                               NUM. K AC 2005-5022
                                                                                                               IVONNE GONZALEZ-
                                                                                                               MORALES
                                                                                                               P.O. BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 51013 and 103035, which were filed on behalf of all plaintiffs in the litigation captioned Acevedo Arocho et al. v. Department of Treasury, No.
    KAC2005-5022 (the “Acevedo Arocho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of Treasury (“DOT”) employees who
    alleged that DOT withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the Acevedo Arocho Master Claims.
    ^ Claim #103035 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 755 of 764
                                       Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                           Desc:
                                                                Exhibit A Page 757 of 765

                                                                     Three Hundred and Fifty-First Omnibus Objection
                                                                       Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                          REMAINING CLAIMS

                                   DATE           CASE NUMBER /                                                                                 DATE            CASE NUMBER /
             NAME                  FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                      NAME                 FILED              DEBTOR                 CLAIM #      CLAIM AMOUNT
874 VIRELLA ROSADO,                06/29/18    17 BK 03283-LTS /              67948              Undetermined* MADELINE ACEVEDO                 06/29/18    17 BK 03566-LTS /             103072^              $ 8,990,000.00
    NANCY E.                                   Commonwealth of Puerto                                          CAMACHO ET AL. (2,818                        Employees Retirement
    PO BOX 614                                 Rico                                                            PLANTIFFS)                                   System of the Government
    CIALES, PR 00638                                                                                           (COLLECTIVELY THE                            of the Commonwealth of
                                                                                                               "ACEVEDO CAMACHO                             Puerto Rico
                                                                                                               PLANTIFF GROUP");
                                                                                                               CASP CASE NUM. 2016-
                                                                                                               05-1340
                                                                                                               PO BOX 9021828
                                                                                                               SAN JUAN, PR 00902-1828

                                                                                                                 MADELINE ACEVEDO               06/04/18    17 BK 03283-LTS /              32044             $ 50,000,000.00*
                                                                                                                 CAMANCHO ET AL.                            Commonwealth of Puerto
                                                                                                                 (2818 PLAINTIFFS)                          Rico
                                                                                                                 (COLLECTIVELY THE
                                                                                                                 "ACEVEDO CAMACHO
                                                                                                                 PLAINTIFF GROUP");
                                                                                                                 CASP CASE NUM. 2016-
                                                                                                                 05-1340
                                                                                                                 LCDA. IVONNE
                                                                                                                 GONZALEZ MORALES
                                                                                                                 PO BOX 9021828
                                                                                                                 SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 32044 and 103072, which were filed on behalf of all plaintiffs in the litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico
    Department of Family Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Puerto Rico
    Department of Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.”
    Claimant is a plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the
    Debtors asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Acevedo Camacho Master Claims.
    ^ Claim #103072 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                      Page 756 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 758 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
875 WILLIAM R VARGAS              05/25/18    17 BK 03566-LTS /             31599                $ 26,597.92* FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    ESPIET - 9962                             Employees Retirement                                            ET ALL (4,493                              Commonwealth of Puerto
    121 URB. JARDINES DE                      System of the Government                                        PLAINTIFFS)                                Rico
    AGUADILLA                                 of the Commonwealth of                                          COLLECTIVELY (THE
    AGUADILLA, PR 00603                       Puerto Rico                                                     BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 757 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 759 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
876 ZAYAS CINTRON,                06/28/18    17 BK 03283-LTS /             59034              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    GRISSEL                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    HC-01 BOX 7823                            Rico                                                           PLAINTIFFS)                                 Rico
    VILLABLA, PR 00766                                                                                       COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 758 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 760 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
877 ZAYAS MEDINA, JAIME          05/29/18    17 BK 03283-LTS /             43181              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    G.                                       Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    CALLE RAMON R.VELEZ                      Rico                                                           PLAINTIFFS)                                 Rico
    NO.46                                                                                                   COLLECTIVELY (THE
    PLAYA                                                                                                   BELTRAN CINTRON
    PONCE, PR 00716                                                                                         PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 759 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 761 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
878 ZAYAS RIVERA, ADRIA          06/08/18    17 BK 03283-LTS /             83540                 $ 47,886.54 FRANCISCO BELTRAN              03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    Y                                        Commonwealth of Puerto                                          ET ALL (4,493                              Commonwealth of Puerto
    HC-3 BOX 20024                           Rico                                                            PLAINTIFFS)                                Rico
    LAJAS, PR 00667                                                                                          COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 760 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 762 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
879 ZAYAS VAZQUEZ,                05/10/18    17 BK 03283-LTS /             13716              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JUANITA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 5921                               Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS, PR 00726                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 761 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                               Exhibit A Page 763 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                               CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
880 ZAYAS VAZQUEZ,                05/10/18    17 BK 03283-LTS /             14186              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    JUANITA                                   Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 5921                               Rico                                                           PLAINTIFFS)                                 Rico
    CAGUAS, PR 00726                                                                                         COLLECTIVELY (THE
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP")...
                                                                                                             ATTN: IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             PO BOX 9021828
                                                                                                             SAN JUAN, PR 00902

                                                                                                              FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                              ET AL (4,593                               Employees Retirement
                                                                                                              PLAINTIFFS)                                System of the Government
                                                                                                              COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                              "BELTRAN CINTRON                           Puerto Rico
                                                                                                              PLAINTIFF GROUP")
                                                                                                              CIVIL CASE NUM. K
                                                                                                              AC2009-0805/TSPR AC
                                                                                                              2016-0120
                                                                                                              C/O IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              ATTORNEY FOR
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP
                                                                                                              P.O. BOX 9021828
                                                                                                              SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 762 of 764
                                      Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                         Desc:
                                                               Exhibit A Page 764 of 765

                                                                    Three Hundred and Fifty-First Omnibus Objection
                                                                      Exhibit A - Claims to Be Partially Disallowed
                                CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                                DATE           CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                  CLAIM #     CLAIM AMOUNT
881 ZAYAS VAZQUEZ,                05/10/18    17 BK 03283-LTS /              14255              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /              179140          $ 105,000,000.00*
    JUANITA                                   Commonwealth of Puerto                                          ET ALL (4,493                               Commonwealth of Puerto
    PO BOX 5921                               Rico                                                            PLAINTIFFS)                                 Rico
    CAGUAS, PR 00726                                                                                          COLLECTIVELY (THE
                                                                                                              BELTRAN CINTRON
                                                                                                              PLAINTIFF GROUP")...
                                                                                                              ATTN: IVONNE
                                                                                                              GONZALEZ-MORALES
                                                                                                              PO BOX 9021828
                                                                                                              SAN JUAN, PR 00902

                                                                                                                FRANCISCO BELTRAN             06/29/18    17 BK 03566-LTS /              93199^           $ 15,283,000.00*
                                                                                                                ET AL (4,593                              Employees Retirement
                                                                                                                PLAINTIFFS)                               System of the Government
                                                                                                                COLLECTIVELLY (THE                        of the Commonwealth of
                                                                                                                "BELTRAN CINTRON                          Puerto Rico
                                                                                                                PLAINTIFF GROUP")
                                                                                                                CIVIL CASE NUM. K
                                                                                                                AC2009-0805/TSPR AC
                                                                                                                2016-0120
                                                                                                                C/O IVONNE
                                                                                                                GONZALEZ-MORALES
                                                                                                                ATTORNEY FOR
                                                                                                                BELTRAN CINTRON
                                                                                                                PLAINTIFF GROUP
                                                                                                                P.O. BOX 9021828
                                                                                                                SAN JUAN, PR 00902-1828

    Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
    Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
    Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
    plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
    asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
    ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims
882 ZAYAS VEGUILLA, ONIX          05/18/18    17 BK 03566-LTS /              41111              Undetermined* CONCILIO NACIONAL               06/01/18    17 BK 03283-LTS /              161091          $ 280,000,000.00*
    A                                         Employees Retirement                                            DE POLICIAS INC                             Commonwealth of Puerto
    28 CALLE 17 BDA.                          System of the Government                                        PO BOX 8700                                 Rico
    POLVORIN                                  of the Commonwealth of                                          PMB120
    CAYEY, PR 00736                           Puerto Rico                                                     CAROLINA, PR 00988

    Reason: This claim is duplicative, in part, of Master Claim no. 161091, which was filed on behalf of all plaintiffs in the litigation Frente Unido de Policías Organizados et al. v. Puerto Rico Police
    Department, No. KAC2007-4170 (the “FUPO Master Claim”). The plaintiffs in the litigation are members of FUPO and the Concilio Nacional de Policías (“CONAPOL”), who alleged the Superintendent of
    the Puerto Rico Police Department failed to implement Act No. 227 of 2004, which provided for salary increases for Police Department employees. Claimant is a plaintiff in that litigation, and his/her claim
    asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors asserting additional liabilities not arising out of
    the above-referenced litigation or subsumed within the FUPO Master Claim.


               * Indicates claim contains unliquidated and/or undetermined amounts                                                                                    Page 763 of 764
                                     Case:17-03283-LTS Doc#:17112-1 Filed:06/18/21 Entered:06/18/21 19:22:51                                                        Desc:
                                                              Exhibit A Page 765 of 765

                                                                   Three Hundred and Fifty-First Omnibus Objection
                                                                     Exhibit A - Claims to Be Partially Disallowed
                              CLAIMS TO BE PARTIALLY DISALLOWED                                                                                        REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                               DATE           CASE NUMBER /
            NAME                 FILED             DEBTOR                CLAIM #      CLAIM AMOUNT                     NAME                 FILED             DEBTOR                 CLAIM #     CLAIM AMOUNT
883 ZAYAS, JAIME                 05/29/18    17 BK 03283-LTS /             45339              Undetermined* FRANCISCO BELTRAN               03/05/21    17 BK 03283-LTS /             179140          $ 105,000,000.00*
    PLAYA 46 CALLE                           Commonwealth of Puerto                                         ET ALL (4,493                               Commonwealth of Puerto
    RAMON R VELEZ SECT                       Rico                                                           PLAINTIFFS)                                 Rico
    PLAYITA                                                                                                 COLLECTIVELY (THE
    PONCE, PR 00731                                                                                         BELTRAN CINTRON
                                                                                                            PLAINTIFF GROUP")...
                                                                                                            ATTN: IVONNE
                                                                                                            GONZALEZ-MORALES
                                                                                                            PO BOX 9021828
                                                                                                            SAN JUAN, PR 00902

                                                                                                             FRANCISCO BELTRAN              06/29/18    17 BK 03566-LTS /             93199^           $ 15,283,000.00*
                                                                                                             ET AL (4,593                               Employees Retirement
                                                                                                             PLAINTIFFS)                                System of the Government
                                                                                                             COLLECTIVELLY (THE                         of the Commonwealth of
                                                                                                             "BELTRAN CINTRON                           Puerto Rico
                                                                                                             PLAINTIFF GROUP")
                                                                                                             CIVIL CASE NUM. K
                                                                                                             AC2009-0805/TSPR AC
                                                                                                             2016-0120
                                                                                                             C/O IVONNE
                                                                                                             GONZALEZ-MORALES
                                                                                                             ATTORNEY FOR
                                                                                                             BELTRAN CINTRON
                                                                                                             PLAINTIFF GROUP
                                                                                                             P.O. BOX 9021828
                                                                                                             SAN JUAN, PR 00902-1828

   Reason: This claim is duplicative, in part, of Master Claim nos. 179140 and 93199, which were filed on behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico
   Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claims”), by the attorney representing plaintiffs in that litigation. The plaintiffs in the litigation are former Department of
   Family Affairs (“DOFA”) employees who alleged that DOFA withheld wages and pension payments as a result of the Office of Public Service Personnel’s “General Memorandum No. 5-86.” Claimant is a
   plaintiff in that litigation, and his/her claim asserts the above-referenced litigation and/or liabilities associated with this litigation as its basis. Claimant will retain a remaining claim against the Debtors
   asserting additional liabilities not arising out of the above-referenced litigation or subsumed within the Beltrán Cintrón Master Claims
   ^ Claim #93199 also contained on Exhibit A to the 337th Omnibus Claims Objection for Misclassified Claims




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                                   Page 764 of 764
